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   6
       Attorneys for Plaintiff,
   7
       JACKLINE MUTHOKA
   8
                     IN THE UNITED STATES DISTRICT COURT FOR
   9
                       THE CENTRAL DISTRICT OF CALIFORNIA
  10                            (SOUTHERN DIVISION)
  11

  12   JACKLINE MUTHOKA,                        )   Case No. 8:20-CV-01072-JLS-KES
  13
                                                )
                                                )   DECLARATION OF JACKLINE
  14          Plaintiff,                        )   MUTHOKA IN SUPPORT OF
                                                )   PLAINTIFF’S APPLICATION
  15     v.
                                                )   FOR A TEMPORARY
  16                                            )   RESTRAINING ORDER AND
       NATIONAL BOARD OF MEDICAL                    ORDER TO SHOW CAUSE WHY
  17   EXAMINERS,                               )
                                                )   A PRELIMINARY INJUNCTION
  18                                            )   SHOULD NOT ISSUE
              Defendant.                        )
  19
                                                )   Date:
  20                                            )   Time:
                                                )   Ctrm: 10A
  21
                                                )   Judge: Hon. Josephine L. Staton
  22                                            )
  23                                            )
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   1        I, Jackline Muthoka, declare as follows:
   2        1. I have personal knowledge regarding the facts set forth herein and if called
   3           to testify could do so.
   4        2. I am a United States citizen, but grew up in Kenya, under difficult
   5           circumstances. At age 10, my mother died from pneumonia, creating a
   6           significant hardship on my family. In my eleventh-grade year my father
   7           died from a cardiac arrest. My siblings and I were forced to work after
   8           school to earn income to sustain ourselves. Despite these circumstances, I
   9           graduated at the top of my high school class and then from Hope
  10           International and the University California State University, Fullerton with
  11           a degree in Liberal Arts – Pre-medicine, despite significant cultural
  12           challenges, and with some informal accommodations.
  13        3. I had some difficulty with the Medical College Admission Test (MCAT)
  14           and was eventually admitted to the M.D. program at the University of
  15           California, Irvine (UCI) Medical School through a conditional program
  16           due to the fact that I did not receive accommodations on the MCAT.
  17        4. In August 2016 I enrolled at the University of California, Irvine (UCI)
  18           Medical School in the M.D. program. I have satisfactorily completed all
  19           academic requirements to date – with the exception that I have not yet
  20           passed Step 1 of the USMLE examination and a surgery shelf examination
  21           that was taken around the same time as the USMLE.
  22        5. Each medical student who intends to obtain a license to practice in the
  23           United States is required to take the USMLE. The USMLE consists of
  24           three steps, taken at various stages throughout the progression of a medical
  25           education. Step 1 of the USMLE is taken after the basic science portion of
  26           a medical education is completed, generally after the second year of
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   1           medical school. I must pass the USMLE, Step 1 in order to continue with
   2           my medical education.
   3        6. I suffer from the mental impairments of Other Specified Anxiety Disorder-
   4           Test Anxiety (DSM V - F41.8) which was diagnosed in February 2017 and
   5           later I was diagnosed with Other Specified Neurodevelopmental Disorder
   6           related to visual processing (DSM V - F88).
   7        7. UCI has regarded me as a person with a disability since February of 2017
   8           and NBME was informed of that fact. (A true and correct copy of my 2017
   9           application for extended testing time and supporting documentation is
  10           attached hereto as Exhibit A). Additionally, NBME itself has regarded me
  11           as a person with a disability by deeming me eligible for the exact same
  12           50% additional time on testing for the National Subject Exams/shelf
  13           examinations. (A true and correct copy of correspondence from UCI
  14           Disability Services is attached hereto as Exhibit B).
  15        8. In the fall of 2017, I applied for a testing modification of 50% increased
  16           time from Defendant for Step 1 of the USMLE based upon my disabling
  17           condition of Anxiety Disorder-Test Anxiety (DSM V - F41.8). (A true and
  18           correct copy of the application and supporting documentation is attached
  19           hereto as Exhibit A).
  20        9. NBME denied my request for a modification on or about January 2, 2018
  21           on the basis that “experiencing anxiety during high stakes tests is not
  22           evidence of a disability or a substantial limitation in a major life
  23           activity.” (A true and correct copy of the denial letter is attached hereto as
  24           Exhibit C). I thereafter took the USMLE step 1 on May 8, 2018, without
  25           modification, and did not pass the examination.
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   1        10. In the fall of 2018, I took a remediation USMLE Test preparation course
   2           that ended mid-October. On October 31, 2018, I took the USMLE Step 1 a
   3           second time and did not obtain a passing score.
   4        11. In the Spring of 2019, I again requested from Defendant a reasonable
   5           modification of 50% additional testing time for the USMLE Step 1
   6           examination. (A true and correct copy of my application is attached hereto
   7           as Exhibit D).
   8        12. I provided additional documentation via a psychological evaluation which
   9           documented my mental impairment of a testing phobia along with the
  10           overarching mental impairment of Other Specified Neurodevelopmental
  11           Disorder related to visual processing (DSM V - F88). (A true and correct
  12           copy of my evaluation report is attached hereto as Exhibit E). The
  13           evaluation found that my mental impairments impacted my ability to
  14           concentrate, read and comprehend and thus limited her academic
  15           achievement.
  16        13. On or about July 24, 2019, Defendant again denied me my requested (and
  17           recommended) accommodation, contradicting the professional opinion of
  18           my psychological evaluators, and opining, without any similar
  19           psychological evaluation, that my disabling condition in fact did not
  20           impact my ability to take tests. (A true and correct copy of the denial
  21           letter is attached hereto as Exhibit F). Defendant did provide me two
  22           “arrangements” for the USMLE, Step 1, a separate room and additional
  23           break time, which were two of the three accommodations recommended
  24           by Plaintiff’s psychological evaluators.
  25        14. I sought a reconsideration from Defendant, submitting additional
  26           documentation on January 16, 2020. (A true and correct copy of material
  27           is attached hereto as Exhibit G).
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   1         15. On April 3, 2020, that request for reconsideration was denied. (A true and
   2            correct copy of the denial letter is attached hereto as Exhibit H).
   3         16. I am currently scheduled to take the August session of the USMLE Step 1.
   4            If I do not pass the step 1 on this sitting, I will be dismissed from UCI for
   5            failing the USMLE after three attempts.
   6         17. I took the Medical College Admission Test (MCAT) on the following
   7            occasions:
   8            Date:                                Score:              Percentile:
   9            6/2/2015                             497                 40th
  10            1/23/2016                            488                 15th
  11            4/23/2016                            486                 11th
  12            A true and correct copy of the percentile for the applicable time period is
  13            attached hereto as Exhibit I and is accessed on the internet at
  14            https://students-residents.aamc.org/advisors/article/historical-percentile-
  15            ranks-new-exam/.
  16          18. My chances for admission at another medical school after being dismissed
  17
              from UCI are negiligble.

  18

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          I declare under penalty of perjury under the laws of the United States of
  20
          America that the foregoing is true and correct.
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       Dated: July 14, 2020
                                                                  By:
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                                                                         Jackline Muthoka
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                               EXHIBIT A
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                       United States Medical Licensing Examination® (USMLE®)


                            REQUEST FOR TEST ACCOMMODATIONS
             Use this form ifyou <Jre requesting accommodations on USMLEfor the first time

          The National Board of Medical Examiners® (NBME®) processes requests for test
                        accommodations on behalf of the USMLE program

  If you have a documented disability covered under the Americans with Disabilities Act (ADA),
  you must notify the USMLE in writing each time you apply for a Step examination for which
  you require test accommodations. Submitting this form constitutes your official notification.

  • Review the USMLE Guidelines for Test Accommodations at www.usmle.org for a detailed description of
    how to document a need for accommodations.

  • Complete all sections of this request form; submit the form and all required documentation to Disability
    Services once you have submitted your Step exam application to your registration entity.

  • NBME will acknowledge receipt of your request by e-mail and audit your submission for completeness. If
    you do not receive an e-mail acknowledgement within two business days of submitting your request,
    please contact Disability Services at 215-590-9700 or disabilityservices@nbme.org. You may be asked to
    submit additional documentation to complete your request.

  • Requests are processed in the order in which they are received. Processing cannot begin until sufficient
    information is received by NBME and your Step exam registration is complete. Please allow at least 60
    days for processing of your request.

  • The outcome of our review will not be released via telephone. All official communications regarding your
    request will be made in writing. If you wish to modify or withdraw a request for test accommodations,
    contact Disability Services by e-mail at disabilityservices@nbme.org or by telephone at 215-590-9700.


   As explained in the Guidelines to Request Test Accommodations (www.usmle.org). you MUST
   provide supporting documentation verifying your current functional impairment.

   Submit the following with this form:

   ✓   A personal statement describing your disability and its impact on your daily life and educational
       functioning.

   ✓   A complete and comprehensive evaluation from a qualified professional documenting your disability.

   ✓   Supporting documentation such as academic records; score transcripts for previous standardized
       exams; verification of prior academic/test accommodations; relevant medical records; previous psycho-
       educational evaluations; faculty or supervisor feedback; job performance evaluations; clerkship/clinical
       course evaluations; etc.

   Please be sure to review the Guidelines for more detailed information regarding supporting
   documentation.
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                                         USMLE® Request for Test Accommodations

  Section A: Exam Information

  Place a check next to the examination(s) for which you are currently registered and requesting test
  accommodations: (Check all that apply)

  )a Step 1
   □    Step 2 CK (Clinical Knowledge)
   □    Step 2 CS (Clinical Skills)
   □ Step 3*

  *Please be aware that additional test time for Step 3 may involve 3 to 5 days of testing, depending on
  the requested accommodation (See Section Cl).

  Section B: Biographical Information
  Please type or print.

  Bl. Name: _....:....N\_\Yij-\----=_o_\t-.....:...."'1_;___ _ _ _ _"J]....,__P.._(JJ..!_u.t\
                                                                                    __        e..__________N\___
                      Last                                                          First                Middle Initial

  B2. Gender:         D Male             ~Female

  B3. Date ofBirth: _ _0-----''i.__\_o_C:,-'---\_,_\_C\8=--~--

  B4. USMLE # ,S_ - ~ _Q_ ~ - ".:l- 3__ ~ - (c::, (required)

  BS. Address:
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                                                                 State/Province                    Zip/Postal Code


  Country
       -::J-14: -Sq ~ - Q,4 o o
  Preferred Telephone Number
         ~a.u. . .,em1.1~0~~ 8'1-& ijm~tL, CoM
  E-ma1 address




  Country of Medical School: ___\)_J-=·_·-~-·_ _ _ __                 Date of Medical School Graduation: Q.. 0 ~~
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                                   USMLE® Request for Test Accommodations



  Section C: Accommodations Information
  Cl.       Step 1, Step 2 CK, or Step 3 (computer-based examinations)

  Check the appropriate box to indicate the accommodations you are requesting. Check ONLY ONE box for
  the exam(s) for which you are currently registered:

  STEP 1:
  Additional Break Time                         Additional Testing Time
  D Additional break time over 1 day            D 25% Additional test time (Time and 1/4) over 2 days
   D    Additional break time over 2 days       jil 50% Additional test time (Time and 1/2) over 2 days
                                                D   100% Additional test time (Double time) over 2 days
   D    Additional break time and 50% Additional test time (Time and 1/2) over 2 days


  STEP2 CK:
  Additional Break Time                         Additional Testing Time
  D Additional break time over 2 days           D 25% Additional test time (Time and 1/4) over 2 days
                                                D   50% Additional test time (Time and 1/2) over 2 days
                                                D   100% Additional test time (Double time) over 2 days
   D    Additional break time and 50% Additional test time (Time and 1/2) over 2 days


  STEP3:
  Additional Break Time                         Additional Testing Time
  D Additional break time over 4 days           D 25% Additional test time (Time and 1/4) over 3 days
                                                D   50% Additional test time (Time and 1/2) over 4 days
                                                D   100% Additional test time (Double time) over 5 days
   D    Additional break time and 50% Additional test time (Time and 1/2) over 4 days

  Describe any other accommodation(s) you are requesting for Step 1, Step 2 CK, or Step 3.




  C2.    STEP 2 CS {Clinical Skills}
  Review the Step 2 CS Onsite Orientation video and Step 2 CS Content Description and General Information
  Booklet at www.usmle.org for detailed information about the format and delivery of the Step 2 CS
  examination.

  Describe the accommodations you are requesting for each section of Step 2 CS (i.e., patient encounter,
  patient note). If you are requesting additional time, state the amount of additional time you require in
  minutes per encounter or note.

   □ Patient Encounter:
                          -----------------------------
   □ Patient Note:- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
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                                   USMLE® Request for Test Accommodations


   C3.      Do you require wheelchair access at the examination facility? D Yes D No
   If yes, please indicate the number of inches required from the bottom of the table to the floor: - - - -


   Section D: Information About Your Impairment

   Dl. List the specific DSM/ICD diagnostic code(s) and disability for which you are requesting
   accommodations and report the year that it was first diagnosed.

   DIAGNOSTIC CODE                           DISABILITY                         YEAR DIAGNOSED
       OSI'\ S-£4°· :t                                                              ,l.O \':}




   D2. Personal Statement
       Attach a signed and dated personal statement describing your impairment(s) and how a major
       life activity is substantially limited. The personal statement is your opportunity to tell us how your
       physical or mental impairment(s) substantially limits your current functioning in a major life activity
       and how the standard examination conditions are insufficient for your needs. In your own words,
       describe the impact of your disability on your daily life (do not confine your statement to
       standardized test performance) and provide a rationale for why the specific accommodation(s) you
       are requesting are necessary in the context of this examination.

   Section E: Accommodation History

   El. Standardized Examinations
       Attach copies of your score report(s) for any previous standardized examination taken.
       If accommodations were provided, attach official documentation from each testing agency
       confirming the test accommodations they provided.

   List the accommodations received for previous standardized examinations such as college, graduate, or
   professional school admissions tests and professional licensure or certification examinations (if no
   accommodations were provided, write NONE).

                                 DATE(S)                             ACCOMMODATION(S)
                              ADMINISTERED                               PROVIDED
   □ SAT® ACT®
             '
   □ MCAT®
   □ GRE®
   □ GMAT®
   □ LSAT®
   □ DAT®
   □ COMLEX®
   □    Other (specify)
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                                 USMLE® Request for Test Accommodations



   E2. Postsecondary Education
   List each school and all formal accommodations you receive/received, and the dates accommodations
   were provided:
      Attach copies of official records from each school(s) confirming the accommodations they
      provided.
      If you receive/received accommodations in medical school and/or residency. have the
      appropriate official at your medical school/residency complete and submit the USMLE
      Certification of Prior Test Accommodations form available at www.usmle.org.

                                                 ACCOMMODATIONS                       DATES
                         SCHOOL                      PROVIDED                        PROVIDED

   Medical/Graduate/
   Professional School




   Undergraduate
   School



   E3. Primary and Secondary School
   List each school and all formal accommodations you received, and the dates accommodations were
   provided:
      Attach copies of official records from each school listed confirming the accommodations they
      provided.
                                                ACCOMMODATIONS                       DATES
                         SCHOOL                       PROVIDED                      PROVIDED

   High School


   Middle School


   Elementary School
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                                   USMLE® Request for Test Accommodations

   Section F: Certification and Authorization

   To the best of my knowledge and belief, the information recorded on this request form is true and accurate. I
   understand that my request for accommodations, including this form and all supporting documentation, must
   be received by the NBME sufficiently in advance of my anticipated test date in order to provide adequate
   time to evaluate and process my request.

   I acknowledge and agree that any information submitted by me or on my behalf may be used by the USMLE
   program for the following purposes:
       • Evaluating my eligibility for accommodations. When appropriate, my information may be disclosed
          to qualified independent reviewers for this purpose.
       • Conducting research. Any disclosure of my information by the USMLE program will not contain
          information that could be used to identify me individually; information that is presented in research
          publications will be reported only in the aggregate.

   I authorize the National Board of Medical Examiners (NBME) to contact the entities identified in this request
   form, and the professionals identified in the documentation I am submitting in coilllection with it, to obtain
   further information. I authorize such entities and professionals to provide NBME with all requested further
   information.

   I further understand that the USMLE reserves the right to take action, as described in the Bulletin of
   Information, if it determines that false information or false statements have been presented on this request
   form or in connection with my request for test accommodations.

   Name(print):   ~
   Signature:                 ___          ~                                Date:   \) \ ~Jo \ \~



   E-mail (as a pdt), fax or mail your completed request form and supporting documents to the
   address below at the same time you submit your Step examination application.


                                            Disability Services
                                   National Board of Medical Examiners
                                            3750 Market Street
                                       Philadelphia, PA 19104-3190
                                        Telephone: (215) 590-9700
                                         Facsimile: (215) 590-9422
                                   E-mail: disabilityservices@nbme.org
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  Jackline Muthoka

  3131 Verano Place, Irvine, CA, 9261 7.

  November 25, 2017

  USMLE Step 1 Test Accommodation Request

  USMLE ID# 54027966

  To whom it may Concern:

  My name is Jackline Muthoka and I am a second year medical student at UCI School of
  Medicine. I am writing this letter/personal statement in request for an extended time when I take
  the USMLE due to my Test Anxiety disorders. I have dealt with this problem for a long time but
  I didn't realize how much it impacted life until I had to sit for the MCAT. In timed situations, I
  get extremely anxious that sometimes I'm dysfunctional and need time to calm down and I can
  then think clearly. Since I speak multiple languages, it even becomes difficult for me to read and
  I find myself re-reading the same material multiple times and can't comprehend the information
  properly. The worst part is that I become anxious days before timed situations and therefore tired
  and worn-out by the time I have to engage in the timed event. This is especially worse if it is a
  life changing situation or a major life decision. A good example of this is when I interviewed for
  a visa to study abroad after receiving an academic scholarship. I was given five minutes to
  explain why needed to travel at that time and what the scholarship meant to me. Even though it
  was a simple task and I had done a lot of background work and sufficient preparation to get to
  that point, the timing element altered my performance and I remember being unable to talk for
  the first two minutes of the interview. I was nervous, sweating, and tired from the sleepless
  nights before this encounter. I asked for some time to gather myself and the interviewer allowed
  me to step outside. After I came back, interviewer explained that my performance was not
  depended on the timing of my interview but on the quality of the work and the answers to the
  questions I gave. After the interview, I was able to perform well and ended up receiving the
  scholarship. This was ten years ago!

  While in college, I remember never finishing my exams on time because I would spend the first
  ten minutes or so trying to get myself together and worrying that I won't finish the exam. It
  would eventually work out since most of the times the teachers would give us an additional 10-
  15 minutes after the test for those who were still finishing up. Although it was tough to go
  through high school, it was even tougher to go through college in a foreign country. Despite
  these challenges, I ended performing alright but I would have done much better in my classes if I
  had realized this problem much earlier and had it resolved. Before taking the MCATS, I thought
  that it was normal for one to be anxious especially during situations that revolve around major
  life decisions. When I look back, I am sad for the many opportunities my anxiety became a
  major hindrance to my performance. This is because during these anxiety attacks, my thinking
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  deteriorates and I am unable to comprehend and process the information that I am reading with
  the proper speed required for finishing the exams. While preparing for MCATs, I took this exam
  several times but still could not perform to the best of my abilities because I was so anxious to an
  extent that I could not finish the exam. I was accepted to UCI school of Medicine as a
  conditional medical student because the rest of my application was good but I still needed to
  work on my MCAT and the school needed to be sure that I will be successful in medical school.
  During the conditional year, I was required to be at the top 75 percentile of the medical school
  class (performing above a medical school class average), which I did and was successful. But
  again, even after taking a whole year of medical school classes, my MCAT score didn't improve!

           During first year of medical school, I struggled with test anxiety and was in the verge of
  failing classes. This is because of number of questions on exams, the level of speed and
  concentration required to take these exams, and the short amount of time that is required to finish
  exams. After working with advisors, counselors, and the school psychiatrist, I was diagnosed
  with Specific phobia- test anxiety. I went through the proper procedures that are required by my
  institution and was approved for an extended time to take my exams in an isolated room to
  reduce destructions. This determination fixed my problems. My school performance has
  improved and I have comfortably passed all of my classes with no issues whatsoever. My anxiety
  level has decreased and I am able to sleep better the nights before the test because I know I'll be
  able to finish the exams. Test anxiety has incurred me a lot of expensive mistakes especially
  because I didn't think it was a major problem until it was too late in my career but identifying the
  underlying issue has also made my life much easier and I am able to perform to the best of my
  abilities considering the amount of time and effort I have invested in my education. I am
  therefore requesting an extended amount of time for me to take USMLE and therefore perform to
  the best of my abilities.

  Thank you so much for your consideration in this matter and I look forward to hearing from you

  Thank you,




 .Jackline Muthoka
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 Case 8:20-cv-01072-JLS-KES Document 11 Filed 07/16/20 Page 16 of 123 Page ID #:56
                                                                              .........
UNIVERSITY OF CALIFORNIA, IRVINE




Disability Services Center                                               Irvine, CA 92697-5250
VOICE(949)824-7494
TDD(949)824-6272
FAX(949)824-3083



 November 20, 2017

 To Whom It May Concern:

 Re: Jacklin Muthoka            USMLE ID#: 54027966

 I am writing in support of Jackline Muthoka's request for disability related test accommodations on the
 USMLE, Step 1 exam.

 My name is Rosezetta Henderson and I have been a Senior Disability Specialist at the Disability
 Services Center (DSC) at the University of California, Irvine (UCI) since 2015. I am also the Senior
 Disability Specialist who supports students in the UCI Health Sciences programs. I have worked in
 with students with disabilities 2009, first as a case worker with individuals with developmental
 disabilities, learning disabilities, and psychological disorders. I transitioned into the higher education
 field to work with college students with disabilities.

 Ms. Muthoka first came to the Disability Services Center. At this initial meeting, DSC learned of her
 functional limitations she was experiencing due to her diagnosis of Specific Phobia - Test Anxiety
 (DSM5 F40.2). She explained the impact of her diagnosis which included her levels of anxiety that
 interfered with her concentration and processing.

 My responsibility as a disability specialist is to determine accommodations that are effective in
 providing equal access without giving an unfair advantage. In making my determination, I paid close
 attention to the Regulations to implement Titles II and III of the ADA Amendments Act that went into
 effect October 11, 2016. As you are aware, these regulations clarify the intent of the ADAAA and
 provide concrete examples - several that are applicable to high stakes testing agencies and high stakes
 environments (like medical school). These regulations govern accommodations in medical education
 and on the NBME Step 1, in pa11icular, UCI's Disability Services Center (in following DOJ guidance)
 does not use evidence of past student success to discount a student's eligibility for services, nor
 accommodation approval. We also respect the committee's rejection that the findings in Price v
 National Board of Medical Examiners, Gonzales vNational Board of medical Examiners, and Wong v
 Regents of University of California were incorrect and that individuals who achieve a high level of
 academic achievement can be considered individuals with disabilities under the ADA, Specific to Ms.
 Muthoka case, we offer that the regulations added her psychological disorder as an example of a
 physical or mental impairment in§§ 35.108(b) and 36.105(b)(2).
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  Through this lens, I reviewed the documentation provided by Ms. Muthoka' s mental health
  provider. The extended time accommodation (50% additional time) was determined appropriate
  due to the student's deficit in sustaining focus and concentration during exams. The additional
  time allows her to plan efficiently and more time to process the information. The reduced
  distraction environment was determined to reduce both internal and external distractions.

  Jackline Muthoka is a highly qualified student of medicine. She has worked diligently to learn
  and implement strategies to increase control over her functional limitations in everyday settings.
  Her diagnosis of Specific Phobia- Test Anxiety does not hinder her abilities except in the area
  of timed exams that require high levels of sustained concentration. Given the structure of the
  Step 1 exams, I wholeheartedly support her request for extended time on the Step 1 exam and
  believe that her need is clearly valid and supported by the American's with Disability Act.

  Please do not hesitate to contact me at 949-824-7494 or by email at r.henderson@uci.edu with
  any questions or concerns,




  Rosezetta N. Henderson, MS
  Senior Disability Specialist
  Case 8:20-cv-01072-JLS-KES Document 11 Filed 07/16/20 Page 18 of 123 Page ID #:58
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UNIVERSITY OF CALIFORNIA, IRVINE                                                               :.i.
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BERKELEY • DAVIS • IRVINE • LOS ANGELES • MERCED • RIVERSIDE • SAN DIEGO • SAN FRANCISCO   :                       C:   SANTA BARBARA • SANTA CRUZ
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Disability Services Center                                                                 Irvine, CA 92697-5250
VOICE(949)824-7494
TDD(949)824-6272
FAX(949)824-3083



                                                      CONFIDENTIAL


 November 20, 2017


 To Whom It May Concern,

 This letter is to verify that Jackline Muthoka is registered with Disability Services Center at university
 of California, Irvine as of March 2017. Ms. Muthoka has professionally documented disability and is
 approved for the following ADA accommodations and services:

           TESTING:
           50% Extended Test Time
           Reduced Distraction Test Environment

 If you have any further questions or concerns, you may contact me directly at (949) 824-7494.


 Thank you for your consideration.

             -.




 Rosezetta Hen erson, MS
 Senior Disability Specialist
 Disability Services Center
 University of California, Irvine
 Irvine, CA 92697
 r.henderson@uci.edu
Case 8:20-cv-01072-JLS-KES Document 11 Filed 07/16/20 Page 19 of 123 Page ID #:59

                      United States Medical Licensing Examination® (USMLE®)
                         Certification of Prior Test Accommodations
 Please type or print. To be completed and signed by medical school official responsible for student
 disability services.




 I certify that   Ul k('vM    S0\\vo\     trf- ~~c..\{)Q, has officially approved and continuously
                         Name of School
 provided the following accommodations for the above applicant beginning on __'3+/~ZO~~I'_.±
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                                                                                         Dat'e (Month/Year)


 1.   Accommodation(s) provided for classroom and clinical coursework:_N'--o_v\_0_ _ _ _ _ _ __




      Reason for accommodation(s):
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 2. Accommodation(s) provided for written exams:  50o/o i21-.\:e-:ncle.J               re~t IJ e. j
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      Reason for accommodation(s):   c\e.-M~'t"     t"'   S1..Uil'\,1t\l'J   k,~ ~nd Covi~½:'hM
 3. Accommodation(s) provided for clinical skills exams:~tJ-~-~-------------




      Reason for accommodation(s): _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


 Name of School Official:1<t,S~            \.:l-end-e.rs1111,M S


 Telephone Number:
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 Signature of Official:r---'-j,f-'.....__,_--J'--------~=----

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                              Mail, fax, or e-mail completed form to:

                                        Disability Services
                               National Board of Medical Examiners
                                        3750 Market Street
                                   Philadelphia, PA 19104-3190
                                    Telephone: (215) 590-9700
                                       FAX: (215) 590-9422
                               E-mail: disabilityservices@nbme.org
                        Call or e-mail to verify recei t of Fax and mail submissions


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    weFFICIAL S/l!UD~ J.&omac RECORD

    Cali.fornia State Uni vei;ai ty, Fullerton

    Student Numbs>            Muthoka, Jac~n·e Mueni
    St •Uq.j!!p.t Nu~r ~      894840'S 52
    DATE PRINTi~              06/04/201.3
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   SpriJlg Semester           2010                                     (Fres~n)                     I
   Transfer Cr-e~f                      A~aepted          GPA-Units ~rade-J?oj,nt~
      .Fullerton :G:61:I *
        Trarur-fet €oursewo~k                10.0               10.0              40 .0
                                                                                                               j
  Ad.mi ttod '.l!o:
      aachelor OE Science
      Major: Biological Science

  Dept/No       Couree Title                                     Un.ts     GR             GP             FB"obn6tes
.- 81:OL    2   Cellular B~si~ of Life                            5.0       B         1:s.b
   CHEM       B General Cliemist~                                 5.0       C:    10.0
  ~             Coll:ege Algebl':a                                4.0       A-    1'\,.,8
           ollme11t Dates: Jan 23, 2010                   t;o   May u,      201'0

           En.rolled         E~rned GPA-Units               GRD-PT        Acad-GPA GPA
                l4. 00        l4.00             14. 00,         39.80           2. 84.i        2.84
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 $'.{lll Semester        2010                                          (F.r-eshm.an)
 ~pt/No    Course Title                                          Onts       GR            <tP            Footnotes
 BIOL 213 Genetics & Molecular Biol          5.0                            B+          J.6'.5
 CHEM 301A Organic Chemistry                (3.0)                           D+            0:.0
    Repe4t F~rgiveness Applied
    Duplicate Enrollment in Spring 1011
 MATH 125 Preoalculu:s                       5. 0                           B-          ),.3. 5'
    Enrollment Dates: J;.ucr 21, 2010 'tto Dec 10,                          2010

           ErN:olled        Ea,;ned     GPA-Units           'GRD-PT       Aca4-GPA               GPA
 Term           13.00        10.00             1.0.00           30.00           2. 61
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                                                                                                2.91
 CSUF           27.00        24.00             24.00            69.80
    Case 8:20-cv-01072-JLS-KES Document 11 Filed 07/16/20 Page 24 of 123 Page ID #:64


                37.00        34.00         34.00    109.80           2.73      3.23


  Spring Semester        2011                              (Sophomore)
  Dept/No    Course Title               Unts                    GR     GI?              Footnotes
  BIOL 274 Principles Physiology/Eco     5.0                    B-   13.S
  CHEM 301A. Organic Chemistry           3.0                    B-     8.1
     Course R peated
  MATH 130 Short Course in Calculus      4.0                                9.2
    TH 130W Short Calculus SI Worksho    1.0                      CR        0.0
     Enrollment Dates: Jan 22, 2011 to May 13 1                   2011

            Enrolled     Earned        GPA-Units    GRD-PT       Acad-GPA GPA
  Term         13. 00        13. 00       12.00       30.80        2.57   2.57
  CSUF         40.00         37.00        36.00     100.60         2.68   2.79
  Tot.al       50.00         47.00        46.00     1-10.60        2.68   3.06


  Fall Semester 2011                       (Sophomore)
  Dept/No    Course Title                Unts    GR    GP                               Foot.notes
  BIOL 302 General Microbiology           4.0    B-   10.8
  CHEM 3018 Organic Chemistiy             3.0    C     6.0
  CHEM 315   Theory Quantitative Chem     3.0    B-    8.1
     EnroJ.lment Dates: Aug 20, 2011 to Dec 0 9, 2011

            Enrolled     Earned        GPA-Units    GRD-PT      Acad-GPA GPA
  Term        10.00       10.00           10.00      24.90        2.49   2.49
  CSOF        50.00       47.00            46.00    125.50        2.64   2.73
  Total       60.00       57.00            56.00    165.50        2.64   2. 96


  Spring Semester 2012                       (Sophomore)
  Dept/No     Course Title                Unts    GR     GP                             Footnotes
  BIOL 303 Intermediate Cell Biology       3.0    B      9.0
  C:iEM 302   Organic Chemistry La.b       2.0    A-     7.4
/ PHYS 211 Element ry Physics              3. 0   B      9.0
  PHYS 211L Elem Physics Lab               l 0    A      4.0
      EnrolJ.ment Dates: Jan 21, 2012 to May 11, 2012

            Enrolled     Ea.rned      GPA-Units     GRD-PT      Acad-GPA GPA
 Term          9.00        9.00            9.00      29.4.0       3.27   3.27
 CSUF         59.00       SE1.00          SS.O'O    154..90          2.82      2.82
 Total        69.00       66.00           65.00     194 . .90        3.00      3.00


 Fall Semester        2012                                      {Junior)

 Transfer Credit        Accepted                  GPA-Units      Grade-Points
   Fullerton Cbll.
    Transfer coursework     7.0                      o.o                 o.o
 Dept/No   Course Title                               Unts       GR         GP          Footnotes
S:COL 480  Advanced Topics Undergrad                    1. 0     A          4.0
 BIOL 499L Independent Lab Study                        1.0      A          4. D
CHEM 423A General Biochemistry                          3.0      B          9.0
PRYS 212 Elementazy Physics                             3.0      B          9.0
PHYS 212L Elem Physics Lab             1.0   A+                             4.0
   Enrollment Dates: Aug 25, 2012 to Dec 14, 2012

           Enrolled     Earned        GPA-Units    GRD-PT       Acad-GPA          GPA
    Case 8:20-cv-01072-JLS-KES Document 11 Filed 07/16/20 Page 25 of 123 Page ID #:65

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Spring Semester        2013                                  (Jun1.or)
Dept/No    Course Title                           UnU:        GR           GP
BIOL 310   Human Physiology                        'LO        c:,          6
BIOL «80    Advilnccd Topic~ Undenrt;td           (1.0)        RP          0 0
BIOL .; 99L lndependt·nt L<1b Study~              (] . (I)      'P         0 0
CHEM 423B Genera)       B1oche11nstr:y             3.0         A       l       .l
   Ent·ollment    Datt'!B:    Jan 26, 2013 to May 1·:,, '>Ql

        Enrolled       Earned      GPA-Unit.n   GRD··PT      Ac d GA                GA
T rm        8.00         G.00            6.00    18.00                          3 00
CSUF       75.00        71.0D          70.00    202.90                          2.90
Tot 1      93.00        88.00          80.00    2•12.90                              ,04



Undergraduate Statistics

       Enrolled        Earned      GPA-Uni s    GR:0-PT       Ac     -(;PA           GPJ\
CSUF      76.00         7L 00          70.00     02.90             2,89             2.90
                        17.00          10.00     40.00                              '1.00
Transfer 17.00
                        88.00          80.00    242  0             3.04             3. Otl
Total     93.00

Repeat info on Tit.an Online via Withdrawals/Rep eats link
-----" -;,e------ End of Und(irgraduate Recox·d -------------
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Date:       5/11/2015
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                                                                                                         Unofficial Transcript
                                                                                                             2500 East Nutwood Ave.
                                                                                                               Fullerton, CA 92831
                                                                                                                   www.hiu.edu


Student: Jackline M Muthoka                                                                           Student ID: 192184                                                                                DOB:

Course         Course                                         Credits         Credits  Grade                  Quality             Course        Course                                   Credits    Credits     Grade   Quality
Code           Description                                    Earned         Attempted                        Points              Code          Description                              Earned    Attempted            Points




                                  Transfer Work
                                                                                                                                  Term: PCC080930P
                                                                                                                                                                     .
                                                                                                                                                                  PQC 2008-2009 Spring Parent

                                                                                                                                  BIB1330       Hebrew Hlstory 't:lnd llt~rature • ►       3.00       3.00       A        12.00
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Term: 070830                      2007-2008 Spring Semester                                                                       Dean'S'List

BIB1100        Life of Christ                                    3.00           3.00              A                12.00
ENG1100        English Composition                               3.00           3.00              B                 9.00                                          PCC 2009-2010-Fall Parent
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HIS2100        World History to 1500                             3.00           3.00              B                 9.00     ~
                                                                                                                                  81831'1~       Literary Exegesis and Analysis            3.00       3.00       B           9.00
ICS1101         Intro to US Life & Culture                       1.00           1.00              A                 4.00     ~

                                                                                                                                  COM2430        Production for Publication                3.00       3.00       A        12.00
LDR1100         Foundations: Strengths, Leader Dev               1.00            1.00             A                 4.00
                                                                                                                                 .. COM3100      Critical Thinking and Argumentation       3.00       3.00       C           6.00
PSY1100         Introduction to Psychology                       3.00           3.00              A                -1'2.00

                                                                14.00          14.00
                                                                                                              r,       -
                                                                                                                   SO.OD
                                                                                                                             '   ~HIS3330        History of American Religion              3.00       3.00       A        12.00
Tenn GPA:      3.57                                                                                                               LDR3100        Leadership Skills                         3.00       3.00       A        12.00
                                                                                                ----,_
Cum GPA:       3.17              Cumulative Totals:            102.00         101.00,.t                       ~~-00
                                                                                                                                                                                                     15.00                51.00
                                                                                                                      ...         Tenn GPA:     3.40                                      15.00
Dean's List
                                                                                                ""       .    ~
                                                                                                                                  Cum GPA:      3.31              Cumulative Totals:     141.00     140.00              464.00



                                                                     ...__-                ~-                                     Term: PCC091030P                PCC 2009-2010 Spring Parent
                                                                                   ~                  .,.-
Term: 080910                      2008-2009 Fall Semester
                                                                               ..3.(i'o.                                          COM2430        Production for Publication                 3.00       3.00      A        12.00
8182140         Theology of Ministry                             3.00                             A                12.00
                                                                   ,.        ... -3.0cr'                                          CSF4999        Contracted Courses at CSUF                 0.00       0.00     CSF          0.00
                Early Christian Hist & Literature                                                 A                12.00
B1B2410
COM2200         Public Speaking
                                                            <.., :3.0'0
                                                                  foo            3.00             A                12.00          Term GPA:     4.00                                        3.00      3.00                12.00
ENG2100

Term GPA:
                Introduction to Literature

               4.00
                                                    0            9.00

                                                                12.00    '
                                                                                 3.00

                                                                               12.00
                                                                                                  A                12.00

                                                                                                                   48.00
                                                                                                                             I    Cum GPA:      3.33              Cumulative Totals:     144.00     143.00              476.00


CUmGPA:        3.26               Cumulative Totals:    '     ·H4'. 00        113.00                          368.00

Dean's List



                                                                                                                    Unofficial Transcript
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                                                                               Hope International University                                                                                                 Page 2 of 2
                                                                                                  Unofficial Transcript
                                                                                                  2500 East Nutwood Ave .
                                                                                                    Fullerton, CA 92831
                                                                                                        www.hiu.edu


Student: Jackline M Muthoka                                                                  Student ID:        192184                                                                                DOB:


Course        Course                                            Credits    Credits  Grade          Quality            Course             Course                                       Credits     Credits    Grade   Quality
Code          Description                                       Earned    Attempted                Points             Code               Description                                  Earned     Attempted           Points
                                                                                                                      --
                                                                                                                      PH11110            Introduction to Philosophy                     3.00        3.00       A       12.00
Term: PCC101110P               PCC 2010-2011 Fall Parent                                                              SCl4810            Science Teaching Assistant                     1.00        1.00       A           4.00

CSF4999       Contracted Courses at CSUF                          0.00         0.00    CSF            0.00      I     Term GPA :        3.57
                                                                                                                                                                           II'
                                                                                                                                                                                 •      7.00        7.00              25.00

Term GPA:    0.00                                                 0.00         0.00                   0.00            Cum GPA:          3.37     /'      ~CumulatlvQ:,totals :        158.00      157.00             529.00

Cum GPA:     3.33             Cumulative Totals:                144.00     143.00                   476.00                                         L
                                                                                                                      Term: UG121330P                     20-1 2-2013 Spring
                                                                                                                                            \
Term: PCC101130P               PCC 2010-2011 Spring Parent                                                            CSF4999           ..'Gori1racted 'Cot1rses at CSUF                0.00        0.00      CSF          0.00
                                                                                                                      POL2209       -   A~rt~ri-GJv'~ment                               3.00        3.00       A       12.00
CSF4999        Contracted Courses at CSUF                         0.00         0.00    CSF            0.00
                                                                                                                      SCt481·0 ~         Scient e T~ ching Assistant                    1.00        1.00       A           4.00
                                                                                                                                                 ~
Term GPA:     0.00                                                0.00         0.00                   0.00
                                                                                                                      Term GPA :        4.00                                            4.00        4.00               16.00
Cum GPA:      3.33            Cumulative Totals:                144.00     143.00                   476.00
                                                                                                                      Cum GPA~          3.39              Cumulative Totals:          162.00      161.00             545.00

Term: UG111210P                2011-2012 Fall                                                                   ,,'   ,Tern-..:. UG131410P                2013-2014 Fall Parent
CSF4999        Contracted Courses at CSUF                         0.00         0.00    CSF            o.ob      ~
                                                                                                                      8 1B4400           Matthew                                        3.00        3.00       B           9.00
SSC3100        Social Science Theories                            3.00         3.00     A            12 ,00 -
                                                                                                                      CSF4999            Contracted Courses at CSUF                     0.00        0.00      CSF          0.00
Term GPA:
Cum GPA:
              4.00
              3.34             Cumulative Totals:
                                                                  3.00
                                                                147.00
                                                                               3.00
                                                                           146.00
                                                                                                     12.00
                                                                                                    488,00
                                                                                                          ;,    I~    lAN1 100

                                                                                                                      Term GPA:
                                                                                                                                         Beginning Spanish I

                                                                                                                                        3.57
                                                                                                                                                                                        4.00

                                                                                                                                                                                        7.00
                                                                                                                                                                                                    4.00

                                                                                                                                                                                                    7.00
                                                                                                                                                                                                               A       16.00

                                                                                                                                                                                                                       25.00

Term: UG111230P                2011-2012 Spring
                                                                                  I

                                                                                       --             ~

                                                                                                           -          Cum GPA:          3.39              Cumulative Totals :

                                                                                                                      Major: Liberal Arts with CSUF Contract Program
                                                                                                                                                                                      169.00      168.00              570.00

BIB4200        Biblical Theology                                   3.00    n   3.00     A
                                                                                            ...      12.00
                                                                                                                      Concentration(s): Contract Program in Pre-Medicine; Minor in Biblical Studies
CSF4999        Contracted Courses at CSUF                          0.00        o.oo.   CSF            0.00
                                                                                       'A~                            GPA:    3.39                                          169.00      168.00                       570.00
SCl4810        Science Teaching Assistant                          1.90        1.00                   4.00

Term GPA:                                                         4: 00   .. 4.00                    16.00                 Degrees awarded for: Liberal Arts with CSUF Contract Program
              4.00
                                                                                                                           Concentration(s): Contract Program in Pre-Medicine; Minor in Biblical Studies
Cum GPA:      3.36             Cumulative Totals:           ◄   1g1-.00    1l?0,00                  504.00
                                                                                                                           Degree                                                    Date Awarded
Dean's List - CSUF Contract units included           ....                                                                  Bachelor of Arts                                          5/31/2014


Term: UG121310P                2012-2013 Fall

BIB3460        Ephesians in the Context of Pauline                 3.00        3.00     B             9.00
               Theology
CSF4999        Contracted Courses at CSUF                          0.00        0.00    CSF            0.00


                                                                                                      Unofficial Transcript
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Student: Jackline M Muthoka                                                     StudentlD: 192184                                           DOB:

Course      Course                                      Credits    Credits  Grade    Quality        Course     Course        Credits    Credits    Grade   Quality
Code        Description                                 Earned    Attempted          Points         Code       Description   Earned    Attempted           Points


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     RECORD(S):          Undergraduate         Medical


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           University Requirements
               09/01/14 Entry Level Writing - Satisfied
               09/01/14 American History - Required
               09/01/14 American Institutions - Satisfied


                   FULLERTON COL (Units 15.0) 2 Terms to 05/09


                   CSU FULLERTON (Units 45.0) 7 Terms to 12/13


                   HOPE INTR UNIV (Units 18.0) 12 Terms to 12/14 B.A./B.S.


                   HOPE INTR UNIV (Units 55.5) 12 Terms to 12/14

                   Units Transferred 133.5

           2014 First Summer Session
                  DEVELOPMNTL BIOLOGY                      BIO SCI          0104           4.0     B      12.0
                  NEUROBIO & BEHAVIOR                      BIO SCI          N110           4.0     A-     14.8
            Term Totals            ATTM:            8.0       PSSD:       8.0      GPTS:    26.8    GPA: 3.350     BAL:   10.8
            Cumulative Totals             ATTM:     8.0       PSSD:       8.0      GPTS: 26.8       GPA: 3.350     BAL:   10.8

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        2014 Second Summer Session
               HUMAN PHYSIOLOGY                           BIO SCI           E109               4.0     A          16.0
               BRAIN DISORDERS                            BIO SCI           Nl65               4.0     A+         16.0
           Term Totals                    ATTM:     8.0      PSSD:        8.0      GPTS:        32.0       GPA: 4.000    BAL: 16.0
           Cumulative Totals              ATTM: 16.0          PSSD: 16.0               GPTS: 58.8          GPA: 3.675    BAL: 26.8


        2014 Fall Quarter
               DRUGS AND THE BRAIN                        BIO SCI           36                 4.0     A          16.0
               EUKARY & HUM GENET                         BIO SCI           D137               4.0     B          12.0
               VIROLOGY                                   BIO SCI           M124A              4.0     A          16.0

                   DEANS HONOR LIST

           Term Totals                   ATTM: 12.0          PSSD: 12.0                GPTS: 44.0          GPA: 3.667    BAL:   20.0

           Cumulative Totals              ATTM: 28.0          PSSD: 28.0               GPTS: 102.8         GPA: 3.671    BAL: 46.8


        2015 Winter Quarter
              AIDS FUNDAMENTALS                           BIO SCI           45                 4.0     A          16.0
              ADV BIOCHEMISTRY                            BIO SCI           M114               4.0     A-         14.8
              IMMUNOLOGY W/ HEMAT                         BIO SCI           M121               4.0     A          16.0

                   DEANS HONOR LIST

           Term Totals                   ATTM: 12.0          PSSD:    12.0             GPTS: 46.8          GPA: 3.900    BAL:   22.8

           Cumulative Totals              ATTM: 40.0          PSSD: 40.0               GPTS: 149.6          GPA: 3.740   BAL: 69.6



                   09-15     REENTERED


        2015 Fall Quarter
               STU WKSHP IN BAL I                         DANCE                 30A            2.0     p           0.0   PN
               INTRO MED PHYSIO                           PHYSIO                206A           5.0     B          15.0
               INTRO MED PHYSIO                           PHYSIO                206B           6.0     B          18.0
           Term Totals                   ATTM: 11.0          PSSD: 11.0                GPTS:    33.0       GPA: 3.000    BAL:   11.0
           Cumulative Totals              ATTM: 51.0          PSSO: 51.0               GPTS: 182.6          GPA: 3.580   BAL: 80.6


         2016 Winter Quarter
               CRIT READING & RHET                        WRITING               39B            4.0     p           0.0   PN
               PRINCIPLES PUB HLTH                        PUBHLTH               1              4.0     p           0.0   PN
               HUMAN NEUROSCIENCE                         ANATOMY               202B           4.0     B          12.0
           Term Totals                    ATTM:     4.0       PSSD:       4.0          GPTS: 12.0           GPA: 3.000   BAL:    4.0
           Cumulative Totals              ATTM: 55.0          PSSD: 55.0               GPTS: 194.6          GPA: 3.538   BAL: 84.6


         2016 Spring Quarter
                MEDBIOCHEM & MOLBIO                        BIOCHEM              210A           12.0    A          48.0

                   DEANS HONOR LIST

           Term Totals                    ATTM: 12.0          PSSD:   12.0             GPTS: 48.0           GPA: 4.000   BAL:   24.0
           Cumulative Totals              ATTM: 67.0          PSSD: 67.0               GPTS: 242.6          GPA: 3.621   BAL: 108.6

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           INCOMPLETE GRADES:                     0       UNITS:    0.0
           NRGRADES:                              0       UNITS:    0.0
           P/NP GRADES:                           3       UNITS:   10.0
           S/U GRADES:                            0       UNITS:    0.0
           W GRADES:                              0       UNITS:    0.0


           GRADE UNITS                                                                     UC
                                                      67.0    GRADE POINTS         242.6         3.621   BALANCE   108.6
           ATTEMPTED                                                                       GPA
                                                              UNITS
           TOTAL UNITS PASSED                         67.0                         210.5
                                                              COMPLETED


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       •    Student Profile
       •    Contact Information
       •    Applications

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           Memoranda

                PHYSIOLOGY WAIVED: REQUIREMENT SATISFIED


                NEUROSCIENCE WAIVED: REQUIREMENT SATISFIED


                BIOCHEMISTRY WAIVED: REQUIREMENT SATISFIED




           2016 Fall Quarter
                  ANATOMY/EMBRYOLOGY                   ANATOMY         500A       10.5          p     0.0     PF
                  HISTOLOGY                            ANATOMY         503A       4.8       p         0.0     PF
                  CLIN FOUNDATIONS I                   MED ED          554A       7.9           p     0.0     PF
            Term Totals                       ATTM:     0.0       PSSD:     0.0         GPTS:       0.0      GPA: 0.000
            Cumulative Totals                 ATTM:     0.0       PSSD:     0.0         GPTS:       0.0      GPA: 0.000


           2017 Winter Quarter
                 ANATOMY/EMBRYOLOGY                    ANATOMY         500B       4.7           p     0.0     PF
                  NEUROSCIENCE                         ANATOMY         502A       6.8           p     0.0     PF
                 CLIN FOUNDATIONS I                    MED ED          554B       5.4           p     0.0     PF

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                 BEHAV SCI/MED ETHIC       PSYCH     505A       1.2       p   0.0  PF
           Term Totals               ATTM:  0.0  PSSD:    0.0        GPTS: 0.0    GPA: 0.000
          Cumulative Totals                  ATTM:      0.0       PSSD:     0.0      GPTS:       0.0      GPA: 0.000


         2017 Spring Quarter
                MED BIOCHEM & MCB                       BIOCHEM          523      10.9       p     0.0     PF
                CLIN FOUNDATIONS I                      MED ED           554C     6.5        p     0.0     PF
                PT CENTERED CK I                        MED ED           557      4.0        p     0.0     PF
                MEDICAL GENETICS                        PEDS             511A     2.3        p     0.0     PF
          Term Totals                        ATTM:      0.0        PSSD:    0.0      GPTS:       0.0      GPA: 0.000
          Cumulative Totals                  ATTM:      0.0        PSSD:    0.0      GPTS:       0.0      GPA: 0.000



          INCOMPLETE GRADES:                  0   UNITS:           0.0
          NRGRADES:                           0   UNITS:           0.0
          P/NP GRADES:                      11    UNITS:          65.0
          S/U GRADES:                         0   UNITS:           0.0
          WGRADES:                            0   UNITS:           0.0


          GRADE UNITS ATTEMPTED                   0.0     GRADE POINTS                    0.0    UC GPA    0.000
          TOTAL UNITS PASSED                      0.0     UNITS COMPLETED                65.0


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                                EXHIBIT B
  From: Rosezetta Henderson <r.henderson@uci.edu>
  Date: June 17, 2020 at 4:22:17 PM PDT
  To: "Muthoka, Jackline" <jmuthoka@hs.uci.edu>
  Cc: Karen Andrews <klandrew@uci.edu>
  Subject: RE: NBME Subject Exam verification
  Good afternoon Jackie,
  I hope you are doing well.
  I can confirm that you were granted the accommodation of 1.5 Extended Exam Time for your Shelf
  Exams at UCI.
  Thank you,
  Rosezetta
  Rosezetta N. Henderson, M.S.
  Senior Disability Specialist
  Disability Services Center
  University of California, Irvine
  100 Disability Services, Bldg 313
  Irvine, CA 92697-5130
  DSC Main (949) 824-7494 | Direct (949) 824-1335
  https://dsc.uci.edu/
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  Strengths: Learner | Restorative | Arranger | Responsibility | Input
  ** IMPORTANT NOTE re COVID‐19: The DSC is currently closed until further notice. However, staff,
  services, and support will continue to be available remotely during our regular office hours between
  8:00am – 5:00pm, Monday – Friday.
  **For Campus Updates please visit UCI’s Coronavirus Information Hub
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  recipient, please contact the sender and delete all copies.
  From: Muthoka, Jackline <jmuthoka@hs.uci.edu>
  Sent: Tuesday, June 16, 2020 4:41 PM
  To: Karen Andrews <klandrew@uci.edu>; Rosezetta Henderson <r.henderson@uci.edu>
  Cc: jjambeck@leighlawgroup.com
  Subject: NBME Subject Exam verification
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  Hi Karen and Rosezetta,

  I hope this email finds you safe. I am emailing you to follow‐up on an email I send to both you
  yesterday and I haven't received your reply/acknowledgment of the receipt of my email. Could
  you please send me a verification that I receive 50% extended time for my National Board
  Subject Exams/ NBME Shelf exams, please? Also, if you are not sure or able to provide that
  information to me right now, could you please acknowledge the receipt of my email and advise
  me on how long this will take you?

  Thank you,
  Jackie
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                                EXHIBIT C
    Case 8:20-cv-01072-JLS-KES Document 11 Filed 07/16/20 Page 38 of 123 Page ID #:78
(
      (DNBME~
                                                                                  National Board of Medical Examiners
                                                                                  3750 Market Street
                                                                                  Philadelphia, PA 19104-3102

                                                                                  215-590-9500 phone
                                                                                  VWJW nbme org


                                                  Confidential

      January 2, 2018


      Jackline Muthoka
      3131 Verano Place
      Irvine, CA 92617

      RE: USMLE Step 1                               USMLE ID#: 5-402-796-6

      Dear Ms. Muthoka:

      We have thoroughly reviewed the documentation provided in support of your request for test
      accommodations for the United States Medical Licensing Examination (USMLE) Step 1. We
      conducted an individualized review of your request in accordance with the guidelines set forth in the
      amended Americans with Disabilities Act (ADA).

       In your personal statement you write that you are requesting additional testing time for the USMLE
(      Step 1 due to "Test Anxiety disorders." You reportedly struggled with test anxiety during your first
      year of medical school. You explain that you were on the ''verge of failing classes" because of the
      number of questions on exams, the "level ofspeed and concentration" required for the exams, and
      the "short amount of time that is required to finish exams." You worked with advisors, counselors,
       and the school psychiatrist, and were diagnosed with "Specific phobia-test anxiety." You write, "/
      went through proper procedures that are required by my institution and was approved for an
       extended time to take my exams in an isolated room to reduce destructions [sic]. This determination
      fixed my problems."

      Included with your request was a November 20, 2017 letter of support by Rosezetta Henderson, MS,
      Senior Disability Specialist, who writes that your diagnosis of "Specific Phobia-Test Anxiety" does
      not hinder your abilities except in timed examinations that require high levels of sustained
      concentration. Ms. Henderson states that she "wholeheartedly" supports your request for additional
      testing time. Also included with your request was a Verification of Mental Health Evaluation
      UClrvine Disability Services Center Student Affairs form signed by Anju Hurria, M.D on March 1,
      2017. The diagnosis of"Specific Phobia-test anxiety" is listed and the limitations noted are "anxiety
      around exams-would benefit from extended time." Despite the recommendations for additional
      testing time, experiencing anxiety during high stakes tests is not evidence of a disability or a
      substantial limitation in a major life activity.

      The purpose of testing accommodations is to provide access to the USMLE testing program for
      individuals with a documented disability as defined by the ADA, not to optimize test performance or
      ensure a passing score. A diagnostic label, in and of itself, does not establish coverage under the
(     ADA, nor does prior receipt of accommodations for a particular activity guarantee that identical
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      accommodations are indicated or will be available in all future settings and circumstances. The ADA
(     defines disability as a physical or mental impairment that substantially limits one or more major life
      activities as compared to most people in the general population.

      Your documentation does not demonstrate a substantial limitation in a major life activity as
      compared to most people or that the requested accommodations are an appropriate modification of
      your USMLE Step 1 test administration. Therefore, after a thorough review of all of your
      documentation, I must inform you that we are unable to provide you with the requested
      accommodations.

      We will advise Applicant Services to process your exam application without test accommodations.
      You may inquire at usmlereg@nbme.org or call Applicant Services directly at (215) 590-9700 with
      any questions about your scheduling permit.



      ,~~wrv
      Sincerely,


      Lucia Dwyer, Ph.D.
      Disability Assessment Analyst, Disability Services
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                                EXHIBIT D
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   Jackline Muthoka

   3131 Verano Place, Irvine, CA, 92617.

   May 6th, 2019

   USMLE ID# 54027966

   Dear Sir//Madam:

            USMLE Step 1 Test Accommodation Reconsideration

   Attached please find the following supporting documents for the reconsideration of the USMLE
   Step 1 exam. Attached documents are:

      1.)   My personal statement
      2.)   Assessment Report from Chicago school of professional psychology
      3.)   Letter from Rosezetta Hernderson, Senior Disability Specialist
      4.)   Request for Test Accommodations Form

   Copies of the submitted documents are the exact replicas of the original documents and I agree to
   submit the original documentation should that be required.

   Thank you,




   Jackline Muthoka
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    Jackline Muthoka

    3131 Verano Place, Irvine, CA, 92617.

    May 6th, 2019

    USMLE Step 1 Test Accommodation Reconsideration

    USMLE ID# 54027966

    To whom it may concern:

            My name is Jackline Muthoka and I am a second- year medical student at the University
    of California, Irvine, School of Medicine. I am writing this letter to be reconsidered for 50%
    additional testing time for USMLE Step 1. I am submitting this reconsideration based on new
    documentation that provides evidence of the following: slow information processing speed, low
    reading comprehension, weaknesses with tasks involving visual perception, visual organization,
    nonverbal formation, completing timed tasks, and blocking out distractions as I attempt to focus
    with diagnoses of Other Specified Anxiety Disorder {Test Anxiety) and Other Specified
    Neurodevelopmental disorder related to Visual Processing. These barriers hinder me from
    accessing the exam in its entirety. By not being able to access the entire exam, I am placed at a
    greater disadvantage when compared to my peers.

    Include specific information about the disability-related symptoms and how they affect
    your academic, occupational, social and other important areas of functioning.

             To begin, when my mother passed away in 1998, I realized that my life had changed
    completely. I became more anxious when performing daily tasks. At first, I thought it was grief
    for which I attended therapy, and everything seem to go back as it once was. When my father
    passed away in 2003, I experienced greater depths of anxiety, and I began to worry about how
    my siblings and I were going to navigate through life without our parents. Again, I went to
    therapy, but this time, my life took a complete turnaround. Instead of healing and going back to
    my normal, calm state, I continued to experience anxiety throughout my personal and academic
    life. In addition, having weaknesses in reading comprehension, completing timed tasks, and with
    tasks invoJving visual perception, visual organization, and nonverbal formation. I also have
    difficulties blocking out distractions as my attempts to focus only aggravates my anxiety.

            Anxiety of being late for meetings or work has negatively affected my life in more ways
    than one. The anxiousness of being late has prompted me to surpass the speed limit while driving
    which has resulted in several driving tickets. To ensure I wake up on time, I set multiple alarms
    even though I am yet to miss one. Anxiety affects most aspects of my life, although with
    µieditation and counseling, I am learning to live with it. I have learned to redv,,ce triggers that
    worsen the condition or completely remove them, which makes it easier for me to manage daily
    routines. When I experience episodes of anxiety, most of the time I have phystcal reactions such
    as, my blood pressure rising or I become sweaty, nauseous, and at times vomit. Most of these
    symptoms, I experience the day prior to and the morning of exams. In addition, if the exam has
    multiple sections, I have, in some instances, vomited in between the sections. These symptoms
    can last the entire day. Nights following high pressure events, I find it impossible to sleep,
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    having never ending thoughts and fears of underperforming as well as worries that I will not
    have the chance to finish the tasks at hand, unlike my peers.

            Weaknesses in visual perception, visual organization, and nonverbal formation have also
    impacted my life in different ways. For example, I find it challenging to read maps and
    understand directions quickly, which frustrates my friends and family while traveling. I heavily
    rely on my friends and family for directions and navigation in areas with no GPS. While
    travelling alone, I set aside 3-4 hours in my daily schedule to account for the time spent trying to
    find my way to my destination. I have been lost multiple times and needed the guidance of
    strangers to find my way to hotels or airports. In the USA, I rely heavily on the GPS to get
    around. It is sad that I need navigation even in places that I have visited multiple times.
    Academically, visual perception and visual organization becomes an issue when I have to place
    different pieces of information in various categories or when I have to solve puzzles and read
    charts. It takes me such a long time that, if it is an in-class game of solving puzzles, and I can, I
    would opt out of the game. In exam settings, I usually leave questions involving reading charts
    and graphs to the very end for this reason.

            During my everyday life, slow information processing speed and weak reading
    comprehension manifests in all that I am involved in. It explains my fear of attending events and
    being the last person to understand jokes and this has negatively affected my social life. I find it
    more appealing to stay at home and avoid large gatherings. These weaknesses also describe my
    obsessive need to plan ahead for group work activities and projects at church and school.
    Academically, I prepare materials in advance to make sure that I will be up to par with my peers,
    while we work on reading articles or research papers. I have had experiences where if I had
    waited to read in a group setting, I could not contribute to group projects due to not being able to
    comprehend the information at the same speed as my peers. This makes my academic life both
    frustrating and exhausting.

            When I received an academic scholarship to study in the US, I was required to attend a
    visa interview with the US consulate in Kenya. Months before the interview, I spent hours
    studying, reviewing, and preparing for the interview. The night before the interview, I could not
    sleep because I was worried that I would not have an opportunity access all of the information
    within the allocated time, despite my rigorous preparation process. I was also concerned that my
    weak reading comprehension would keep the interviewer waiting for me and he or she would
    become impatient and deny me the visa. These are just some examples of situations where my
    weaknesses in reading comprehension and completing timed tasks, together with slow processing
    speeds, rose my anxiety to levels of almost experiencing a panic attack.

    Describe the extent to which your daily functioning is impaired and how., that impairment
    interferes with your ability to access the examination under standard con~tions.
                                                                                   ~,;
             I have always enjoyed learning and being a student, except while taking exams. It is not
    the exam in itself that has ~ade my academic life difficult, but rather knowing that I will be
    seated with peers who are processing the exam information at a faster pace than I am. This
    allows them the opportunity to answer all of the questions and the thought that I am unable to do
    this is extremely intimidating and causes high levels of stress. Even though I spend numerous
    hours on productive learning, I enter the exam room with a feeling of defeat before I even begin.
    Unfortunately, these exams are used as tools for evaluating the amount of knowledge one has
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    and how far one can advance with her education within a set time. Providing an equal
    opportunity for students with disabilities, such as myself, by extending time to read and process
    all the exam questions, will allow me to demonstrate my knowledge and move forward
    throughout my medical program.

            While talcing exams under standard time limits, I experience extreme anxiety that causes
    difficulties with blocking out distractions that would otherwise allow me to clearly focus on
    finishing the exam. Having significant delays with processing information and knowing that I
    will not have a chance to complete all of the questions on the exam exacerbates my afflictions. I
    find myself re-reading the same material multiple times and still not being able to comprehend
    the information properly. The worst part is that I become anxious days before timed situations
    and therefore, become tired and worn-out by the time I am able to engage in the timed events.
    After exams, I experience a heavy sense of guilt, shame, and frustration because I never received
    a fair chance to answer all the questions and neither did I have a fair chance to practice
    everything I have learned. It is exhausting and humiliating to leave an exam room crying and
    feeling defeated, instead of celebrating an achieved milestone in my academic life.

             During my high school and undergraduate years, I struggled heavily with finishing
     exams. I was always the last person to submit my exams and would try to use every minute
     wisely, but still ended up running out of time and not having the chance to see the final 5-10
     questions. Due to me showing my knowledge in the attempted questions, my performance was
     strong overall. However, with most exams, the professor would regularly provide an informal
     accommodation and allow me additional time to finish. I was grateful for this and would take
     advantage of these opportunities to finish the remaining questions. These informal
     accommodations minimized the barriers that I experienced throughout my-high school and
     undergraduate studies and I graduated without formally receiving accommodations.

             Another major milestone where I really struggled with testing time was during my
     MCAT preparation. Although I went through various preparation courses and spent hours of
     active studying and preparing for this exam, I still underperformed after attempting the MCAT
     exam a total of four times because of my inability to access all of the exam questions. This
     negatively affected the trajectory of my medical school career. While my peers were applying
     directly to medical school, my low scores would not allow me to start medical school without
     conditions. I was accepted to UCI School of Medicine as a conditional medical student due to
     my otherwise strong application. I was required to continue strengthening my MCAT score so
     that I could prove to the school that I could be successful. During my conditional year, I was
     required to be at the top 75 percentile of the medical school class (performing above a medical
     school class average), which I did. I was successful because I informally received extended time
     on exams. After a successful year as a conditional student, I was required to retake the MCAT
     again as part of the requirements for official admission as a first-year medicaJ student. I took
     various preparatory courses that were meant to help with knowledge and ex!ll)l strategies and
     retook MCAT twice with a minimal score improvement. Because these programs never
     addressed my underlying problems, consisting of slow information processing and low reading
     comprehension, I still suffered the same consequences.

            During my first year of medical sc4ool, I struggled with test anxiety because of my slow
     information processing and reading comprehension and was on the verge of failing my classes.
     After working with advisers, counselors, and the school psychiatrist, I was diagnosed with
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    Specific Phobia-Test Anxiety. I went through the proper procedures that were required by my
    institution and registered with the Disability Services Center and was formally approved for an
    extended exam time in an isolated room in order to reduce distractions. This determination
    minimized the barriers that my diagnoses presented in a timed setting. With utilizing testing
    accommodations, I was better able to display my knowledge of taught material. My anxiety
    levels decreased, and I was able to sleep better the night before exams because I knew I would
    have the opportunity to access all of the exam questions and demonstrate my knowledge.

            My most recent struggles with test accommodations were when I was preparing to take
    the USMLE Step 1 exam in May 2018. After successfully going through two years of medical
    school, while receiving and utilizing test accommodations, I applied for accommodation and was
    denied. After the denial, I worked hard and applied every strategy I knew in order to. better
    prepare for the exam. I paid for and attended a preparatory course with the Institute of Medical
    Boards to help me with both information and exam strategies to successfully complete this exam.
    After the preparatory course, I took the exam again in October and, unfortunately, my score only
    went up by 2 points, which was still a fail. This is because, once again, I ran out of time in each
    section of the exam and didn't have access to an average of 8 questions per section for a total of
    about 56 questions. This is to show that all these preparation programs did not address the
    underlying issues that I am experiencing which are : low reading comprehension, weaknesses
    with tasks involving visual perception, visual organization, nonverbal formation, completing
    timed tasks, and blocking out distractions as I attempt to focus, that ultimately exacerbate the
    anxiety with which I already struggle. Lack of extended time to fully access all the exam
    questions cost me an academic year again, exam expenses (preparation and fees), and it caused
    me guilt and induced an extreme amount of stress, and self-doubt.

    Provide a clear rationale for the requested accommodation(s) and describe how each
    requested accommodation will alleviate the functional limitations caused by your disability.

            Going through school is emotionally, financially, and socially difficult for anyone. It is
    even more difficult when someone goes through it knowing that he/she does not have the same
    opportunities that his/her peers have to succeed. I have struggled with timing in exams and with
    receiving grades that do not accurately reflect my level of knowledge and abilities. It is
    demoralizing, to say the least, that I work hard and sacrifice everything I need in order to receive
    a strong education, all while knowing that my peers have a competitive advantage. This has,
    unfortunately, been a reality that I have had to live with throughout my high school and
    undergraduate studies and it is something I am still experiencing while attending medical school.
    I have utilized accommodations throughout in-school exams, but unfortunately these
    accommodations have not been granted recently. This is a huge disadvantage to me as it has
    hindered me from demonstrating my academic abilities and as a result, has halted my progress
    towards graduation.                                                            ,,,
            Throughout my education, having 50% additional testing time has alliwed me to
    demonstrate my understanding of materials on exams and has enabled me to get to this far
    academically. I will need the same 50% additional testing time while I take USMLE Step 1 in
    order to have access to all exam questions and, therefore, have a fair assessment of my
    knowledge and abilities. With enough time, I will be able to overcome the weakness of
    completing timed tasks, barriers of slow information processing speed and low reading
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    comprehension that hinder me from accessing the exam in its entirety. In addition, I will have a
    chance to read and understand charts in the exam, as well as organizing information in categories
    which will allow me to overcome the weakness in tasks involving visual perception, visual
    organization, and nonverbal formation. Furthermore, knowing that I will have equitable testing
    conditions and a separate room to take the exam will allow me to block out distractions and
    focus on this exam. With these needs met, the symptoms of my diagnoses will be at a minimum
    and the barriers to access the exam will be overcome, allowing me an equal opportunity to
    perform to the best of my ability. With the barriers and challenges of accessing exams presented
    above, it is therefore necessary that I am provided with 50% additional testing time for the
    USMLE Step 1.

    Thank you so much for your consideration in this matter and I look forward to hearing from you!



    Sincerely,




    Jackline Muthoka
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             University of
UCI
                                                                 Disability Services Center    (949) 824-7494
                                                                 100 Disability Services       (949) 824-3083   FAX
             California, Irvine                                  Building 313                  dsc@uci.edu
                                                                 Irvine, CA 92697-5250
                                                                                               www.dsc.uci.edu




May 10, 2019

To Whom It May Concern:

Re: Jacklin Muthoka            USMLE ID #: 54027966

I am writing in support of Jackline Muthoka's reconsideration of the decision to deny her disability-
related test accommodations on the USMLE, Step 1 exam. In my November 20, 2017 letter of support,
I clearly explained the reasons certain accommodations were provided for Ms. Muthoka. Ms. Muthoka
had also provided support from a mental health professional. Since her denial, Ms. Muthoka has
undergone a comprehensive psychological evaluation (attached).

Ms. Muthoka is submitting new information (comprehensive psychological evaluation) to be
reconsidered which was completed by Julie Wilnier, Ph.D. (dated 4/1/19). Ms. Muthoka has been
identified as a person with a disability (Other Specified Neurodevelopmental Disorder related to
Visual Processing (F88)) and further provides evidence of the initial diagnosis that was presented
( Other Specified Anxiety Disorder - Test Anxiety (F41. 8)) that substantially limits major life activities.
The specific major life activities identified in the report are related to brain function: Reading
comprehension and fluency (Low Average Range); Oral Fluency (Low Average); Weaknesses in
completing timed tasks, blocking out distractions while attempting to focus, and nonverbal abilities
which directly impacts her processing speed.

As you are aware, the comprehensive psychoeducational assessment is conducted in a safe, supportive
environment and not during career ending events such as medical board exams. Ms. Muthoka's
diagnosis and functional limitations are understandably exacerbated by stressful situations such as the
USMLE Step exam.

In considering this appeal, I paid close attention to the Regulations to implement Titles II and III of the
ADA Amendments Act that went into effect October 11th 2016. As you are aware, these regulations
clarify the intent of the AD AAA and provide concrete examples-several that are applicable to high
stakes testing agencies and high stakes environments (like medical school). These regulations govern
accommodations in medical education and on the NBME Step 1. In particular, UCI (in following DOJ
guidance) does not use evidence of past student success to discount a student's eligibility for services,
nor accommodation approval. We also respect the committee's rejection that th~ findings
in Price v. National Board of Medical Examiners, Gonzales v. National Board of Medical Examiners,
and Wong v. Regents of University of California were incorrect and that individuals who achieve a
high level of academic achievement can be considered individuals with disabilities under the
Specific to Ms. Muthoka's case, we offer that the regulations added Generalized AnxietY. ..••
Attention-Deficit/Hyperactivity Disorder as an example of a physical or mental impai "
§§ 35.108 (d)(2)(iii)(A) through (K)and 36.105(b)(2).
                                                                                         ..
                                                                                         •"
                                                                                         .
                                                                                         0
                                                                                         •
                                                                                          .
                                                                                          •.
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Further, these Regulations to implement Titles II and III of the ADA Amendments Act, specifically
explain the term substantially limits and identify Generalized Anxiety Disorder and Attention-
Deficit/Hyperactivity Disorder as a disabling condition.

   (i)     The term "substantially limits' 'shall be construed broadly in favor of expansive coverage,
           to the maximum extent permitted by the terms of the ADA. ''Substantially limits'' is not
           meant to be a demanding standard.

  (K) Major depressive disorder, bipolar disorder, post-traumatic stress disorder, traumatic brain
injury, obsessive compulsive disorder, and schizophrenia each substantially limits brain function.

It appears that the denial was based on Ms. Muthoka's interpretation and belief that Ms. Muthoka's
disability did not substantially limit major life activities.

Excerpt from January 2, 2018 denial letter
"A diagnostic label, in and of itself, does not establish coverage under the ADA, nor does prior receipt
of accommodations for a particular activity guarantee that identical accommodations are indicated or
will be available in all future settings and circumstances. The ADA covers individuals who are
substantially limited in a major life activity. Determination of whether an individual in substantially
limited in functioning as compared to most people is based on assessment of the current impact of the
identified impairment. "

Based on this clarification, I encourage approval of Ms. Muthoka's requested accommodations for the
USMLE STEP 1. Please do not hesitate to contact me at (949) 824-1335 or by email at
r.henderson@uci.edu with any questions or concerns .




                         .s.
Senior Disability Specialist
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                       United States Medical Licensing Examination® (USMLE®)

                              REQUEST FOR TEST ACCOMMODATIONS
              Use this form   ifyou are requesting accommodations on USMLE for the first time
           The National Board of Medical Examiners® (NBME®) processes requests for test
                         accommodations on behalf of the USMLE program

   If you have a documented disability covered under the Americans with Disabilities Act (ADA),
   you must notify the USMLE in writing each time you apply for a Step examination for which
   you require test accommodations. Submitting this form constitutes your official notification.

   • Review the USMLE Guidelines for Test Accommodations at www.usmle.org for a detailed description of
     how to document a need for accommodations.

   • Complete all sections of this request form; submit the form and all required documentation to Disability
     Services once you have submitted your Step exam application to your registration entity.

   • NBME will acknowledge receipt of your request by e-mail and audit your submission for completeness. If
     you do not receive an e-mail acknowledgement within two business days of submitting your request,
     please contact Disability Services at 215-590-9700 or disabilityservices@nbme.org. You may be asked to
     submit additional documentation to complete your request.

   • Requests are processed in the order in which they are received. Processing cannot begin until sufficient
     information is received by NBME and your Step exam registration is complete. Please allow at least 60
     days for processing of your request.

   • The outcome of our review will not be released via telephone. All official co"mmunications regarding your
     request will be made in writing. If you wish to modify or withdraw a request for test accommodations,
     contact Disability Services by e-mail at disabilityservices@nbme.org or by telephone at 215-590-9700.


    As explained in the Guidelines to Request Test Accommodations (www.usmle.org), you MUST
    provide supporting documentation verifying your current functional impairment.

    Submit the following with this form:

    ✓ A   personal statement describing your disability and its impact on your daily life and educational
        functioning.

    ✓   A complete and comprehensive evaluation from a qualified professional documenting your disability.

    ✓   Supporting documentation such as academic records; score transcripts for previous standardized
        exams; verification of prior academic/test accommodations; relevant medical records; previous psycho-
        educational evaluations; faculty or supervisor feedback; job performance evaluations; clerkship/clinical
        course evaluations; etc.

    Please be sure to review the Guidelines for more detailed information regarding supporting
    documentation.




    Accommodations Request Form (3/2017)                                                                    Page,1
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                                       USMLE• Request for Test Accommodations

    Section A: Exam Information

    Place a check next to the examination(s) for which you are currently registered and requesting test
    accommodations: (Check all that apply)

    ~ Step 1
     □   Step 2 CK (Clinical Knowledge)
     □   Step 2 CS (Clinical Skills)
     □   Step 3*
    *Please be aware that additional test time for Step 3 may involve 3 to 5 days of testing, depending on
    the requested accommodation (See Section Cl).

    Section B: Biographical Information
    Please type or print.

    Bl. Name:        ~\,\~o~
                                                           .           .
                                                          ut'.A.,c..\L.L.\. ~
                     Last                                      First                                Middle Initial

    Bl. Gender:      □ Male            ):lFemale

    B3. Date of Birth:      oq' b(o' \q f?r
    B4. USMLE #-6.._ - _4_Q ~ - 4 .9.. £. - ~ (required)

    BS. Address:




                                                               State/Province                    Zip/Postal Code

    Country
     ±t :£..p, 114::-6'\ ~ - Gqo~
    Preferred Telephone Number
           Jo..().L\ Q...r:(\v. ~<'·\L~   g'~   {§?\j°'f""O.\\, ~~
    E-mail address




    Country of Medical School: _ __,.U.:=N...,,._'_P._ _ _ _ __        Date of Medical School Graduation: :;to ;;)..O...




    Accommodations Request Form (3/2017)                                                                      Page 2 •
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                                 USMLE® Request for Test Accommodations



  Section C: Accommodations Information
  Cl.     Step 1, Step 2 CK, or Step 3 (computer-based examinations)

  Check the appropriate box to indicate the accommodations you are requesting. Check ONLY ONE box for
  the exam(s) for which you are currently registered:

  STEP 1:
  Additional Break Time                       Additional Testing Time
  D Additional break time over 1 day          □ 25% Additional test time (Time and 1/4) over 2 days

   □ Additional break time over 2 days        □ 50% Additional test time (Time and 1/2) over 2 days
                                              □ 100% Additional test time (Double time) over 2 days

   J4 Additional break time and 50% Additional test time (Time and 1/2) over 2 days
   STEP2CK :
   Additional Break Time                      Additional Testing Time
   □ Additional break time over 2 days        □ 25% Additional test time (Time and 1/4) over 2 days
                                              □ 50% Additional test time (Time and 1/2) over 2 days
                                              □ 100% Additional test time (Double time) over 2 days

   □ Additional break time and 50% Additional test time (Time and 1/2) over 2 days


   STEP 3:
   Additional Break Time                      Additional Testing Time
   □ Additional break time over 4 days        D 25% Additional test time (Time and 1/4) over 3 days
                                              □ 50% Additional test time (Time and 1/2) over 4 days
                                              □ 100% Additional test time (Double time) over 5 days

    □ Additional break time and 50% Additional test time (Time and 1/2) over 4 days


   Describe any other accommodation(s) you are requesting for Step 1, Step 2 CK, or Step 3.




   C2.      STEP 2 CS (Clinical Skills)
   Review the Step 2 CS Onsite Orientation video and Step 2 CS Content Description and General Information
   Booklet at www.usmle.org for detailed information about the format and delivery of the Step 2 CS
   examination.                                                                       •;

   Describe the accommoda tions you are requesting for each section of Step 2 CS (i.e., patient encounter,
   patient note). If you are requesting additional time, state the amount of additional time you require in
   minutes per encounter or note.

    □ Patient Encounter:
                         ---- ---- ---- ---- ---- ---- ----
    □    Patient Note:
                       ---- ---- ---- ---- ---- ---- ---- --
    Accommodations Request Form (3/2017)                                                               Page3
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                                   USMLE® Request for Test Accommodations


   C3.      Do you require wheelchair access at the examination facility? D Yes D No
   If yes, please indicate the number of inches required from the bottom of the table to the floor: _ __


   Section D: Information About Your Impairment

   D1. List the specific DSM/ICD diagnostic code(s) and disability for which you are requesting
   accommodations and report the year that it was first diagnosed.

   DIAGNOSTIC CODE                            DISABILITY                         YEAR DIAGNOSED
       DS ffi5 -EA~ ~:2..            ~ !~~                 l:M,oeir:1               ~   g__o\'=T
                                    b \JO nU:<: (:{AP!- F'rNl~ ~ )
                                    D~ c~~t< ec:R
                                    NWt-0c)R.,J1L-\op~\ J..,<f.()("~
                                    k~        ~ V\CN"\         Pf?(f2J),:..."'
   D2. Personal Statement
   ~    Attach a signed and dated personal statement describing your impairment(s) and how a major
        life activity is substantially limited. The personal statement is your opportunity to tell us how your
        physical or mental impairment(s) substantially limits your current functioning in a major life activity
        and how the standard examination conditions are insufficient for your needs. In your own words,
        describe the impact of your disability on your daily life (do not confine your statement to
        standardized test performance) and provide a rationale for why the specific accommodation(s) you
                                                                            .         •'
        are requesting are necessary in the context of this examination.

   Section E: Accommodation History

   El. Standardized Examinations
   \\ Attach copies of your score report(s) for any previous standardized examination taken.
   ~ If accommodations were provided, attach official documentation from each testing agency
        confirming the test accommodations they provided.

   List the accommodations received for previous standardized examinations such as college, graduate, or
   professional school admissions tests and professional licensure or certification examinations (if no
   accommodations were provided, write NONE).

                                  DATE(S)                               ACCOMMODATION(S)
                               ADMINISTERED                                 PROVIDED
   □    SAT® ACT®
            '
   □    MCAT®
   □    GRE®
   □    GMAT®
   □    LSAT®
   □    DAT®
   □    COMLE:x®
   □    Other (specify)

   Accommodations Request Form (3/2017)                                                                  Page4
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                                 USMLE® Request for Test Accommodations



   E2. Postsecondary Education
   List each school and all formal accommodations you receive/received, and the dates accommodations
   were provided:
   ~ Attach copies of official records from each school(s) confirming the accommodations they
      provided.
   \\ If you receive/received accommodations in medical school and/or residency. have the
      appropriate official at your medical school/residency complete and submit the USMLE
      Certification of Prior Test Accommodations form available at www.usmle.org.

                                                      ACCOMMODATIONS                  DATES
                          SCHOOL                          PROVIDED                   PROVIDED

   Medical/Graduate/
   Professional School




   Undergraduate
   School



   E3. Primary and Secondary School
   List each school and all formal accommodations you received, and the dates accommodations were
   provided:
   \\ Attach copies of official records from each school listed confirming the accommodations they
      provided.
                                                ACCOMMODATIONS                       DATES
                         SCHOOL                       PROVIDED                      PROVIDED

   High School


   Middle School                                                            U.D~e:\ IA 0. I <:"\C,LDy-<\~~:) ""'
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   Elementary School        t:S~          X½::tv:!:::~c:::\   ~oO \         \At--P \'f\ ~~\   C,\((_o   r-,r--o..J...{}\~;:;r-J
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   Accommodations Request Form (3/2017)                                                          Pages
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                                   USMLE® Request for Test Accommodations

   Section F: Certification and Authorization

   To the best of my knowledge and belief, the information recorded on this request form is true and accurate. I
   understand that my request for accommodations, including this form and all supporting documentation, must
   be received by the NBME sufficiently in advance of my anticipated test date in order to provide adequate
   time to evaluate and process my request.

   I acknowledge and agree that any information submitted by me or on my behalf may be used by the USMLE
   program for the following purposes:
       • Evaluating my eligibility for accommodations. When appropriate, my information may be disclosed
          to qualified independent reviewers for this purpose.
       • Conducting research. Any disclosure of my information by the USMLE program will not contain
          information that could be used to identify me individually; information that is presented in research
          publications will be reported only in the aggregate.

   I authorize the National Board of Medical Examiners (NBME) to contact the entities identified in this request
   form, and the professionals identified in the documentation I am submitting in connection with it, to obtain
   further information. I authorize such entities and professionals to provide NBME with all requested further
   information.

   I further understand that the USMLE reserves the right to take action, as described in the Bulletin of
   Information, if it determines that false information or false statements have been presented on this request
   form or in connection with my request for test accommodations.

   Name (print):   Jo..~~                 \'n"'-1M~
   Signature:~--~=------===-~-'-""-"~-=--==-----------                      Date:   6\ \~} \j

   E-mail (as a pdt), fax or mail your completed request form and supporting documents to the
   address below at the same time you submit your Step examination application.


                                            Disability Services
                                   National Board of Medical Examiners
                                            37S0 Market Street
                                       Philadelphia, PA 19104-3190
                                        Telephone: (21S) S90-9700
                                         Facsimile: (21S) S90-9422
                                   E-mail: disabilityservices@nbme.org




   Accommodations Request Form (3/2017)                                                                   Page6
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                                   COUNSELING
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              The Chicago School of Professional Psychology's Irvine Counseling Center
                                    4199 Campus Drive, Irvine CA
                                           (949) 769-7747
                                             Confidential

                                   Psychological Evaluation Report

 Name: Jackline Muthoka                                Gender: Female

 Date of Birth: 9/6/1987                               Marital Status: Single

 Chronological Age: 31years                            Occupation: Student

 Examiners:      Kourtney Mitchell (PsyD Practicum Trainee)

                 Ryan Mosier (PsyD Practicum Trainee)

 Clinical Supervisor: Julie Wilnier, PhD; Lie# PSY 20932

 Dates of Evaluation: February 4, 11, 25, & March 4, 2019




 Dear Ms. Muthoka,

 You were recently evaluated in our office, and requested a psychological evaluation in order to
 be provided recommendations for improving your test taking skills and overall functioning,
 indicating that you have difficulty comprehending some information and completing tasks that
 are timed. Following are the results of your evaluation.

 CONFIDENTIALITY/LIMITS OF INFORMED CONSENT

 Prior to beginning the assessment, the TCSPPICC evaluation packet was reviewed with Ms.
 Muthoka. The packet provides information including notification of limits of confidentiality,
 mandated reporting requirements, a description of the evaluation process and testing,
 authorization to release confidential information forms, and a Notice of Privacy Practices
 concerning protected health information, pursuant to the Welfare and Institutions Code Section
 5238. Ms. Muthoka was given the opportunity to ask questions about the procedures and packet
 information. She read the packet and signed her agreement to proceed with the evaluation.
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  IMPORTANT: The following report may contain sensitive information subject to misinterpretation
  by those untrained interpreting psychological assessment data. Disclosure of any material herein
  without the permission of the court, the legal guardian, or the holder of the privilege is prohibited
  unless in accordance with the Welfare and Institutions Code Section 5238.

  IDENTIFYING INFORMATION AND REASON FOR REFERRAL

  Ms. Muthoka is a 31-year-old, single female who was born and raised in Kenya. She identifies her
  ethnicity as African, Kenyan. Ms. Muthoka grew up with both of her parents and her two siblings
  in Kenya until 2008, when she came to California on an academic scholarship and attended Hope
  International University, California State University Fullerton, and most recently, University of
  California, Irvine (UCI). Ms. Muthoka is currently living in Irvine, CA with a roommate in Graduate
  Student Housing.

  Ms. Muthoka reports experiencing anxiety, attention, reading, and comprehension issues. She
  reports that it is hard for her to read and process passages, which leads to issues with her
  performance on examinations. She reports that often it takes her a very long time to read and
  then process what she has just read, and she finds it is harder to process words than numbers.
  She feels that this challenge with processing information causes her to become overly worried
  about completing tasks. As a result, Ms. Muthoka reports that she is usually the last student in
  class to finish exams, and that she feels very anxious with each exam, worried about whether she
  will be able to complete it in the time allotted. In fact, prior to taking exams, Ms. Muthoka
  provided that she sometimes will feel nauseous the night before. After exams, Ms. Muthoka
  reports that she can be hard on herself for not finishing or knowing the answer to an easy
  question, resulting in self-criticism. Ms. Muthoka requested a psychodiagnostic evaluation to
  assess her current cognitive and emotional functioning, determine the reason for her current
  struggles, and to seek appropriate recommendations for further treatment and assistance,
  especially as she prepares to take the Medical Licensure Examinations (USM LE).

  RELEVANT HISTORY

  The following information was solely obtained from Ms. Muthoka.

  Family History

  Ms. Muthoka was born and raised in Kenya, living with her mother, father, brother and sister,
  and reports having had a happy, loving, and supportive childhood. Currently, her brother and
  sister still live in Kenya and both parents are deceased. She reports that her mother died from
  Malaria in 1998, and her father from a heart attack in 2003. Ms. Muthoka reports that she has
  always had a very good relationship with her family members, and still remains in contact with
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 her siblings. Additionally, she provided that she is also helping to pay for her cousin to attend
 school in Kenya.

 Developmental and Medical History

 Ms. Muthoka reports not knowing if there were any complications in regard to her
 developmental history, therefore, she assumes her developmental milestones were met within
 normal limits. Ms. Muthoka reports that she thought she had trouble with her hearing as an
 adult, however, results from a hearing test provided there are no hearing issues. She reports no
 serious medical problems, but is concerned with anxiety which causes her to feel ill when taking
 timed tests, which then negatively affects her performance. Ms. Muthoka denies any use of
 alcohol or substances. She also reports minimal caffeine intake and no current use of any
  prescribed medications.

 Academic History

  Ms. Muthoka attended school in Kenya until 2005, when she graduated from high school with an
  A average throughout her childhood and adolescent academic career. She then moved to the
  United States in 2008, where she received her undergraduate degree after six years. She initially
  attended Hope International University for two years, and then concurrently attended California
  State University Fullerton on an academic scholarship for the latter four years. She is currently
  attending UCI as a third year medical student. Additionally, Ms. Muthoka reported that she can
  speak seven different languages, however, she feels she is fluent in only four of them, including
 the English language.

  Ms. Muthoka reported that she began receiving academic accommodations at Hope
  International University, where she was allowed unlimited time for exams. During her UCI
  medical school program, Ms. Muthoka was advised to see a psychiatrist at UCI, where she was
  never formally assessed, yet reportedly was given a diagnosis of Test Anxiety, and as a result, she
  received academic accommodations, including extra time for exams and taking exams in a
  separate room.

  Occupational History

  Ms. Muthoka reports that she currently works full-time providing in-home care, and before
  medical school she spent time volunteering at Hoag Hospital in Newport Beach, CA. From 2008-
  2013, Ms. Muthoka worked for 6 years as a library assistant at Hope International University.
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  Psychiatric History

  Ms. Muthoka reported that she has never been previously diagnosed with any mental health
  disorders until her diagnosis of Test Anxiety from the UCI psychiatrist. The only mental health
  treatment she reported was seeing a doctor in Kenya, to help with the bereavement of her
  parents. Ms. Muthoka currently denies suicidal and homicidal ideation.

  Legal History:

  Ms. Muthoka reports no legal history.

  ASSESSMENT PROCEDURES

  Clinical Interview
  Mental Status Evaluation (MSE)
  Million Clinical Multiaxial Inventory - Fourth Edition {MCMI-IV)
  Projective Drawings {House-Tree-Person)
  Test of Variable of Attention {T.O.V.A): Visual and Auditory
  Wechsler Adult Intelligence Scale - Fourth Edition (WAIS-IV)
  Wechsler Individual Achievement Test- Third Edition {WIAT-III)

  BEHAVIORAL OBSERVATIONS AND MENTAL STATUS EXAMINATION

  Ms. Muthoka is a 31-year-old Kenyan, single, female. She relocated to the United States from
  Kenya to attend university in 2008. She is currently attending medical school at UCI and is
  working full-time, providing in-home care. Ms. Muthoka arrived to all of her assessment sessions
  on time. She was oriented to time, place, person, and situation, and was appropriately groomed
  and dressed for her age and the circumstances. At the first session, Ms. Muthoka was eager to
  participate in the assessment, but also exhibited signs of distress by shaking her head during
  problems and questioning her abilities after comprehension subtests. Further, Ms. Muthoka
  described bouts of increased anxiety, lack of sleep, and nausea the night before and during
  testing. Although overall, her affect was appropriate, and she displayed direct eye contact with
  both administrators. There were no thought process, content, or perceptual disturbances
  present, however, she did infrequently request clarification on the meaning of some words. She
  was cooperative throughout the testing session but expressed concern multiple times about
  completion time of the entire assessment process and when the report would be finished,
  however, her attitude remained understanding with each repeated explanation. She denied
  having any suicidal or homicidal ideation. Her insight appeared adequate in that she seemed able
  to understand that her anxious and physically upsetting feelings may be causing her to be unable
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 to complete tasks at an adequate pace. Her judgement seems to be intact, and she was
 motivated and attentive throughout the entire assessment process.


 Ms. Muthoka demonstrated consistent motivation, concentration, and attention throughout the
 2-hour administration of the WAIS-IV. Administration of the WIAT-111 occurred over a two-hour
 session, followed by an hour session the following week. On the Listening Comprehension,
 Reading Comprehension and Math sections, Ms. Muthoka reported many times that these
 sections were not enjoyable and asked administrators to provide the answers after she
 responded, meanwhile being informed that this was not allowed. Ms. Muthoka frequently
 wanted to use her phone to "check her work," which also was not permitted, though she
 reported that after the completed sessions, should would look up the math formulas that she
 could not remember how to solve. Ms. Muthoka took advantage of the opportunity to look back
 at the passage when answering the Reading Comprehension subtest questions. On the essay
 portion of the WIAT-111, Ms. Muthoka did not make an outline for herself, and did not need much
 time to think of her favorite game, however, Ms. Muthoka did take the entire 10 minutes to
 complete the essay.


 Ms. Muthoka completed the MCMI-IV in a timely manner and did not require any assistance
 from administrators. During the House-Tree-Person projective assessment, Ms. Muthoka
 completed all four drawings relatively quickly, while staying focused on the task at hand. She was
 also administered both the Visual and Auditory versions of the TOVA test. Ms. Muthoka required
 the instructions to be repeated and her concentration and patience appeared to become
 strained after 10 minutes of the test, as she began sighing consistently, moving around in her
 seat, and would blink and move toward the screen. Additionally, she made a comment on how
 happy she was once the test was "over with." She also reported that she forgot her reading
 glasses before the Visual test, however, it was confirmed that she only uses the glasses to read,
 so it is likely that this did not negatively impact her performance on the test which is
 administered in large display, on an oversized monitor. Additionally, the volume was turned all
 the way up for the Auditory test, as she stated that she did not have great hearing. She reported
 that the test was "confusing" and constantly mentioned that she knew she had made mistakes
 during the TOVA test.
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  TEST RESULTS


  Cognitive Functioning
                                 Wechsler Adult Intelligence Scale -Fourth Edition

                                                                   95%                      Is Index/ Cluster
                        Scaled        Composite    Percentile                 Qualitative
         Scale                                                  Confidence                        /IQ
                        Scores          Score        Rank                     Description   Interpretable?
                                                                 Interval

       Verbal
                                         100          so         94-106        Average            Yes
    Comprehension

      Similarities        10
      Vocabulary          11
      Informatio n           9
      Perceptual                                                                                  Yes
                                          90          25
      Reasoning
      Block Design           7
         Matrix
                             10
       Reasoning
     Visual Puzzles          8
        Working                                                   89-102                          Yes
                                          95           37
        Memory
       Digit Span            8
       Arithmetic            10
       Processing                                                                    Low
                                          81           10         75-91                           Yes
         Speed                                                                 Average

     Symbol Search           6
         Coding              7
        Full Scale                      FSIQ 90        25          86-94        Average            Yes
   Composite score: Mean= 100, SD =15


   Ms. Muthoka's cognitive functioning was evaluated with the Wechsler Adult Intelligence Scale-
   Fourth Edition (WAIS-IV). The WAIS-IV is an IQ test designed to measure intelligence and
   cognitive ability via 10 core subtests. The Full-Scale IQ (FSIQ) composite score is derived from all
   10 subtest scores and is considered the most representative estimate of overall intellectual
   functioning . Ms. Muthoka's general cognitive ability is within the average range of intellectual
   functioning , as measured by the FSIQ of the WAIS-IV. Her overall thinking and reasoning abilities
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  exceed those of approximately 25% of individuals her age (FSIQ= 90; 95% Confidence Interval=
  86-94).

  Ms. Muthoka's verbal reasoning abilities as measured by the Verbal Comprehension Index (VCI)
  are in the average range and above those of approximately 50% of her peers (VCI= 100; 95%
  Confidence Interval= 94-106). The VCI is designed to measure verbal reasoning and concept
  formation, administered in the form of oral questions. Ms. Muthoka scored in the average range
  on each subtest. The VCI subtests, Similarities and Vocabulary, evaluate verbal concept
  formation, crystallized intelligence, and auditory comprehension. The Similarities subtest asked
  Ms. Muthoka to describe how two words were similar, measuring abstract reasoning, and
  associative and categorical thinking (Scaled Score= 10). On the Vocabulary task, Ms. Muthoka
  defined items presented visually and verbally, measuring learning ability, degree of language
  development, fund of knowledge, and verbal expression (Scaled Score= 11). The Information
  subtest requires verbal responses to oral prompts by assessing a broad range of general
  knowledge topics (Scaled Score= 9). These results suggest that Ms. Muthoka displays average
  abilities in terms of categorical thinking and vocabulary, while also displaying an average range of
  general knowledge. Overall, verbal comprehension is a significant strength for Ms. Muthoka,
  when compared to other indices, indicating that her VCI of 100 is a truer representation of her
  cognitive abilities.

  The Perceptual Reasoning Index (PRI), a measure of fluid reasoning in the perceptual domain,
  represents Ms. Muthoka's abilities related to nonverbal concept formation, visual perception
  and organization, visual-motor coordination, learning, and the ability to separate figure and
  ground in visual stimuli. Ms. Muthoka's fluid reasoning abilities as measured by the PRI are in the
  average range and above those of approximately 25% of her peers (PRI= 90; 95% Confidence
  Interval= 84-97). Ms. Muthoka's perceptual reasoning was assessed by tasks that required her
  to create designs using blocks (Block Design Scaled Score= 7), determine the missing portion
  from an incomplete matrix (Matrix Reasoning Scaled Score= 10), and the ability to analyze and
  synthesize abstract visual material in the form of puzzles (Visual Puzzles Scaled Score= 8). These
  results indicate that she struggles at tasks that involve piecing visual information together,
  particularly in a part to whole fashion, as on the Block Design task, but has an average capability
  to understand complex visual patterns. These results suggest that Ms. Muthoka's nonverbal,
  perceptual reasoning skills, while still within the average range, are significantly weaker
  compared to her verbal abilities.

  The Working Memory Index (WMI), represents Ms. Muthoka's ability to sustain attention,
  concentrate, and exert mental control. Ms. Muthoka's working memory was assessed by
  examining capacities involved in initial registration and holding of information (short-term
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  memory) and the mental manipulation of information that is being held in the mind (working
  memory). Ms. Muthoka's working memory abilities, as measured by the WMI are found to be
  within the average range and above those of approximately 37% of her peers (WMI= 95; 95%
  Confidence Interval= 89-102). The Digit Span task required her to remember, organize, and
  repeat back a series of numbers forward and backward (Scaled Score= 8), which she performed
  within the average range. Ms. Muthoka's performance was also within the average range,
  though slightly better, on the Arithmetic subtest, in which she performed mental manipulation of
  numbers with an added computational element (Scaled Score= 10). These results indicate that it
  is harder for her to retain and process random information without context (a series of random
  numbers), than when information is presented within a context, such as numbers within a word
  problem. However, overall, Ms. Muthoka displays adequate working memory abilities.

  The Processing Speed Index (PSI) represents Ms. Muthoka's ability to perform simple, clerical-
  type tasks quickly. Ms. Muthoka's processing speed skills as measured by the PSI are found to be
  in the low average range and above those of approximately 10% of her peers (PSI= 81; 95%
  Confidence Interval= 75-91). The Coding task required her to quickly copy symbols that were
  paired with numbers according to a key (Scaled Score= 7). On the Symbol Search task, she was
  asked to identify the presence or absence of a target symbol in a row of symbols (Scaled Score=
  6). These below average scores indicate that the ability to process information quickly is a
  significant challenge for Ms. Muthoka, especially for visual information, which both of these
  tasks entail. This challenge was also evidenced by her performance on the PRI. As a result, she is
   more deliberate when attempting to process visual information, rather than hasty in her work.
  Overall, Ms. Muthoka's processing speed abilities are a significant weakness when compared to
   her verbal comprehension and working memory abilities. This significant challenge explains the
  struggle she experiences when attempting to complete exams.

  Overall, Ms. Muthoka's cognitive functioning is within the average range, with scaled scores
   ranging from low average to average. Generally, Ms. Muthoka displays a significant strength in
  verbal comprehension and adequate working memory abilities. Ms. Muthoka particularly excels
  at general knowledge tasks, especially when there is context included. Relative to her verbal
  strengths, she experiences significant difficulty with nonverbal tasks and processing information
   adequately. More specifically, she struggles with completing tasks that are timed, blocking out
   possible distractions while attempting to focus, and on tasks involving visual perception, visual
   organization, and nonverbal concept formation. Due to the significant discrepancies among her
   cognitive indices, indicating significant challenges related to nonverbal and processing speed
   tasks, her VCI of 100 is likely a more accurate representation of her true cognitive abilities.
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  Achievement

  Ms. Muthoka's academic abilities were evaluated with the Wechsler Individual Achievement Test
  -Third Edition (WIAT-111). The WIAT-111 was administered for an in-depth assessment of Ms.
  Muthoka's academic achievement in nine areas: oral expression, listening comprehension, basic
  reading, reading comprehension, reading fluency, written expression, math problem solving,
  math calculation, and math fluency. The purpose of assessing academic performance levels is to
  determine if Ms. Muthoka has an educational need resulting from a disability, as well as to
  determine the presence or absence of a significant educational deficits requiring additional
  special education services or supplementary assistance.

  The WIAT-111 was administered with the following results (based on age norms):



                                              Standard Score/ Composite   Percentile Rank
  Total Reading                                          98                     45
     Basic Reading                                       110                    75
        Word Reading                                     107                    68
        Pseudoword Decoding                              112                    79
     Reading Comprehension and Fluency                    89                    23
        Reading Comprehension                             88                    21
        Oral Reading Fluency                              95                    37
  Mathematics                                            110                    75
     Numerical Operations                                117                    87
     Math Problem Solving                                101                    53
  Math Fluency                                           104                    61
     Math Fluency-Addition                               114                    82
     Math Fluency-Subtraction                             92                    30
     Math Fluency-Multiplication                         105                    63
  Written Expression                                     115                    84
     Spelling                                            108                    70
     Sentence Composition                                106                    66
        Sentence Combining                               102                    55
        Sentence Building                                109                    73
     Essay Composition                                   121                    92
        Word Count                                       120                    91
        Theme Development/Text Organization              119                    90
  Oral Language                                           89                    23
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      Listening Comprehension                          96                       39
          Receptive Vocabulary                         92                       30
          Oral Discourse Comprehension                101                       53
     Oral Expression                                   85                       16
          Expressive Vocabulary                       93                        32
          Oral Word Fluency                            77                        6
          Sentence Repetition                          93                       32

                                                 Standard Score           Percentile Rank
  Total Composite                                     103                       58
  Standard/Composite score: Mean= 100, SD =15

  Overall, relative to individuals of comparable age, Ms. Muthoka is currently functioning within
  the average range of academic achievement (SS=103; 58 th percentile).

  The Total Reading Composite (Composite Score=98; 45 th percentile) is a combination of Basic
  Reading (SS=110; 75 th percentile), which includes Word Reading (reading a list of words), and
  Pseudoword Decoding (decoding nonsense words); and Reading Comprehension and Fluency
  (SS=89; 23 rd percentile), which includes Reading Comprehension (reading passages and
  answering questions; SS=88; 21 st percentile) and Oral Reading Fluency (reading aloud passages
  and responding to comprehension questions; SS=95; 37 th percentile). These tests measure basic
  reading skills and reading comprehension, and Ms. Muthoka's performance fell within the
  average range, overall, yet within the low average range on Reading Comprehension. Specifically,
  Ms. Muthoka's reading fluency was adequate and she took advantage of the opportunity to look
  back at the passage when answering the Reading Comprehension subtest questions,
  demonstrating motivation and resourcefulness, however, was semi-successful in producing
  correct answers, resulting in her low average score (S5=88; 21 st percentile). This result further
  supports the fact that Ms. Muthoka struggles to comprehend visual information and can benefit
  from having visual aids and extra time to assist her in comprehending and accurately responding
  to complex information. Additionally, Ms. Muthoka's performance on the Word Reading
  (S5=107; 68 th percentile) and Pseudoword Decoding (S5=112; 79 th percentile) subtests were
  within the average range, with a slightly better performance phonetically decoding nonsense
  words versus familiar words indicating that, although English is not her first language, she
  appears to have adequate phonetic abilities.

  Ms. Muthoka's performance in the areas of math problem solving, math calculation and math
  fluency was evaluated. Her Mathematics composite score (Composite Score=110; 75 th
  percentile), which is a combination of the Math Problem Solving (everyday applications including
  time, money, and word problems, and geometry and algebra; S5=101; 53 rd percentile) and
  Numerical Operations (solving math problems involving basic skills, basic operations with
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  integers, geometry, algebra and calculus; SS=117; 87 th percentile) subtests, is in the high average
  range. These tests measure the individual's ability to perform basic math calculations and to use
  math skills in applied problems in an untimed manner. More specifically, Ms. Muthoka
  performed within the average range on Math Problem Solving, which includes visual stimuli and
  abstract problem solving, whereas Numerical Operations includes just raw calculations, and her
  performance was considerably better. This further supports the fact that Ms. Muthoka performs
  better with rote information and learned concepts and struggles with visually presented
  information, especially when it is complex and involves abstract reasoning. The Math Fluency
  composite (Composite Score=104; 61 st percentile) is a combination of Math-Addition
  (completing simple addition problems within one minute; SS=114; 82 nd percentile), Math
                                                                                           th
  Fluency-Subtraction (completing simple subtraction problems within one minute; SS=92; 30
  percentile) and Moth Fluency-Multiplication (completing simple multiplication problems within
  one minute; SS=105; 63 rd percentile). Ms. Muthoka's overall Math Fluency composite score falls
  in the average range, with a display of stronger addition skills and weaker subtraction skills. The
  average results on these timed tasks, compared to her high average results on the untimed
  Numerical Operations subtest, indicates the negative impact the pressure of time has on Ms.
  Muthoka's performance. In general, she performs better when allowed to work at her own
  pace.
                                                                                                      th
  The Written Expression cluster is a combination of Spelling (spelling a list of words; SS=108; 70
  percentile), Essay Composition (measuring productivity, theme development, and text
  organization; SS=121; 92 nd percentile), and Sentence Composition, which includes Sentence
  Combining (combining ideas into a single sentence; SS=102; 55 th percentile) and Sentence
                                                                                               d
  Building (generating contextually appropriate sentences using target words; SS=109; 73'
  percentile). Ms. Muthoka's writing ability, as determined by the Written Expression composite
  score, is within the high average range (SS=115; 84th percentile). Notably, Ms. Muthoka scored
  within the superior range on the Essay Composition (S5=121; 92 nd percentile). Word Count
                                                                                          th
  (SS=120; 91 st percentile) and Theme Development and Text Organization (SS-119; 90
  percentile) within her essay were within the high average range. Although not included in the
  composite score, her grammar and mechanics score falls within the superior range, as well
  (SS=122; 93 rd percentile). Her lower scores on spelling and sentence composition were likely due
  to the fact that those tasks require specific responses, where there is no room for creativity and
  self-expression, as on the essay task, and therefore, she may have been anxious to perform with
  specific restrictions in place. Overall, Ms. Muthoka displays effective written communication and
  is able to elaborate well.

  Ms. Muthoka's low average Oral Language abilities were also evaluated (Composite Score=89;
  23 rd percentile) based on the Listening Comprehension and Oral Expression subtests. The
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  Listening Comprehension (Standard Score=95; 39 th percentile) score is based on two subtest
  components: Receptive Vocabulary (SS=92; 30th percentile) measured listening vocabulary by
  asking Ms. Muthoka to point to the picture that best illustrates the meaning of the word she
  heard; while during the Oral Discourse Comprehension (SS=101; 53 rd percentile) subtest, Ms.
  Muthoka was asked to listen to short vignettes and answer questions to gauge her level of
  understanding. While both of these results fell within the average range, her lower score on
  Receptive Vocabulary versus Oral Discourse Comprehension indicates that Ms. Muthoka
  performs better on auditory tasks involving more context, such as in story form. Ms. Muthoka's
  low average Oral Expression (Standard Score=85; 15th percentile) score contains three subtest
  components: Expressive Vocabulary, Oral Word Fluency, and Sentence Repetition. Expressive
  Vocabulary required Ms. Muthoka to provide the word that best corresponded to a given picture
  and definition, measuring speaking vocabulary and word retrieval ability (SS=93; 32 nd percentile);
  while the Oral Word Fluency task prompted her to name as many things as possible in a given
  category (SS= 77; 5th percentile). On the other hand, the Sentence Repetition task asked her to
  repeat a sentence verbatim (SS=93; 32 nd percentile), which relies heavily on Ms. Muthoka's
  auditory processing and working memory. These results indicate that Ms. Muthoka's word
  retrieval ability, working memory, and auditory processing skills are within the average range, yet
  when under the pressure of time, as on the Oral Word Fluency task, these abilities are
  significantly impacted and result in borderline performance. Specifically, Ms. Muthoka's oral
  fluency abilities are a significant weakness for her, especially when compared to her relatively
  strong verbal comprehension abilities. This discrepancy further supports a deficit in processing
  information and explains why Ms. Muthoka experiences challenges when taking exams,
  especially when under the pressure of time.

  In summary, the WIAT-111 results suggest a significant strength in the area of Written Expression,
  especially when creativity is allowed; and relative weaknesses in the areas of Reading
  Comprehension and Fluency and Oral Fluency. In general, Ms. Muthoka performs better when
  visual information is presented with less context, and when auditory information is presented
  with more context. Similar to Ms. Muthoka's lower scores within the processing speed section of
  the WAIS-IV, she demonstrated the most difficulty on the WIAT-111 in areas of fluency in which
  she was asked to respond quickly and complete tasks within specified time limits and with
  specific restrictions. Further, Ms. Muthoka's overall achievement results are higher than
  expected given her FSIQ of 90, indicating that her deliberate, slow approach along with academic
  accommodations and support serve as significant benefits in improving her academic
  performance.
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  Attention

  Ms. Muthoka was administered the Test of Variables of Attention (TOVA), a continuous
  performance test which measures attention during a 21.6-minute task. The TOVA-Visual (TOVA-
  V) records the speed, accuracy and consistency of responses to a series of squares presented in
  two-second intervals, while the TOVA-Auditory (TOVA-A) records the speed, accuracy and
  consistency of responses to a series of tones presented in two second intervals. Ms. Muthoka
  was administered both versions of the test. Ms. Muthoka's results of the two administrations of
  the TOVA-V and the TOVA-A were considered valid and interpretable.

  On the Visual Administration of the TOVA, Variability is defined as the precise measure of
  variations in correct response times and measures the consistency of response times. Results for
  Variability were within normal limits suggesting Ms. Muthoka responded consistently to the
  targets. Response Time is the average speed of correct responses to targets and is a measure of
  information processing speed. Response Time was borderline in Half 1, and not within normal
  limits in Quarter 1, suggesting that Ms. Muthoka required time to adjust to the testing
  conditions. Commission Errors occur when the subject incorrectly responds to a nontarget and
  are a measure of inhibitory control. Commission Errors were not within normal limits in Quarter
  3 suggesting that Ms. Muthoka may have become more impulsive in responding as the task
  continued. Omission Errors occur when the subject does not respond to a target and are a
  measure of sustained attention. Omission errors for Ms. Muthoka were within normal limits
  suggesting she remained focused and vigilant throughout the assessment, despite needing time
  to adjust to the task and some impulsivity as it continued. Post-Commission Response time is the
  mean response time of correct responses immediately following a Commission Error. Usually the
  subject will slow down after an error is made. Quarter 1 and 3 were not within normal limits,
  which may represent difficulties adapting to novel conditions and anxiety. In Quarter 3, the
  standard score for inhibitory control (commission errors) was low and the standard score for
  response time was high. Despite being instructed to balance speed and accuracy, Ms. Muthoka
  seemed to have adopted a fast response strategy that emphasized responding as quickly as
  possible, resulting in high commission errors.

  During the Auditory Administration of the TOVA, Ms. Muthoka's performance in Variability,
  Response Time, Commission Errors and Omission Errors were within normal limits. The overall
  test performance for the Auditory administration provides that Ms. Muthoka is able to
  adequately sustain attention, show inhibitory control, and sufficiently process information when
  presented with auditory stimuli. However, when it comes to visual stimuli Ms. Muthoka's scores
  indicate some anxiety, manifesting as the need to adjust to such testing conditions, as well as
  some impulsivity as such tasks continue.
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  Personality and Interpersonal Functioning

  The House-Tree-Person (HTP) assessment is a projective personality test that measures aspects
  of a person's personality through interpretation of drawings and responses to questions. In
  administering the HTP, the test taker is asked to draw a house, tree, and person, and an
  additional person of the opposite sex, and these drawings provide a measure of self-perceptions
  and attitudes. The HTP also provides information about how an individual experiences the self in
  relation to others and to the home environment. The first drawn female is proportionately
  scaled, taking up most of the paper. The arms for the female are relatively large and open, which
  is suggestive that she is willing to engage, however, the pointed fingers are suggestive of anxiety.
  The legs and feet are representative of grounding and power, and her drawing displays feet like
  the hands, which add to the possibility of performance anxiety and/or aggressiveness when
  faced with tasks that may be difficult. The small neck suggests a lack of separation between
  cognition and her drives and needs, indicating some impulsivity, as was also evidenced on the
  TOVA. The face does not contain many details, however, features such as the slashed mouth is
  suggestive of verbal aggression.

  The second drawing was of a male and exhibited similar features like the female. The open arms
  are suggestive that Ms. Muthoka is open and willing to engage with others. The gripped fingers
  are suggestive that Ms. Muthoka may be experiencing projected feelings of aggression. The
  lower half of the body was drawn proportionally, with feet facing the same direction, which is
  indicative that Ms. Muthoka may strive to move forward. The lack of neck indicates that there is
  a need for separation of cognition from her drives ef and needs. The male figure features a
  slanted smile, like the female, suggesting verbal aggression may be present. Overall, the male
  figure further indicates that Ms. Muthoka may be feeling anxious about her skills, especially
  when she feels it is something she is not good at, resulting in poorer performance. These findings
  correlate with the previous assessment results indicating anxiety, especially when required to
  perform under pressure.

  The house is drawn to proportion on the page but does not feature much detail and was
  described as "basic" and the house she lived in when she lived in Kenya. The house has two
  windows, which is suggestive of limited openness and willingness to interact with others. The
  roof symbolizes fantasy life and has medium balded strokes which can also be associated with
  anxiety. The tree drawing takes up most of the page, and the large trunk suggests a strong sense
  of self, however, the lines are faint indicating a relatively unstable personality. The limbs that are
  reaching out from the tree are suggestive that there are efforts to reach out to things beyond
  her control. However, the branches are large, which is suggestive of overextending oneself, and
  the club shaped branch is indicative of the resulting frustration. The inclusion of lines as leaves
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  are seen as signs that efforts to reach out are successful, and produces growth and hope. The
  roots are what ground the tree and people, and are typically related to reality testing and
  orientation. The roots are neither pointy nor overemphasized, which indicates that she is
  connected with reality, but it is not as strong of a connection, relative to her large sense of self.

  Overall, results from the HTP, and previous assessments, suggest that Ms. Muthoka has a strong
  sense of herself and ego, however, when she is faced with tasks that she is not confident in, she
  may present with higher levels of anxiety, which affect her ability to complete such tasks,
  especially when required to perform under pressure.

  The Millon Clinical Multiaxial Inventory- Fourth Edition {MCMI-IV) is a self-report psychological
  assessment measure intended to provide information on personality traits and psychopathology,
  including specific psychiatric disorders outlined in the DSM-5. Ms. Muthoka reports that she has
  recently experienced a problem that involves her school. Ms. Muthoka's responses suggest a
  need for social approval or naivete about psychological matters. Her MCMI-IV results should be
  considered with these characteristics in mind.
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  In general, Ms. Muthoka is energetic, optimistic, and quite capable of developing synergetic
  relationships. On occasion, however, she may become frustrated by circumstances outside of
  her control and may react to what appears to her to be unusual, adversarial situations. She may
  attempt to downplay any distressing emotions and will deny troublesome relationships with
  others, especially in her family or personal life. Ms. Muthoka does show evidence of significant
  personality dysfunctions. Individuals attaining these scores tend to create difficult interpersonal
  relationships and unrealistic expectations for themselves.

  The MCMI-IV profile of Ms. Muthoka reflects a passion for unusually challenging endeavors and
  goal-directed behaviors which most others tend to find intolerable. She is frequently able to coax
  others into doing things they would not otherwise do and, often, she is successful in exciting
  their own wish fulfillment in the process. Any uncertainty Ms. Muthoka may possess, whether by
  social doubt, feelings of inefficacy, or reality testing against insurmountable challenges, is
  generally relegated to suppressed unawareness. Relationships tend to mirror an illusion of high-
  spirited optimism and vibrant energy, but with some tenuousness that she does not easily
  acknowledge. While she is adept at winning over the favor of others, relatively few of her
  relationships are long-lasting. Those who have endured longer, and perhaps more involved
  interactions with her, may become drained by her seemingly unending enthusiasm. As others
  show waning interest, she may become even more absorbed by and concerned with their
  continued support and commitment. If rejection becomes imminent, her energy level may waver
  from excited exuberance to edgy irritability, and her buried self-doubt and uncertainty may
  surface. In the wake of rejection, she may withdraw from the situation entirely and reframe the
  encounter to invoke positive attention to herself, declare her steadfastness to goals or
  principles, and/or proclaim her innocence.


  Ms. Muthoka may be unwilling to self-examine her role in difficult situations of prolonged
  distress and she may react externally by behaving erratically. Driven to deny life's more tedious
  realities, including realistic limit setting and accountability for less-than-perfect outcomes, she
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  may seek out novel experiences and continue grasping for opportunities, possibly to the point of
  exhaustion. Fatigue in cases such as this may precipitate syndrome-based depression.

  Most notable is Ms. Muthoka's highly structured and strictly organized life. Tending to be
  austere and serious-minded, her posture and movement demonstrate an underlying tightness
  and a drive to keep her emotions in check. She may have a tendency to speak very precisely and
  dress in a very formal and proper way. Her perfectionism is frequently an issue as it limits the
  alternatives she considers in her everyday actions and as it interferes with her ability to complete
  ordinary tasks, and is likely a factor related to the anxiety she experiences under the pressure of
  timed exams and specific restrictions. Also salient is her tendency to see herself as an inspiring
  dynamic force. Reflecting on her personal qualities, she perceives herself as an ambitious,
  tireless, and enterprising individual whose ever-present energy activates and galvanizes others.
  Moreover, she has illusions of invincibility, believing she can undertake and accomplish more
  than is possibly realistic. Also worthy of attention is her tendency to view herself as efficient,
  disciplined, meticulous, and industrious. She sees herself as devoted to work and to meeting
  responsibilities. She tends to minimize the importance of recreational and leisure activities in
  favor of those that signify productive efforts. Fearful of being viewed as irresponsible or slack in
  her efforts, as one who fails to meet the expectations of others, or as someone who is error­
  prone, she may overvalue those aspects of her self-image that signify perfectionism, which
  again, is a likely contributor to the anxiety she experiences around academics, especially exams.
  Early treatment efforts are likely to produce optimal results if they are oriented toward
  modifying these personality features.

  DSM-5 DIAGNOSTIC IMPRESSIONS
  Based on the current assessment results, Ms. Muthoka displays significantly slower than
  expected processing abilities when compared to her relative strength in verbal abilities.
  This challenge impacts her ability to perform adequately and also produces anxious symptoms
  which preclude her from being able to maintain concentration on examinations. While the fact
  that English not being Ms. Muthoka's first language might be a consideration, her WIAT-111 results
  indicate that she has mastered the English language adequately enough to suggest that
  symptoms of anxiety and a perfectionistic approach are the more likely deterrents in her overall
  academic performance. Further, Ms. Muthoka displayed significantly weaker performance on
  tasks which did not require verbal skills, indicating a true visual processing disorder. All of the
  above significantly impacts Ms. Muthoka's academic and emotional functioning, warranting a
  diagnosis of Other Specified Neurodevelopmental Disorder related to Visual Processing.
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  Not only does this disability impact her performance, but Ms. Muthoka's excessive anxiety and
  worry about her slower processing speed, which she is unable to control, causes her to be
  unable to focus, have difficulty concentrating, difficulty comprehending, and makes her irritable
  and upset at times. Further, her HTP and behavioral observations for the WIAT-III and WAIS-IV,
  revealed her anxious tendencies when asked to perform tasks out of her comfort zone,
  especially when timed. Ms. Muthoka described previous bouts of increased anxiety, lack of
  sleep, and nausea the night before and during testing. Ms. Muthoka's MCMI-IV results indicate
  that her personality style is expressively disciplined, which can lead to anxiety when she does not
  meet her expected performance thresholds. Furthermore, the results from the assessment do
  not contribute to a diagnosis of Attention Deficit Hyperactivity Disorder, despite her visual
  performance not being within normal limits, due to requiring time to settle in to the testing
  conditions and impulsivity as the test continued, which all is better accounted for by anxiety and
  her visual processing challenges. She demonstrates severe anxiety including physical symptoms,
  fear of not finishing, and a diminished ability to think and concentrate when timed or under
  specific restrictions.

  A diagnosis of Other Specified Anxiety Disorder requires that the individual experience excessive
  worry that is difficult to control and occurs surrounding a specified anxiety provoking
  circumstance, such as a testing environment. The anxiety may be associated with a feeling of
  restlessness or feeling on edge, being easily fatigued, difficulty concentrating, irritability, muscle
  tension, and/or sleep disturbance. The anxiety, worry, or physical symptoms must cause clinically
  significant distress or impairment surrounding the anxiety producing event. Ms. Muthoka
  reported that she repeatedly experiences symptoms of anxiety whenever she is in a testing
  situation, which is frequent considering that she is a medical student challenged by slower
  processing speed abilities. Therefore, Ms. Muthoka meets criteria for a diagnosis of Other
  Specified Anxiety Disorder.

  F88 Other Specified Neurodevelopmental Disorder related to Visual Processing
  F41.8 Other Specified Anxiety Disorder (Test Anxiety)
  DISCUSSION
  Ms. Muthoka is a 31-year-old Kenyan woman, who is currently a third-year medical student at
  UCI. Ms. Muthoka grew up in Kenya with her two parents and siblings, in a loving environment.
  Ms. Muthoka participated in an assessment at the Irvine Counseling Center to determine the
  factors behind her challenges with timed exams. Ms. Muthoka reported struggling with finishing
  tests in the allotted time, and experiencing strong feelings of anxiety, nausea, and sleep
  problems before exams, and self-criticism after, due to not being able to finish her exams on
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  time, or to the perceived standards she set for herself. Ms. Muthoka stated that she had never
  participated in any psychological testing before this assessment, however, she was reportedly
  diagnosed by a psychiatrist at UCI with test anxiety.

  Ms. Muthoka previously attended Hope International University initially, and then attended
  California State University Fullerton, concurrently, receiving her undergraduate degree in 2013.
  Ms. Muthoka stated that she had received extra time on exams at Hope International University,
  as it was a private university that did not require documentation for her to have extended time.
  Before moving to the United States to pursue her college and medical degrees, Ms. Muthoka
  attend school in Kenya, where she stated she was always a good student who received A's. It
  wasn't until attending Hope University that Ms. Muthoka noticed she was unable to finish exams
  in the allotted time given and did not require accommodations until her college career. At this
  time, this struggle could possibly be attributed to language or acculturation factors, which likely
  caused much stress, but now as the challenge has continued over time, despite sufficient
  language skills and adjustment to US Universities, it appears to be a persistent processing
  disorder, resulting in symptoms of anxiety.

  Ms. Muthoka participated well during the assessment. She was oriented, her speech was
  appropriate, and her judgement seemed intact. Ms. Muthoka denied being under the influence
  of any substances during the assessment process and denied suicidal and homicidal ideation. Ms.
  Muthoka was not taking any prescribed medications at the time of the evaluation. Ms. Muthoka
  was friendly, open, and cooperative during the assessment process. Overall, Ms. Muthoka
  worked well, required few breaks, and seemed motivated to complete the assessment, though
  she did report and display symptoms of anxiety throughout the testing process.

  Based on the analysis of scores, Ms. Muthoka's cognitive and academic functioning falls within
  the average range. Cognitively, Ms. Muthoka's scaled scores range from low average to average,
  with weaknesses in completing tasks that are timed, blocking out possible distractions while
  attempting to focus, and on tasks involving visual perception, visual organization, and nonverbal
  concept formation. However, Ms. Muthoka's relative cognitive strengths lie in verbal
  comprehension and working memory. Ms. Muthoka particularly excels at general knowledge
  tasks, especially when there is context included. She displays a significant strength in verbal
  abilities and significant weaknesses in nonverbal abilities and processing speed skills, resulting in
  a diagnosis of Other Specified Neurodevelopmental Disorder related to Visual Processing.
  Academically, Ms. Muthoka exhibits a significant strength in the area of written expression, in
  which she is able to incorporate creativity into tasks. On the other hand, Ms. Muthoka
  experiences relative weaknesses in reading comprehension and fluency, and particularly oral
  fluency, displaying difficulty responding quickly, and further difficulty accurately comprehending
  and completing tasks within specified time limits and with specific restrictions, which is further
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  evidence of her processing challenges. In general, Ms. Muthoka performs better when visual
  information is presented with less context, and when auditory information is presented with
  more context. Further, Ms. Muthoka's overall achievement results are higher than expected
  given her FSIQ of 90, indicating that her deliberate, slow approach along with her history of
  academic accommodations and support serve as significant benefits in improving her academic
  performance. In summary, Ms. Muthoka's cognitive and achievement results indicate significant
  challenges processing visual information, especially when under the pressure of time, which
  negatively impacts her academic performance and causes symptoms of anxiety when required to
  complete such tasks.
  Ms. Muthoka does not seem to present with any significant attention issues related to ADHD.
  Results provide that Ms. Muthoka is able to adequately sustain attention when presented with
  auditory stimuli, however, when presented with visual stimuli, there is evidence of visual
  processing difficulty, as well as anxiety in the form of impulsivity in responding and the need to
  acclimate to testing conditions. Ms. Muthoka's anxiety was evident in her approach and
  responses on several measures, despite not wanting to present as struggling, resulting in a
  defensive stance, at times, with low self-esteem, feelings of inadequacy, sensitivity to social
  opinion, and poor coping mechanisms.
  Ms. Muthoka continually presents with these anxious patterns, including a tendency to demean
  her skills and be overly harsh on herself when she is unable to perform. Ms. Muthoka could
  benefit from therapeutic intervention to feel more sound in her abilities without being overly
  critical on herself, in an effort to combat her perfectionistic tendencies and better cope with
  stressors. Specifically, due to her significant processing speed challenges, Ms. Muthoka is
  suffering from a great deal of anxiety surrounding test taking, which negatively impacts her
  capability of performing to the best of her abilities. Therefore, Ms. Muthoka's test results and
  symptoms are indicative of Other Specified Neurodevelopmental Disorder related to Visual
  Processing and Other Specified Anxiety Disorder (Test Anxiety). Suggestions are provided below
  to help Ms. Muthoka improve her overall functioning and to assist her in reaching her full
  potential academically and emotionally.
   RECOMMENDATIONS
      1. Testing Accommodations: Ms. Muthoka has strived to obtain accommodations that have
         allowed her to excel in her education. Results of the current psychodiagnostic
         assessment indicate that continued accommodations are warranted. It is recommended
         that Ms. Muthoka register with the USM LE disabilities services and request
         accommodations including, but not limited to:
             a. Additional Testing Time. Allow Ms. Muthoka 100% additional test time (double
                time) for all portions of the USMLE in an effort to reduce her anxiety and allow
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                    her to perform to the best of her abilities considering her significant processing
                    disorder.
               b. Separate Testing Room. Allow Ms. Muthoka the use of a separate, private testing
                    room during all eligible portions of the USM LE.
               c.   Additional Break Time. Allow Ms. Muthoka maximum additional break time for all
                    portions of the USM LE.


     2. Residency Accommodations. As Ms. Muthoka continues her stride towards becoming a
         Medical Doctor, it is recommended that she connect with the Association of American
         Medical Colleges to understand how the review process works regarding receiving
         residency accommodations and submit these results to AAMC to request the following
         accommodations wherever applicable:
               a. Extra Time
               b. Additional Breaks
               c. Pairing visual and/or contextual cues with information presented
               d. Tutoring, as provided
               e. Any additional, relevant accommodations

     3. Improve General Study Habits.
               a. Improve Leaming Skills. Create context around random information to improve
                    retention and learning (i.e., create a story out of random facts).
               b. Improve Processing Speed. Practice timed tasks to improve performance and
                    reduce anxiety. Such tasks can be accessed through various cell
                    phone/tablet/online applications.


     4. Individual Psychotherapy. Ms. Muthoka would benefit from therapeutic services with
         focus on emotional awareness, emotional regulation, insight into personal views
         regarding self-esteem and perfectionism, and coping skills for stressful situations.
         Continued monitoring of her anxious symptoms is also recommended.
               a. Pepperdine: 949-224-2570
               b. Chapman University: 714-997-6746
               c. Newport Community Counseling Center: 949-721-8079

     S. Support Group/Community. Ms. Muthoka seems to have a good sense of her strengths
         and weaknesses. She would benefit from participating in a support group/supportive
         organization to continue to be aware of strengths and limitations in specific situations
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          while monitoring her emotional reactions to events and experiences, such as self-
          criticism.
               a. Orange County Support Groups via 211.org


  It has been a pleasure working with you. We look forward to being of any further assistance. If
  there are any questions about this evaluation or report, please contact us directly.

  Cordially,



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   KourteyMitchell
   PsyD Pr"letfcu · Trainee
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   Ryan Mosi r
   P    Practicum Trainee.




   Ju e Wilnier, PhD
     i~ical Supervisor
   License #: PSY 20932
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                                EXHIBIT E
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                                    COUNSELING
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               The Chicago School of Professional Psychology's Irvine Counseling Center
                                     4199 Campus Drive, Irvine CA
                                            (949) 769-7747
                                              Confidential

                                    Psychological Evaluation Report

  Name: Jackline Muthoka                                Gender: Female

  Date of Birth: 9/6/1987                               Marital Status: Single

  Chronological Age: 31years                            Occupation:Student

  Examiners:      Kourtney Mitchell (PsyD Practicum Trainee)

                  Ryan Mosier (PsyD Practicum Trainee)

  Clinical Supervisor: Julie Wilnier, PhD; Lie# PSY 20932

  Dates of Evaluation: February 4, 11, 25, & March 4, 2019




  Dear Ms. Muthoka,

  You were recently evaluated in our office, and requested a psychological evaluation in order to
  be provided recommendations for improving your test taking skills and overall functioning,
  indicating that you have difficulty comprehending some information and completing tasks that
  are timed. Following are the results of your evaluation.

  CONFIDENTIALITY/LIMITS OF INFORMED CONSENT

  Prior to beginning the assessment, the TCSPPICC evaluation packet was reviewed w ith Ms.
  Muthoka. The packet provides information including notification of limits of confidentiality,
  mandated reporting requirements, a description of the evaluation process and testing,
  authorization to release confidential information forms, and a Notice of Privacy Practices
  concerning protected health information, pursuant to the Welfa re and Institutions Code Section
  5238. Ms. Muthoka was given the opportunity to ask questions about the procedures and packet
  information. She read the packet and signed her agreement to proceed with the evaluation.
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  IMPORTANT: The following report may contain sensitive information subject to misinterpretation
  by those untrained interpreting psychological assessment data. Disclosure of any material herein
  without the permission of the court, the legal guardian, or the holder of the privilege is prohibited
  unless in accordance with the Welfare and Institutions Code Section 5238.

  IDENTIFYING INFORMATION AND REASON FOR REFERRAL

  Ms. Muthoka is a 31-year-old, single female who was born and raised in Kenya. She identifies her
  ethnicity as African, Kenyan. Ms. Muthoka grew up with both of her parents and her two siblings
  in Kenya until 2008, when she came to California on an academic scholarship and attended Hope
  International University, California State University Fullerton, and most recently, University of
  California, Irvine (UCI). Ms. Muthoka is currently living in Irvine, CA with a roommate in Graduate
  Student Housing.

  Ms. Muthoka reports experiencing anxiety, attention, reading, and comprehension issues. She
  reports that it is hard for her to read and process passages, wh ich leads to issues with her
  performance on examinations. She reports that often it takes her a very long time to read and
  then process what she has just read, and she finds it is harder to process words than numbers.
  She feels that this challenge with processing information causes her to become overly worried
  about completing tasks. As a result, Ms. Muthoka reports that she is usually the last st udent in
  class to finish exams, and that she feels very anxious with each exam, worried about whether she
  will be able to complete it in the time allotted. In fact, prior to taking exams, Ms. Muthoka
  provided that she sometimes will feel nauseous the night before. After exams, Ms. M uthoka
  reports that she can be hard on herself for not finishing or knowing the answer to an easy
  question, resulting in self-criticism. Ms. Muthoka requested a psychodiagnostic evaluation to
  assess her current cognitive and emotional functioning, determine the reason for her current
  struggles, and to seek appropriate recommendations for further treatment and assistance,
  especially as she prepares to take the Medical Licensure Examinations (USM LE}.

  RELEVANT HISTORY

  The following information was solely obtained from Ms. Muthoka.

  Family History

  Ms. Muthoka was born and raised in Kenya, living with her mother, father, brother and sister,
  and reports having had a happy, loving, and supportive childhood. Currently, her brother and
  sister still live in Kenya and both parents are deceased. She reports that her mother died from
  Malaria in 1998, and her fath er from a heart attack in 2003. Ms. Muthoka reports that she has
  always had a very good relationship with her family members, and still rema ins in cont act with
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  her siblings. Additionally, she provided that she is also helping to pay for her cousin to attend
  school in Kenya.

  Developmental and Medical History

  Ms. Muthoka reports not knowing if there were any complications in regard to her
  developmental history, therefore, she assumes her developmental milestones were met within
  normal limits. Ms. Muthoka reports that she thought she had trouble with her hearing as an
  adult, however, results from a hearing test provided there are no hearing issues. She reports no
  serious medical problems, but is concerned with anxiety which causes her to feel ill when taking
  timed tests, which then negatively affects her performance. Ms. Muthoka denies any use of
  alcohol or substances. She also reports minimal caffeine intake and no current use of any
  prescribed medications.

  Academic History

  Ms. Muthoka attended school in Kenya until 2005, when she graduated from high school with an
  A average throughout her childhood and adolescent academic career. She then moved to the
  United States in 2008, where she received her undergraduate degree after six years. She initially
  attended Hope International University for two years, and then concurrently attended California
  State University Fullerton on an academic scholarship for the latter four yea rs. She is currently
  attending UCI as a third year medical student. Additionally, Ms. Muthoka reported that she can
  speak seven different languages, however, she feels she is fluent in only four of them, incl uding
  the English language.

  Ms. Muthoka reported that she began receiving academic accommodations at Hope
  International University, where she was allowed unlimited time for exams. During her UCI
  medical school program, Ms. Muthoka was advised to see a psychiatrist at UCI, where she was
  never formally assessed, yet reportedly was given a diagnosis of Test Anxiety, and as a result, she
  received academic accommodations, including extra time for exams and taking exams in a
  separate room.

  Occupational History

  Ms. Muthoka reports that she currently works full-time providing in-home care, and before
  medical school she spent time volunteering at Hoag Hospital in Newport Beach, CA. From 2008-
  2013, Ms. Muthoka worked for 6 years as a library assistant at Hope International University.
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   Psychiatric History

  Ms. Muthoka reported that she has never been previously diagnosed with any mental health
  disorders until her diagnosis of Test Anxiety from the UCI psychiatrist. The only mental health
  treatment she reported was seeing a doctor in Kenya, to help with the bereavement of her
  parents. Ms. Muthoka currently denies suicidal and homicidal ideation.

  Legal History:

  Ms. Muthoka reports no legal history.

  ASSESSMENT PROCEDURES

  Clinical Interview
  Mental Status Evaluation (MSE)
  Million Clinical Multiaxial Inventory - Fourth Edition {MCMI-IV)
  Projective Drawings (House-Tree-Person)
  Test of Variable of Attention (T.O.V.A): Visual and Auditory
  Wechsler Adult Intelligence Scale - Fourth Edition (WAIS-IV)
  Wechsler Individual Achievement Test - Third Edition {WIAT-III)

  BEHAVIORAL OBSERVATIONS AND MENTAL STATUS EXAMINATION

  Ms. Muthoka is a 31-year-old Kenyan, single, female. She relocated to the United States from
  Kenya to attend university in 2008. She is currently attending medical school at UCI and is
  working full-time, providing in-home care. Ms. Muthoka arrived to all of her assessment sessions
  on time. She was oriented to time, place, person, and situation, and was appropriately groomed
  and dressed for her age and the circumstances. At the first session, Ms. Mut hoka was eager to
  participate in the assessment, but also exhibited signs of distress by shaking her head during
  problems and questioning her abilities after comprehension subtests. Further, Ms. Muthoka
  described bouts of increased anxiety, lack of sleep, and nausea the night before and during
  testing. Although overall, her affect was appropriate, and she displayed direct eye contact with
  both administrators. There were no thought process, content, or perceptual disturbances
  present, however, she did infrequently request clarification on the meaning of some words. She
  was cooperative throughout the testing session but expressed concern multiple times about
  completion time of the entire assessment process and when the report wou ld be finish ed,
  however, her attitude remained understanding with each repeated explanation. She denied
  having any suicidal or homicidal ideation. Her insight appeared adequate in that she seemed able
  to understand that her anxious and physically upsetting feelings may be causing her to be unable
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  to complete tasks at an adequate pace. Her judgement seems to be intact, and she was
  motivated and attentive throughout the entire assessment process.


  Ms. Muthoka demonstrated consistent motivation, concentration, and attention throughout t he
  2-hour administration of the WAIS-IV. Administration of the WIAT-111 occurred over a two-hour
  session, followed by an hour session the following week. On the Listening Comprehens ion,
  Reading Comprehension and Math sections, Ms. Muthoka reported many times that these
  sections were not enjoyable and asked administrators to provide the answers after she
  responded, meanwhile being informed that this was not allowed. Ms. Muthoka frequently
  wanted to use her phone to "check her work," which also was not permitted, though she
  reported that after the completed sessions, should would look up the math formulas that she
  could not remember how to solve. Ms. Muthoka took advantage of the opport unity to look back
  at the passage when answering the Reading Comprehension subtest questions. On the essay
  portion of the WIAT-111, Ms. Muthoka did not make an outline for herself, and did not need much
  time to think of her favorite game, however, Ms. Muthoka did take the entire 10 minutes to
  complete the essay.


  Ms. Muthoka completed the MCMl-lV in a timely manner and did not require any assistance
  from administrators. During the House-Tree-Person projective assessment, Ms. Muthoka
  completed all four drawings relatively quickly, while staying focused on the task at hand. She was
  also administered both the Visual and Auditory versions of the TOVA test. Ms. Muthoka required
  the instructions to be repeated and her concentration and patience appeared to become
  strained after 10 minutes of the test, as she began sighing consistently, moving around in her
  seat, and would blink and move toward the screen. Additionally, she made a comment on how
  happy she was once the test was "over with." She also reported that she forgot her reading
  glasses before the Visual test, however, it was confirmed that she only uses the glasses to read,
  so it is likely that this did not negatively impact her performance on the test which is
  administered in large display, on an oversized monitor. Additionally, the volume was turned all
  the way up for the Auditory test, as she stated that she did not have great hearing. She reported
 that the test was "confusing" and constantly mentioned that she knew she had made mista kes
 during the TOVA test.
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  TEST RESULTS


  Cognitive Functioning
                                 Wechsler Adult Intelligence Scale -Fourth Edition
                                                                   95%                      Is lnde></ Cluster
                        Scaled        Composite    Percentile                Qualitative
         Scale                                                  Confidence                         /IQ
                        Scores          Score        Rank                    Description     Interpretable ?
                                                                 Interval

         Verbal                                                                Average            Yes
                                         100          50         94-106
    Comprehension

      Similarities        10
      Vocabulary          11
      Informatio n           9
       Perceptual
       Reasoning
      Block Design           7
         M at rix
                             10
       Reasoning
     Visual Puzzles          8
        Working
        Memory
       Digit Span            8

       Arithmetic            10
       Processing
         Speed
     Symbo l Search          6

         Coding              7
        Full Scale                      FSIQ 90        25          86-94        Average            Yes
   Composite score: Mean = 100, SD =15


   M s. Mut hoka's cognit ive f unctioning was evaluated wit h the Wechsler Adult Intelligence Scale-
   Fourth Edition (WAIS-IV). The WAIS-IV is an IQ t est designed t o measure intelligence and
   cognit ive ability via 10 core subtest s. The Full-Sca le IQ (FSIQ} co mposite score is derived from al l
   10 su btest scores and is considered the most representa tive estimate of overall intellectua l
   fu nctioning. M s. Mut ho ka's general cognitive ability is w it hin t he average range of intellectual
   function ing, as measured by the FSIQ of t he WAIS-IV. Her overa ll thinking and reasoning abilit ies
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  exceed those of approximately 25% of individuals her age (FSIQ= 90; 95% Confidence Interval=
  86-94).

  Ms. Muthoka's verbal reasoning abilities as measured by the Verbal Comprehension Index (VCI)
  are in the average range and above those of approximately 50% of her peers (VCI= 100; 95%
  Confidence Interval= 94-106). The VCI is designed to measure verbal reasoning and concept
  formation, administered in the form of oral questions. Ms. Muthoka scored in the average range
  on each subtest. The VCI subtests, Similarities and Vocabulary, evaluate verbal concept
  formation, crystallized intelligence, and auditory comprehension. The Similarities subtest asked
  Ms. Muthoka to describe how two words were similar, measuring abstract reasoning, and
  associative and categorical thinking (Scaled Score= 10). On the Vocabulary task, Ms. Muthoka
  defined items presented visually and verbally, measuring learning ability, degree of language
  development, fund of knowledge, and verbal expression (Scaled Score= 11). The Information
  subtest requires verbal responses to oral prompts by assessing a broad range of general
  knowledge topics (Scaled Score= 9). These results suggest that Ms. Muthoka displays average
  abilities in terms of categorical thinking and vocabulary, while also displaying an average range of
  general knowledge. Overall, verbal comprehension is a significant strength for Ms. Muthoka,
  when compared to other indices, indicating that her VCI of 100 is a truer representation of her
  cognitive abilities.

  The Perceptual Reasoning Index (PRI), a measure of fluid reasoning in the perceptual domain,
  represents Ms. Muthoka's abilities related to nonverbal concept formation, visual perception
  and organization, visual-motor coordination, learning, and the ability to separate f igure and
  ground in visual stimuli. Ms. Muthoka's fluid reasoning abilities as measured by t he PRI are in the
  average range and above those of approximately 25% of her peers (PRI= 90; 95% Confidence
  Interval = 84-97). Ms. Muthoka1 s perceptual reasoning was assessed by tasks that required her
  to create designs using blocks (Block Design Scaled Score= 7), determine the missing portion
  from an incomplete matrix (Matrix Reasoning Scaled Score= 10), and the ability to analyze and
  synthesize abstract visual material in the form of puzzles (Visual Puzzles Scaled Score= 8). These
  results indicate that she struggles at tasks that involve piecing visual information together,
  particularly in a part to whole fashion, as on the Block Design task, but has an average ca pability
  to understand complex visual patterns. These results suggest that Ms. Muthoka's nonverbal,
  perceptual reasoning skills, while still within the average range, are significantly weaker
  compared to her verbal abilities.

  The Working Memory Index (WMI), represents Ms. Muthoka's ability to sustain attention,
  concentrate, and exert mental control. Ms. Muthoka's working memory was assessed by
  examining capacities involved in initial registration and holding of information (short-term
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  memory} and the mental manipulation of information that is being held in the mind (working
  memory}. Ms. Muthoka's working memory abilities, as measured by the WMI are found to be
  within the average range and above those of approximately 37% of her peers (WMI= 95; 95%
  Confidence Interval= 89-102). The Digit Span task required her to remember, organize, and
  repeat back a series of numbers forward and backward (Scaled Score= 8), which she pe rformed
  within the average range. Ms. Muthoka's performance was also within the average range,
  though slightly better, on the Arithmetic subtest, in which she performed ment al manipulation of
  numbers with an added computational element (Scaled Score= 10). These results indicate that it
  is harder for her to retain and process random information without context (a series of random
  numbers), than when information is presented within a context, such as numbers within a word
  problem. However, overall, Ms. Muthoka displays adequate working memory abilities.

  The Processing Speed Index (PSI) represents Ms. Muthoka's ability to perform simple, clerical-
  type tasks quickly. Ms. Muthoka's processing speed skills as measured by the PSI are found to be
  in the low average range and above those of approximately 10% of her peers (PSI= 81; 95%
  Confidence Interval= 75-91}. The Coding task required her to quickly copy symbols that were
  paired with numbers according to a key (Scaled Score= 7). On the Symbol Search task, she was
  asked to identify the presence or absence of a target symbol in a row of symbols (Scaled Score=
  6). These below average scores indicate that the ability to process information quickly is a
  significant challenge for Ms. Muthoka, especially for visual information, which both of these
  tasks entail. This challenge was also evidenced by her performance on the PRI. As a result, she is
   more deliberate when attempting to process visual information, rather than hasty in her work.
  Overall, Ms. Muthoka's processing speed abilities are a significant weakness when compared to
   her verbal comprehension and working memory abilities. This significant challenge explains the
  struggle she experiences when attempting to complete exams.

  Overall, Ms. Muthoka's cognitive functioning is within the average range, with scaled scores
   ranging from low average to average. Generally, Ms. Muthoka displays a significant strength in
  verbal comprehension and adequate working memory abilities. Ms. Muthoka part icularly excels
  at general knowledge tasks, especially when there is context included. Relative to her verba l
  strengths, she experiences significant difficulty with nonverbal tasks and processing information
   adequately. More specifically, she struggles with completing tasks that are timed, blocking out
   possible distractions while attempting to focus, and on tasks involving visual perception, visual
   organization, and nonverbal concept formation. Due to the significant discrepancies among her
   cognitive indices, indicating significant challenges related to nonverbal and processing speed
  tasks, her VCI of 100 is likely a more accurate representation of her true cognitive abilities.
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  Achievement

  Ms. Muthoka's academic abilities were evaluated with the Wechsler Individual Achievement Test
  -Third Edition (WIAT-111). The WIAT-111 was administered for an in-depth assessment of Ms.
  Muthoka's academic achievement in nine areas: oral expression, listening comprehension, basic
  reading, reading comprehension, reading fluency, written expression, math problem solving,
  math calculation, and math fluency. The purpose of assessing academic performance levels is to
  determine if Ms. Muthoka has an educational need resulting from a disability, as well as to
  determine the presence or absence of a significant educational deficits requiring additional
  special education services or supplementary assistance.

  The WIAT-111 was administered with the following results (based on age norms):



                                              Standard Score/ Composite   Percentile Rank
  Total Reading                                          98                     45
     Basic Reading                                       110                    75
        Word Reading                                    107                     68
         Pseudoword Decoding                            112                     79
     Reading Comprehension and Fluency                   89                     23
        Reading Comprehension                            88                     21
        Oral Reading Fluency                             95                     37
  Mathematics                                            110                    75
     Numerical Operations                                117                    87
     Math Problem Solving                                101                    53
  Math Fluency                                           104                    61
     Math Fluency-Addition                               114                    82
     Math Fluency-Subtraction                             92                    30
     Math Fluency-Multiplication                         105                    63
  Written Expression                                     115                    84
     Spelling                                            108                    70
     Sentence Composition                                106                    66
        Sentence Combining                               102                    55
        Sentence Building                                109                    73
     Essay Composition                                   121                    92
        Word Count                                       120                    91
        Theme Development/Text Organization              119                    90
  Oral Language                                           89                    23
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      Listening Comprehension                          96                       39
           Receptive Vocabulary                        92                       30
           Oral Discourse Comprehension               101                       53
     Oral Expression                                   85                       16
           Expressive Vocabulary                       93                       32
           Oral Word Fluency                           77                       6
          Sentence Repetition                          93                       32

                                                 Standard Score           Percentile Rank
  Total Composite                                     103                       58
  Standard/Compos'ite score: Mean= 100, SD =15

  Overall, relative to individuals of comparable age, Ms. Muthoka is currently functioning within
  the average range of academic achievement (SS=103; 58 th percentile).

  The Total Reading Composite (Composite Score=98; 45th percentile) is a combination of Basic
  Reading (SS=110; 75th percentile), which includes Word Reading (reading a list of words), and
  Pseudoword Decoding (decoding nonsense words); and Reading Comprehension and Fluency
  (S5=89; 23 rd percentile), which includes Reading Comprehension (reading passages and
  answering questions; S5=88; 21st percentile) and Oral Reading Fluency (reading aloud passages
  and responding to comprehension questions; S5=95; 37th percentile). These tests measure basic
  reading skills and reading comprehension, and Ms. Muthoka's performance fell within the
  average range, overall, yet within the low average range on Reading Comprehension. Specifically,
  Ms. Muthoka's reading fluency was adequate and she took advantage of the opportunity to look
  back at the passage when answering the Reading Comprehension subtest questions,
  demonstrating motivation and resourcefulness, however, was semi-successful in producing
  correct answers, resulting in her low average score (SS:=:88; 21 st percentile). This result further
  supports the fact that Ms. Muthoka struggles to comprehend visual information and can benefit
  from having visual aids and extra time to assist her in comprehending and accurately responding
  to complex information. Additionally, Ms. Muthoka's performance on the Word Reading
  (SS=107; 68th percentile) and Pseudoword Decoding (S5=112; 79 th percentile) subtests were
  within the average range, with a slightly better performance phonetically decoding nonsense
  words versus familiar words indicating that, although English is not her first language, she
  appears to have adequate phonetic abilities.

  Ms. Muthoka's performance in the areas of math problem solving, math calculation and math
  fluency was evaluated. Her Mathematics composite score (Composite Score=110; 75 th
  percentile), which is a combination of the Math Problem Solving (everyday applications including
  time, money, and word problems, and geometry and algebra; SS::::101; 53 rd percentile) and
  Numerical Operations {solving math problems involving basic skills, basic operations with
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  integers, geometry, algebra and calculus; SS=117; 87 th percentile) subtests, is in the high average
  range. These tests measure the individual's ability to perform basic math calculations and to use
  math skills in applied problems in an untimed manner. More specifically, Ms. Muthoka
  performed within the average range on Math Problem Solving, which includes visual stimuli and
  abstract problem solving, whereas Numerical Operations includes just raw calculations, and her
  performance was considerably better. This further supports the fact that Ms. Muthoka performs
  better with rote information and learned concepts and struggles with visually presented
  information, especially when it is complex and involves abstract reasoning. The Math Fluency
  composite (Composite Score=104; 61st percentile} is a combination of Math-Addition
                                                                          nd
  (completing simple addition problems within one minute; S5=114; 82 percentile), Math
                                                                                           th
  Fluency-Subtraction (completing simple subtraction problems within one minute; S5=92; 30
  percentile) and Math Fluency-Multiplication (completing simple multiplication problems within
  one minute; S5=105; 63 rd percentile). Ms. Muthoka's overall Math Fluency composite score falls
  in the average range, with a display of stronger addition skills and weaker subtraction ski lls. The
  average results on these timed tasks, compared to her high average results on the untimed
  Numerical Operations subtest, indicates the negative impact the pressure of time has on Ms.
  Muthoka's performance. In general, she performs better when al lowed to work at her own
  pace.
                                                                                                    th
  The Written Expression cluster is a combination of Spelling (spelling a list of words; SS=108; 70
  percentile), Essay Composition (measuring productivity, theme development, and text
  organization; SS=121; 92nd percentile), and Sentence Composition, which includes Sentence
  Combining (combining ideas into a single sentence; SS=102; 55th percentile) and Sentence
                                                                                               rd
  Building (generating contextually appropriate sentences using target words; SS=109; 73
  percentile). Ms. Muthoka's writing ability, as determined by the Written Expression composite
  score, is within the high average range (SS=115; 84th percentile). Notably, Ms. Muthoka scored
  within the superior range on the Essay Composition (SS=121; 92 nd percentile) . Word Count
                                                                                          th
  (SS=120; 91st percentile} and Theme Development and Text Organization (SS-119; 90
  percentile} within her essay were within the high average range. Although not included in the
  composite score, her grammar and mechanics score falls within the superior range, as well
  (S5=122; 93rd percentile}. Her lower scores on spelling and sentence composition were likely due
  to th e fact that those tasks require specific responses, where there is no room for creativity and
  self-expression, as on the essay task, and therefore, she may have been anxious to perform with
  specific restrictions in place. Overall, Ms. Muthoka displays effective written communication and
  is able to elaborate well.

  Ms. Muthoka's low average Oral Language abilities were also evaluated (Composite Score=89;
  23 rd percentile) based on the Listening Comprehension and Oral Expression subtests. The
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  Listening Comprehension {Standard Score=96; 39 th percentile) score is based on two subtest
  components: Receptive Vocabulary {SS=92; 30th percentile) measured listening vocabulary by
  asking Ms. Muthoka to point to the picture that best illustrates the meaning of the word she
  heard; while during the Oral Discourse Comprehension {SS=101; 53 rd percentile) subtest, Ms.
  Muthoka was asked to listen to short vignettes and answer questions to gauge her level of
  understanding. While both of these results fell within the average range, her lower score on
  Receptive Vocabulary versus Oral Discourse Comprehension indicates that Ms. Muthoka
  performs better on auditory tasks involving more context, such as in story form. Ms. Muthoka's
  low average Oral Expression (Standard Score=85; 16th percentile) score contains three subtest
  components: Expressive Vocabulary, Oral Word Fluency, and Sentence Repetition. Expressive
  Vocabulary required Ms. Muthoka to provide the word that best corresponded to a given picture
  and definition, measuring speaking vocabulary and word retrieval ability {SS=93; 32nd percentile);
  while the Oral Word Fluency task prompted her to name as many things as poss ible in a given
  category (SS=77; 6 th percentile). On the other hand, the Sentence Repetition task asked her to
  repeat a sentence verbatim (SS=93; 32nd percentile), which relies heavily on Ms. Muthoka's
  auditory processing and working memory. These results indicate that Ms. Muthoka's word
  retrieval ability, working memory, and auditory processing skills are within the average range, yet
  when under the pressure of time, as on the Oral Word Fluency task, these abilities are
  significantly impacted and result in borderline performance. Specifically, Ms. Muthoka's oral
  fluency abilities are a significant weakness for her, especially when compared to her relatively
  strong verbal comprehension abilities. This discrepancy further supports a deficit in processing
  information and explains why Ms. Muthoka experiences challenges when taking exams,
  especially when under the pressure of time.

  In summary, the WIAT-111 results suggest a significant strength in the area of Written Expression,
  especially when creativity is allowed; and relative weaknesses in the areas of Reading
  Comprehension and Fluency and Oral Fluency. In general, Ms. Muthoka performs bette r w hen
  visual information is presented with less context, and when auditory information is presented
  with more context. Similar to Ms. Muthoka's lower scores within the processing speed section of
  the WAIS-IV, she demonstrated the most difficulty on the WIAT-111 in areas of fluency in which
  she was asked to respond quickly and complete tasks within specified time limits and with
  specific restrictions. Further, Ms. Muthoka's overall achievement results are higher than
  expected given her FSIQ of 90, indicating that her deliberate, slow approach along with academic
  accommodations and support serve as significant benefits in improving her academic
  performance.
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  Attention

  Ms. Muthoka was administered the Test of Variables of Attention (TOVA), a continuous
  performance test which measures attention during a 21.6-minute task. The TOVA-Visual (TOVA-
  V) records the speed, accuracy and consistency of responses to a series of squares presented in
  two-second intervals, while the TOVA-Auditory (TOVA-A) records the speed, accuracy and
  consistency of responses to a series of tones presented in two second intervals. Ms. Muthoka
  was administered both versions of the test. Ms. Muthoka's results of the two administrations of
  the TOVA-V and the TOVA-A were considered valid and interpretable.

  On the Visual Administration of the TOVA, Variability is defined as the precise measure of
  variations in correct response times and measures the consistency of response times. Resu lts for
  Variability were within normal limits suggesting Ms. Muthoka responded consistently to the
  targets. Response Time is the average speed of correct responses to targets and is a measure of
  information processing speed. Response Time was borderline in Half 1, and not within normal
  limits in Quarter 1, suggesting that Ms. Muthoka required time to adjust to the testing
  conditions. Commission Errors occur when the subject incorrectly responds to a nonta rget and
  are a measure of inhibitory control. Commission Errors were not within normal limits in Quarter
  3 suggesting that Ms. Muthoka may have become more impulsive in responding as the task
  continued. Omission Errors occur when the subject does not respond to a target and are a
  measure of sustained attention. Omission errors for Ms. Muthoka were within normal limits
  suggesting she remained focused and vigilant throughout the assessment, despite needing time
  to adjust to the task and some impulsivity as it continued. Post-Commission Response time is the
  mean response time of correct responses immediately following a Commission Error. Usua lly the
  subject will slow down after an error is made. Quarter 1 and 3 were not within normal limits,
  which may represent difficulties adapting to novel conditions and anxiety. In Quarter 3, the
  standard score for inhibitory control (commission errors) was low and the standard score for
  response time was high. Despite being instructed to balance speed and accuracy, Ms. Muthoka
  seemed to have adopted a fast response strategy that emphasized responding as quickly as
  possible, resulting in high commission errors.

  During the Auditory Administration of the TOVA, Ms. Muthoka's performance in Variability,
  Response Time, Commission Errors and Omission Errors were within normal limits. The overall
  test performance for the Auditory administration provides that Ms. Muthoka is able to
  adequately sustain attention, show inhibitory control, and sufficiently process information when
  presented with auditory stimuli. However, when it comes to visual stimuli Ms. Muthoka's scores
  indicate some anxiety, manifesting as the need to adjust to such testing conditions, as well as
  some impulsivity as such tasks continue.
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  Personality and Interpersonal Functioning

  The House-Tree-Person (HTP) assessment is a projective personality test that measures aspects
  of a person's personality through interpretation of drawings and responses to questions. In
  administering the HTP, the test taker is asked to draw a house, tree, and person, and an
  additional person of the opposite sex, and these drawings provide a measure of self-perceptions
  and attitudes. The HTP also provides information about how an individual experiences the self in
  relation to others and to the home environment. The first drawn female is proportionately
  scaled, taking up most of the paper. The arms for the female are relatively large and open, wh ich
  is suggestive that she is willing to engage, however, the pointed fingers are suggestive of anxiety.
  The legs and feet are representative of grounding and power, and her drawing displays feet like
  the hands, which add to the possibility of performance anxiety and/or aggressiveness whe n
  faced with tasks that may be difficult. The small neck suggests a lack of separation between
  cognition and her drives and needs, indicating some lmpulsivity, as was also evidenced on the
  TOVA. The face does not contain many details, however, features such as the slashed mouth is
  suggestive of verbal aggression.

  The second drawing was of a male and exhibited similar features like the fema le. The ope n arms
  are suggestive that Ms. Muthoka is open and willing to engage with others. The gripped fingers
  are suggestive that Ms. Muthoka may be experiencing projected feelings of aggression. The
  lower half of the body was drawn proportionally, with feet facing the same direction, which is
  indicative that Ms. Muthoka may strive to move forward. The lack of neck indicates that there is
  a need for separation of cognition from her drives ei: and needs. The male figure features a
  slanted smile, like the female, suggesting verbal aggression may be present. Overall, the male
  figure further indicates that Ms. Muthoka may be feeling anxious about her skills, especially
  when she feels it is something she is not good at, resulting in poorer performance. These findings
  correlate with the previous assessment results indicating anxiety, especially when required to
  perform under pressure.

  The house is drawn to proportion on the page but does not feature much detail and was
  described as "basic" and the house she lived in when she lived in Kenya. The house has two
  windows, which is suggestive of limited openness and willingness to interact with others. The
  roof symbolizes fantasy life and has medium bolded strokes which can also be associated with
  anxiety. The tree drawing takes up most of the page, and the large trunk suggest s a strong sense
  of self, however, the lines are faint indicating a relatively unstable personality. The limbs that are
  reaching out from the tree are suggestive that there are efforts to reach out to things beyond
  her control. However, the branches are large, which is suggestive of overextending oneself, and
  the club shaped branch is indicative of the resulting frustration. The inclusion of lines as leaves
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  are seen as signs that efforts to reach out are successful, and produces growth and hope. The
  roots are what ground the tree and people, and are typically related to reality testing and
  orientation. The roots are neither pointy nor overemphasized, which indicates that she is
  connected with reality, but it is not as strong of a connection, relative to her large sense of self.

  Overall, results from the HTP, and previous assessments, suggest that Ms. Muthoka has a strong
  sense of herself and ego, however, when she is faced with tasks that she is not confident in, she
  may present with higher levels of anxiety, which affect her ability to complete such tasks,
  especially when required to perform under pressure.

  The Millon Clinical Multiaxial Inventory- Fourth Edition (MCMI-IV) is a self-report psychological
  assessment measure intended to provide information on personality traits and psychopathology,
  including specific psychiatric disorders outlined in the DSM-5. Ms. Muthoka reports that she has
  recently experienced a problem that involves her school. Ms. Muthoka's responses suggest a
  need for social approval or naivete about psychological matters. Her MCMI-IV results should be
  considered with these characteristics in mind.


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  In general, Ms. Muthoka is energetic, optimistic, and quite capable of developing synergetic
  relationships. On occasion, however, she may become frustrated by circumstances outside of
  her control and may react to what appears to her to be unusual, adversarial situations. She may
  attempt to downplay any distressing emotions and will deny troublesome relationships w ith
  others, especially in her family or personal life. Ms. Muthoka does show evidence of significant
  personality dysfunctions. Individuals attaining these scores tend to create difficult int erpersonal
  relationships and unrealistic expectations for themselves.

  The MCMI-IV profile of Ms. Muthoka reflects a passion for unusually challenging endeavors and
  goal-directed behaviors which most others tend to find intolerable. She is frequently able to coax
  others into doing things they would not otherwise do and, often, she is successful in exciting
  their own wish fulfillment in the process. Any uncertainty Ms. Muthoka may possess, whether by
  social doubt, feelings of inefficacy, or reality testing against insurmountable challenges, is
  generally relegated to suppressed unawareness. Relationships tend to mirror an illusion of high-
  spirited optimism and vibrant energy, but with some tenuousness that she does not easily
  acknowledge. While she is adept at winning over the favor of others, relatively few of her
  relationships are long-lasting. Those who have endured longer, and perhaps more involved
  interactions with her, may become drained by her seemingly unending enthusiasm. As ot hers
  show waning interest, she may become even more absorbed by and concerned with their
  continued support and commitment. If rejection becomes imminent, her energy level may waver
  from excited exuberance to edgy irritability, and her buried self-doubt and uncertainty may
  surface. In the wake of rejection, she may withdraw from the situation entirely and reframe the
  encounter to invoke positive attention to herself, declare her steadfastness to goals or
  principles, and/or proclaim her innocence.


  Ms. Muthoka may be unwilling to self-examine her role in difficult situations of prolonged
  distress and she may react externally by behaving erratically. Driven to deny life' s mo re ted ious
  realities, including realistic limit setting and accountability for less-than-perfect outcomes, she
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  may seek out novel experiences and continue grasping for opportunities, possibly to the point of
  exhaustion. Fatigue in cases such as this may precipitate syndrome-based depression.


  Most notable is Ms. Muthoka's highly structured and strictly organized life. Tending to be
  austere and serious-minded, her posture and movement demonstrate an underlying tightness
  and a drive to keep her emotions in check. She may have a tendency to speak very precisely and
  dress in a very formal and proper way. Her perfectionism is frequently an issue as it limits the
  alternatives she considers in her everyday actions and as it interferes with her ability to complete
  ordinary tasks, and is likely a factor related to the anxiety she experiences under the pressure of
  timed exams and specific restrictions. Also salient is her tendency to see herself as an inspiring
  dynamic force. Reflecting on her personal qualities, she perceives herself as an ambitious,
  tireless, and enterprising individual whose ever-present energy activates and galvanizes others.
  Moreover, she has illusions of invincibility, believing she can undertake and accomplish more
  than is possibly realistic. Also worthy of attention is her tendency to view herself as efficient,
  disciplined, meticulous, and industrious. She sees herself as devoted to work and to meeting
  responsibilities. She tends to minimize the importance of recreational and leisure activit ies in
  favor of those that signify productive efforts. Fearful of being viewed as irresponsible or slack in
  her efforts, as one who fails to meet the expectations of others, or as someone who is error-
  prone, she may overvalue those aspects of her self-image that signify perfectionism, which
  again, is a likely contributor to the anxiety she experiences around academics, especially exams.
  Early treatment efforts are likely to produce optimal results if they are oriented towa rd
  modifying these personality features.


  DSM-5 DIAGNOSTIC IMPRESSIONS

  Based on the current assessment results, Ms. Muthoka displays significantly slower than
  expected processing abilities when compared to her relative strength in verbal abilities.
  This challenge impacts her ability to perform adequately and also produces anxious symptoms
  which preclude her from being able to maintain concentration on examinations. Whi le the fact
  that English not being Ms. Muthoka's first language might be a consideration, her WIAT-111 results
  indicate that she has mastered the English language adequately enough to suggest that
  symptoms of anxiety and a perfectionistic approach are the more likely deterrents in her overall
  academic performance. Further, Ms. Muthoka displayed significantly weake r performance on
  tasks which did not require verbal skills, indicating a true visual processing disorder. All of the
  above significantly impacts Ms. Muthoka's academic and emotional functioning, warranting a
  diagnos is of Other Specified Neurodevelopmental Disorder related to Visual Processing.
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  Not only does this disability impact her performance, but Ms. Muthoka's excessive anxiety and
  worry about her slower processing speed, which she is unable to control, causes her to be
  unable to focus, have difficulty concentrating, difficulty comprehending, and makes her irritable
  and upset at times. Further, her HTP and behavioral observations for the WIAT-I11 and WAIS-IV,
  revealed her anxious tendencies when asked to perform tasks out of her comfort zone,
  especially when timed. Ms. Muthoka described previous bouts of increased anxiety, lack of
  sleep, and nausea the night before and during testing. Ms. Muthoka's MCMI-IV results indicate
  that her personality style is expressively disciplined, which can lead to anxiety when she does not
  meet her expected performance thresholds. Furthermore, the results from the assessment do
  not contribute to a diagnosis of Attention Deficit Hyperactivity Disorder, despite her visual
  performance not being within normal limits, due to requiring time to settle in to the testing
  conditions and impulsivity as the test continued, which all is better accounted for by anxiety and
  her visual processing challenges. She demonstrates severe anxiety including physical symptoms,
  fear of not finishing, and a diminished ability to think and concentrate when timed or under
  specific restrictions.

  A diagnosis of Other Specified Anxiety Disorder requires that the individual experience excessive
  worry that is difficult to control and occurs surrounding a specified anxiety provoking
  circumstance, such as a testing environment. The anxiety may be associated with a feeling of
  restlessness or feeling on edge, being easily fatigued, difficulty concentrating, irritability, muscle
  tension, and/or sleep disturbance. The anxiety, worry, or physical symptoms must cause clinically
  significant distress or impairment surrounding the anxiety producing event. Ms. Muthoka
  reported that she repeatedly experiences symptoms of anxiety whenever she is in a testing
  situation, which is frequent considering that she is a medical student challenged by slower
  processing speed abilities. Therefore, Ms. Muthoka meets criteria for a diagnosis of Other
  Specified Anxiety Disorder.

  F88 Other Specified Neurodevelopmental Disorder related to Visual Processing

  F41.8 Other Specified Anxiety Disorder (Test Anxiety)

  DISCUSSION

  Ms. Muthoka is a 31-year-old Kenyan woman, who is currently a third-year medical student at
  UCI. Ms. Muthoka grew up in Kenya with her two parents and siblings, in a loving environment.
  Ms. Muthoka participated in an assessment at the Irvine Counseling Center to determine the
  factors behind her challenges with timed exams. Ms. Muthoka reported struggling with finishing
  tests in the allotted time, and experiencing strong feelings of anxiety, nausea, and sleep
  problems before exams, and self-criticism after, due to not being able to finish her exams on
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  time, or to the perceived standards she set for herself. Ms. Muthoka stated that she had never
  participated in any psychological testing before this assessment, however, she was reportedly
  diagnosed by a psychiatrist at UCI with test anxiety.

  Ms. Muthoka previously attended Hope International University initially, and then attended
  California State University Fullerton, concurrently, receiving her undergraduate degree in 2013.
  Ms. Muthoka stated that she had received extra time on exams at Hope International University,
  as it was a private university that did not require documentation for her to have extended time.
  Before moving to the United States to pursue her college and medical degrees, Ms. Muthoka
  attend school in Kenya, where she stated she was always a good student who received A's. It
  wasn't until attending Hope University that Ms. Muthoka noticed she was unable to f inish exams
  in the allotted time given and did not require accommodations until her college career. At this
  time, this struggle could possibly be attributed to language or acculturation factors, w hich likely
  caused much stress, but now as the challenge has continued over time, despite sufficient
  language skills and adjustment to US Universities, it appears to be a persistent processing
  disorder, resulting in symptoms of anxiety.

  Ms. Muthoka participated well during the assessment. She was oriented, her speech was
  appropriate, and her judgement seemed intact. Ms. Muthoka denied being under the influence
  of any substances during the assessment process and denied suicidal and homicidal ideation. Ms.
  Muthoka was not taking any prescribed medications at the time of the evaluat ion. Ms. Muthoka
  was friendly, open, and cooperative during the assessment process. Overall, Ms. Muthoka
  worked well, required few breaks, and seemed motivated to complete the assessment, though
  she did report and display symptoms of anxiety throughout the testing process.

  Based on the analysis of scores, Ms. Muthoka's cognitive and academic functioning falls within
  the average range. Cognitively, Ms. Muthoka's scaled scores range from low average to average,
  with weaknesses in completing tasks that are timed, blocking out possible distractions while
  attempting to focus, and on tasks involving visual perception, visual organization, and nonverbal
  concept formation. However, Ms. Muthoka's relative cognitive strengths lie in verbal
  comprehension and working memory. Ms. Muthoka particularly excels at general knowledge
  tasks, especially when there is context included. She displays a significant strength in verba l
  abilities and significant weaknesses in nonverbal abil ities and processing speed skills, resu lting in
  a diagnosis of Other Specified Neurodevelopmental Disorder related to Visual Processing.
  Academically, Ms. Muthoka exhibits a significant strength in the area of written expressio n, in
  which she is able to incorporate creativity into tasks. On the other hand, Ms. Muthoka
  experiences relative weaknesses in reading comprehension and fluency, and particularly oral
  flu ency, displaying difficulty responding quickly, and furthe r difficulty accurately comprehendi ng
  and compl eting tasks within specified time limits and with specific restrictions, which is furthe r
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  evidence of her processing challenges. In general, Ms. Muthoka performs better when visual
  information is presented with less context, and when auditory information is presented with
  more context. Further, Ms. Muthoka's overall achievement results are higher than expected
  given her FSIQ of 90, indicating that her deliberate, slow approach along with her history of
  academic accommodations and support serve as significant benefits in improving her academic
  performance. In summary, Ms. Muthoka's cognitive and achievement results ind icate significant
  challenges processing visual information, especially when under the pressure of time, which
  negatively impacts her academic performance and causes symptoms of anxiety when required to
  complete such tasks.

  Ms. Muthoka does not seem to present with any significant attention issues related to ADHD.
  Results provide that Ms. Muthoka is able to adequately sustain attention when presented with
  auditory stimuli, however, when presented with visual stimuli, there is evidence of visual
  processing difficulty, as well as anxiety in the form of impulsivity in respond ing and the need to
  acclimate to testing conditions. Ms. Muthoka's anxiety was evident in her approach and
  responses on several measures, despite not wanting to present as struggling, resulting in a
  defensive stance, at times, with low self-esteem, feelings of inadequacy, sensitivity to social
  opinion, and poor coping mechanisms.

  Ms. Muthoka continually presents with these anxious patterns, including a tendency to demean
  her skills and be overly harsh on herself when she is unable to perform. Ms. Muthoka could
  benefit from therapeutic intervention to feel more sound in her abilities without being ove rly
  critical on herself, in an effort to combat her perfectionistic tendencies and better cope with
  stressors. Specifically, due to her significant processing speed challenges, Ms. Muthoka is
  suffering from a great deal of anxiety surrounding test taking, which negatively impacts her
  capability of performing to the best of her abilities. Therefore, Ms. Muthoka's t est res ults and
  symptoms are indicative of Other Specified Neurodevelopmental Disorder related to Visual
  Processing and Other Specified Anxiety Disorder (Test Anxiety). Suggestions are provided below
  to help M s. Muthoka improve her overall functioning and to assist her in reaching her full
  potential academically and emotionally.

   RECOMMENDATIONS

      1. Testing Accommodations: Ms. Muthoka has strived to obtain accommodations that have
          allowed her to excel in her education. Results of the current psychodiagnostic
          assessment indicate that continued accommodations are warranted. It is recommended
          th at Ms. Muthoka register with the USM LE disabilities services and request
          accommodations including, but not limited to :
              a. Additional Testing Time. Allow Ms. Muthoka 100% additional test tim e (double
                  time) for all portions of th e USM LE in an effort to reduce her anxiety and allow
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                   her to perform to the best of her abilities considering her significant processing
                   disorder.
              b. Separate Testing Room. Allow Ms. Muthoka the use of a separate, private testing
                   room during all eligible portions of the USM LE.
              c. Additional Break Time. Allow Ms. Muthoka maximum additional break time for all
                   portions of the USM LE.


     2. Residency Accommodations. As Ms. Muthoka continues her stride towards becoming a
          Medical Doctor, it is recommended that she connect with the Association of American
          Medical Colleges to understand how the review process works regarding receiving
          residency accommodations and submit these results to AAMC to request the following
          accommodations wherever applicable:
              a.   Extra Time
              b.   Additional Breaks
              c.   Pairing visual and/or contextual cues with information presented
              d.   Tutoring, as provided
              e.   Any additional, relevant accommodations


     3. Improve General Study Habits.
              a.   Improve Leaming Skills. Create context around random information to improve
                   retention and learning (i.e., create a story out of random facts).
              b. Improve Processing Speed. Practice timed tasks to improve performance and
                   reduce anxiety. Such tasks can be accessed through various cel l
                   phone/tablet/online applications.


     4.   Individual Psychotherapy. Ms. Muthoka would benefit from therapeutic services with
          focus on emotional awareness, emotional regulation, insight into personal views
          regarding self-esteem and perfectionism, and coping skills for stressful situatio ns.
          Continued monitoring of her anxious symptoms is also recommended.
             a. Pepperdine: 949-224-2570
             b. Chapman University: 714-997-6746
             c. Newport Community Counseling Center: 949-721-8079

     5. Support Group/Community. Ms. Muthoka seems to have a good sense of her strengths
          and weaknesses. She would benefit from participating in a support group/supportive
          organization to continue to be aware of strengths and limitations in specific situations
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            while monitoring her emotional reactions to events and experiences, such as self-
            criticism.
                a. Orange County Support Groups via 211.org


  It has been a pleasure working with you. We look forward to being of any further assistance. If
  there are any questions about this evaluation or report, please contact us directly.




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                              EXHIBIT F
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    @NBME~
                                                                                                           National Board of Medical Examiners
                                                                                                           3750 Market Street
                                                                                                           Philadelphia, PA 19104-3102

                                                                                                           215-590-9500 phone
                                                                                                           www.nbme.org


                                                                     Confidential

    July 24, 2019

    Jackline Muthoka
    3131 Verano Place
    Irvine, CA 92617

    RE: USMLE Step 1                                                USMLE ID#: 5-402-796-6

    Dear Ms. Muthoka:

    We have thoroughly reviewed the documentation provided in support of your request for test accommodations for the
    United States Medical Licensing Examination (USMLE) Step 1. We conducted an individualized review of your request in
    accordance with the guidelines set forth in the amended Americans with Disabilities Act (ADA).

    You report the basis of your current request to be Other Specified Anxiety Disorder (fest Anxiety) diagnosed in 2017 and
    Other Specified Neurodevelopmental Disorder related to Visual Processing diagnosed in 2019. You previously submitted
    a request for accommodations on the basis of Specific Phobia - Test Anxiety and in a January 2, 2018 letter addressed to
    you, we explained that your documentation did not demonstrate a current impairment in a major life activity as compared
    to most people or that the requested accommodations were an appropriate modification of your USMLE Step 1 test
    administration.

    In your May 6, 2019 letter addressed To whom it may concern, you write, "I am submitting this reconsideration based on new
    documentation thatprovides evidence ofthe fallowing: slow information processing speed, low reading comprehension, wea/enes.res with tasks
    involving visualperception, visual organization, nonverbalformation, completing timed tasks, and blocking 011t distractions as I attempt lo focus
    with diagnoses of Other Specified Anxiety Disorder (fest Anxiety) and Other Specified Neurodevelopmental disorder related to Vis11al
    Processing. These barriers hinder me from accessing the exam in its entirety ... Througho11t my education, having 50% additional testing time
    has allowed me to demonstrate 11!) 11nderstanding ofmaterials on exams and has enabled me to get this far academicalfy. I will need the same
    50% additional testing time while I take USMI.E Step 1 in order to have access to all exam questions and, therefore, have afair assessment
    of"!Y knowledge and abilities."
    Included with your submission was a February/March 2019 Psychological Evaluation Report by Kourtney Mitchell and
    Ryan Mosier, Psy.D. Practicum Trainees, and Julie Wilnier, Ph.D., Clinical Supervisor, who write, "Ms. Muthok.a is a 31-
    year-old, single famale who was born and raised in Kef!Ya, She identified her ethnicity as African, Kef!Yan. Ms. M11thok.a grew lljJ with both of
     herparents and her two siblings in Kef!Ya 11ntil 2008, when she came lo California on an academic scholarship and attended Hope
     International University, California State University Fullerton, and most recent/y, University of California, Irvine (UG) ... Ms. M11thok.a
     reports experiencing anxiety, attention, reading, and comprehension iss11es. She reports that it is hardfar her to read andprocess passages, which
     leads to issues with herperformance on examinations .. .Ms. M11thok.a requested a psychodiagnostic evaluation to assess her current cognitive
     and emotionalfunctioning, determine the reason far her current strut,gles, and to seek. appropriate recommendations far farther treatment and
     assistance, especialfy as she prepares to take the Medical Ucensure Examinations (USMI.E) ... In summary, Ms. Muthok.a's cognitive and
     academic achievement results indicate signijicant challenges processing visual information, especialfy when 11nder the pressure of time, which
     negative/y impacts her academicperformance and causes symptoms ofanxiety when required to complete s11ch tasks ... Specifical/y, due to her
     signijicantprocessing speed challenges, Ms. M11thok.a is suffering.from a great deal ofanxiety surro11nding test taking, which negativefy impacts
     her capability ofperforming lo the best ofher abilities. Therefore, Ms. Muthok.a '.r test results and symptoms are indicative of Other Specified
     Neurodevelopmental Disorder related lo Visual Processing and Other Specified Anxiety Disorder (I'est Anxiety)." Your evaluators
     recommend 100% additional test time (double time) for USMLE "in an effort lo reduce her anxiety and allow her lo perform to the
(    best ofher abilities considering her signijicantprocessing disorder," additional break time, and a separate, private testing room.
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                                           #:142



    The diagnostic conclusions and recommendations of your evaluators notwithstanding, your 2019 performances on a
    range of cognitive and academic achievement tasks, including Working Memory, Perceptual Reasoning, Total Reading,
    Basic Reading, Word Reading, Pseudoword Decoding, Oral Reading Fluency, and Reading Comprehension, are all
    generally within the range of Average functioning and not indicative of substantially impaired functioning relative to most
    people. Moreover, despite your recently diagnosed "signijicant processing disorder," you successfully progressed throughout
    your education with an academic record and scores on timed standardized tests sufficient to gain admission to and
    graduate from college, and matriculate to medical school without formal accommodations. Your evaluators discuss your
    academic history writing, "Ms. Muthoka attended school in Kenya until 2005, when she graduatedfrom high school with an A average
    throughout her childhood and adolescent academic career. She then moved to the United States in 2008, where she received her undergraduate
    degree after sixyears. She initial/y attended Hope International University for twoyears, and then concumnt!J attended California Stale
    University Fullerton on an academic scholarship for the latterfouryears." The Unofficial Student Academic Record from California
    State University, Fullerton reveals A's, B's, and C's, in college level coursework such as General Chemistry, Intermediate
    Cell Biology, and Human Physiology, to name a few, with a cumulative GPA of 3.04. The Hope International University
    Unofficial Transcript shows that you earned mostly A's and B's in college level coursework such as English Composition,
    Introduction to Llterature, Social Science Theories, World History since 1500, and Beginning Spanish I, to name a few.
    You earned a Bachelor of Arts degree in 2014 with a GPA of 3.39, without formal accommodations. The Unofficial
    Transcript from University of California, Irvine shows grades of A's and B's in Developmental Biology, Advanced
    Biochemistry, Drugs and the Brain, among others, and a GPA of 3.621, prior to receiving accommodations. Taken
    altogether, your documentation does not demonstrate impaired functioning relative to most people or that standard test
    timing is a barrier to your access to the USMLE.

    Accommodations are intended to provide access to the USMLE testing program for individuals with a documented
    disability as defined by the ADA. A diagnostic label, in and of itself, does not establish coverage under the ADA, nor does
    prior receipt of accommodations for a particular activity guarantee that identical accommodations are indicated or will be
    available in all future settings and circumstances. While NBME gives considerable weight to documentation of past and
    present accommodations, the fact that you have previously received a particular accommodation in other contexts is not,
    in itself, a sufficient demonstration of your need for accommodations on a USMLE examination. The ADA defines
    disability as a physical or mental impairment that substantially limits one or more major life activities compared to most
    people in the general population.

    Your documentation does not demonstrate a substantial limitation in a major life activity as compared to most people or
    that the requested accommodations are an appropriate modification of your USMLE Step 1 test administration.
    Although we are unable to grant your request for additional test time under the ADA, we will provide the following
    arrangements during the administration of the USMLE Step 1 for which you are currently registered:

    •     Separate Testing Room
    •     Additional Beale Time/standard test time: The exam will be administered over one day. The day will be 8 hours
          45 minutes in length and will include a 15 minute tutorial and 7 test blocks with approximately 40 questions per
          block. You will have up to 60 minutes to complete each block. You will receive 90 minutes ofbrealc time,
          including lunch. You may use break time as needed between blocks. If you complete the tutorial or an examination
          block in less time than allotted, the unused time will be added to your available break time.

    You will receive an electronic permit containing the information needed to schedule your exam appointment. Please call
    Prometric at the number listed on your scheduling permit as soon as you receive it to schedule your appointment.

    These arrangements may not be changed at the test center on your scheduled exam day. If you choose not to use these
    arrangements, please notify Disability Services immediately at disabilityservices@nbme.org or by calling 215-590-9700 for
    instructions on re-registering for your exam.

    Sincerely,
    l.~i{t.1,,.,1-..,. ,
    Lucia McGeehan, Ph.D.
(   Disability Assessment Analyst, Disability Services
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                                   #:143




                              EXHIBIT G
                                                                                Jackline Muthoka
                                                                                14352 Beach Blvd, SPC 93
                                                                                Westminster, CA, 92683.
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                                                                                January 14, 2020
                                                                                USMLE ID# 54027966
                                                                                Dear Sir/Madam:
                                                                                       USMLE Step 1 Test Accommodation Reconsideration:
                                                                                Attached please find the following supporting documents for the reconsideration of the USMLE
                                                                                Step 1 exam. Attached documents are:
                                                                                   1.) Letter from my Attorney, Jay T. Jambeck, Leigh Law group
                                                                                   2.) Letter from Karen Andrews, Director, UCI Disability Services Center
                                                                                   3.) Letter from the Dean of Admissions, UCI School of Medicine, Dr. Ellena Peterson, PhD
                                   #:144




                                                                                   4.) Letter from my undergraduate professor, Theodros Kidane
                                                                                   5.) Letter from my undergraduate professor, Dr. Kelly Dagley, PhD
                                                                                   6.) My personal statement
                                                                                   Copies of the submitted documents are the exact replicas of the original documents and I agree to
                                                                                   submit the original documentation should that be required.
                                                                                   Thank you,
                                                                                                               \1
                                                                                   Jackline Muthoka
Case 8:20-cv-01072-JLS-KES Document 11 Filed 07/16/20 Page 105 of 123 Page ID
                                   #:145


                                        Mandy Leigh            Northern California:
                                        Jay T. Jambeck          870 Market Street, Suite 1157
                                        Damien Troutman         San Francisco, CA 94102
                                                                Tel.: 415-399-9155
                                                                Fax: 415-795-3733

                                                               Southern California:
                                                                840 Apollo Street, Suite 311
                                                                El Segundo, CA 90245

                                                           Reply to: Northern California




                                 January 14, 2020

   National Board of
   Medical Examiners
   3750 Market Street
   Philadelphia, PA 19104-3102

          Re:     Jackline Muthoka

   To whom it may concern:

           This firm represents Jackline Muthoka related to her application for additional
   50% testing accommodations from the National Board of Medical Examiners (“NBME”)
   related to the United States Medical Licensing Exam (USMLE). Ms. Muthoka has
   submitted an application for extended time to take the USMLE step 1 exam twice before
   but has been denied accommodation. Ms. Muthoka’s documentation establishes a basis
   for her requested accommodation under Title III of the Americans with Disabilities Act,
   42 U.S.C. § 12182, et seq. and California Unruh Civil Rights Action, California Civil
   Code Section 51, et seq.

           Under the ADA, an individual with a disability is a person who has a physical or
   mental impairment that substantially limits a major life activity (such as seeing, hearing,
   learning, reading, concentrating, or thinking). 28 C.F.R. § 35.108(c)(1)(i). The
   determination of whether an individual has a disability generally should not demand
   extensive analysis. Testing accommodations in reference to “high stakes” testing is well
   recognized by the United States Department of Justice which has published technical
   assistance for the issue. (https://www.ada.gov/regs2014/testing_accommodations.html).
   A three-part test is applied to determine whether a plaintiff is entitled to an
   accommodation under the ADA: (1) whether the plaintiff's condition constitutes a mental
   or physical impairment; (2) whether the impairment impacts a major life activity; and (3)
   whether the impairment substantially limits the major life activity. Wong v. Regents of the
   Univ. of Cal., 410 F.3d 1052, 1063 (9th Cir.2005). The term “substantially limits” shall
   be construed broadly in favor of expansive coverage, to the maximum extent permitted
   by the terms of the ADA. “Substantially limits” is not meant to be a demanding standard.
   28 C.F.R. § 35.108(d)(1)(i).


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            Ms. Muthoka has submitted documentation from a professional psychologist
   which finds that she experiences a mental impairment described as “clinically significant
   distress or impairment” surrounding testing. (Chicago School of professional
   psychology, Irvine Counseling Center Report at 18). The report goes on to diagnose Ms.
   Muthoka with a DSM-V diagnosis 41.8 - Other Specified Anxiety Disorder and Other
   Specified Neurodevelopmental Disorder related to Visual Processing (F88). As further
   set forth in the report, Ms. Muthoka’s condition significantly limits the major life activity
   of thinking and concentrating when she is undergoing the distress or impairment related
   to testing. (Id. [“diminished ability to think when timed or under specific restrictions.”]).
   The psychological report specifically states that additional time is an accommodation that
   would allow Ms. Muthoka to overcome her disabling condition and perform on a level
   equal to that of the general population. (Id. at 20). Nothing more is required for NBME
   to grant Ms. Muthoka an extended time accommodation under the ADA. Moreover,
   California law regarding the Unruh Civil Rights Act incorporates the ADA into its
   provisions. Munson v. Del Taco, Inc., 46 Cal.4th 661 (Cal. App. 2009). Finally, “testing
   entities should defer to documentation from a qualified professional who has made an
   individualized assessment of the candidate that supports the need for the requested testing
   accommodations.”1 NBME has not and cannot set forth a legitimate individualized
   rationalization for denial of Ms. Muthoka’s requested accommodation.

           Even though nothing further is required for the NBME to provide the requested
   accommodation of additional time, further support is provided by the fact that Ms.
   Muthoka has received similar accommodations by other educational entities in respect to
   extended time for testing. Ms. Muthoka has submitted documentation from the University
   of California Irvine (“UCI”) reflecting that UCI provides Ms. Muthoka with extended
   time for testing as a disability accommodation. (Henderson and Andrew letters). If a
   candidate shows the receipt of testing accommodations in his or her most recent ADA or
   504 accommodation plan, and certifies his or her current need for the testing
   accommodations due to disability, then a testing entity should generally grant those same
   testing accommodations for the current standardized exam or high-stakes test without
   requesting further documentation from the candidate.2

            Finally, apparently the NBME has agreed that Ms. Muthoka is disabled, having
   granted some of her accommodations. However, the conclusory and superficial basis for
   rejecting the extending time accommodation – which has been approved and provided by
   UCI and recommended based on an individual assessment by a qualified psychologist –
   flies in the face of the determination that Ms. Muthoka is a person with a disabling
   condition. NBME’s refusal to allow extended time for testing appears arbitrary and has
   the impact of discriminating against Ms. Muthoka on the basis of disability.

           Testing entities should ensure that their process for reviewing and approving
   testing accommodations responds in time for applicants to register and prepare for the
   test.3 Ms. Muthoka intends to take the USMLE in March of 2020 and needs to know well

   1
     https://www.ada.gov/regs2014/testing_accommodations.html
   2
     Id.
   3
     Id.
                                                 2
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   in advance whether she will be provided her requested reasonable accommodation so that
   she is not faced with the additional stressor of the unknown under the circumstances.

           If you have any questions or would like to discuss this matter, please do not
   hesitate to contact me.



                                                Very truly yours,



                                                    Jr
                                                Jay T. Jambeck




                                                3
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                                   #:148
          University of
      I   California, Irvine
                                                            Disability Services Center
                                                            100  Disability Services
                                                            Building 313
                                                            Irvine, CA 92697-5250
                                                                                         (949) 824-7494
                                                                                         (949) 824-3083
                                                                                         dsc@uci.edu
                                                                                                          FAX



                                                                                         www.dsc.uci.edu


December 9, 2019


To Whom It May Concern:

RE:    Jackline Muthoka, USMLE ID# 5-402-796-6

I am writing at the request of Ms. Jackline Muthoka, in support of her request for
reconsideration of the NBME denial decision regarding her request for 1.5 additional testing
time for the USM LE, Step 1 exam, dated July 24, 2019. Ms. Muthoka is a qualifying student with
a diagnosed disability (QSD) as defined by the Americans with Disabilities Act as Amended
(ADAAA). Her disability clearly impacts her in one or more major life activities as thoroughly
documented in her personal statements. Ms. Muthoka needs to have accommodations,
including 50% additional time, as she has requested in order to have equitable access during
the Step 1 exam.

My name is Karen L. Andrews and I am the Director of the Disability Services Center (DSC) at the
University of California Irvine (UCI) where I have worked since April, 2018. I have worked in
higher education disability services for 10 years as a director and in K12 special education for 12
years as a special education teacher and administrator. I have a Bachelor's degree with a dual
major in elementary and special education. My Master's degree is in Adult Learning and
Development. Currently I am enrolled in a PhD program in Psychology with a specialization in
Educational Psychology.

Ms. Muthoka registered with the UCI Disability Services Center (DSC) in February 2017 during
the Winter Quarter with a diagnosis of Specific Phobia (Test Anxiety) and she has a historical
record of receiving accommodations throughout her college career, in both undergraduate and
medical school programs. After reviewing her documentation and engaging in the interactive
process with the student and medical school faculty, she received accommodations for 1.5
extended time, test taking in a separate location and distraction-reduced environment, and use
of assistive technology (Kurzweil 3000).

Ms. Muthoka has since submitted an updated comprehensive psychological evaluation that was
completed by Julie Wilnier, PhD dated April 1, 2019. At that time, she was again found to be a
QSD with a diagnosis of Other Specified Neurodevelopmental Disorder related to Visual
Processing (FBB) and additional evidence of Other Specified Anxiety Disorder- Test Anxiety
(F41.8}. Ms. Muthoka's functional limitations are exacerbated during high stress situations such
as the USM LE Step 1 exam. She struggles to process information in a timely fashion that
definitely impacts reading and learning as major life activities. In the most recent let~er
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                                    #:149


                                                            you stated that she had not
regarding accommodations that was dated July 24, 2019,
                                                                 limita tion in a major life activity as
demo nstrat ed that her disab ility demo nstrat ed a substantial
                                                            accommodations of extra break time
compared to most people, yet, she was still awarded the
                                                               modations address her docum ented
and test taking in a separate room. Neith er of these accom
                                                            time during the actual exam.
need for equita ble access by having extended processing

                                                           USM LE Step 1 exam. She has
Ms. Mutho ka has spent countless hours studying for the
                                                              ut any accommodations, which has
unsuccessfully attem pted the Step 1 exam two times witho
                                                           her significant study preparations. She
not provided her with equita ble access as a QSD despite
                                                            on the USM LE Step 1 exams as she
could not demo nstrat e her levels of knowledge and skills
                                                            to process inform ation. The stress of
could not finish the tests due to how long it takes for her
                                                               tion of extended time causes her
trying to finish the exam witho ut the requested accommoda
                                                                 t her major life activities also in
levels of anxiety to climb substantially. These stressors impac
                                                               and fluency and oral fluency. She
the areas related to brain functi on: reading comprehension
                                                            and in her educational pursuits.
consistently ·struggles with completed timed tasks in life

                                                                     t court cases involv ing denials of
 In consideration of this appeal, I reviewed a numb er of recen
                                                                Titles II and Ill of the ADAAA that are
 accommodations in standard tests. I especially reviewed
                                                              s is not an indica tor for denial of
 clear cut examples that past evidence of stude nt succes
                                                                  us letters of suppo rt including the
 stude nt accommodation requests. Please reference previo
                                                                 Specialist, Rosezetta Henderson, for
 May 20, 2019 letter of suppo rt from DSC Senior Disability
                                                                 Ms. Mutho ka has met the burden of
  additional references to curre nt case law and precedent.
                                                               evaluation, histor y of accommodations,
  proof as a QSD as evidenced by her psycho educational
                                                               request for exten ded time has and
  and self-reports; there fore, the continued denial of her
                                                                   demo nstrat ed that (1) she has a
  could contin ue to cause irreparable harm. The stude nt has
                                                                her requests for accommodations are
  qualifying disability that impacts major life activities, (2)
  reasonable, and (3) those requests have been denied.

                                                                l regarding her request for
 After comp leting a thoro ugh review of Ms. Mutho ka's appea
                                                           lete agree ment with her that this is a
 extended time on the USMLE Step 1 exam, I am in comp
                                                           equita ble access. If you have any
 reasonable request needed to provid e her with fair and
                                                            hesitate to conta ct me at (949) 824-
 questions or need additi onal inform ation, please do not
  1633. Thank you.

  Sincerely,


/" ''$ ~ ~ ~
  Kar6 ~- ;ndre ws
  DSC Director
  Case 8:20-cv-01072-JLS-KES Document 11 Filed 07/16/20 Page 110 of 123 Page ID
                                     #:150
UNIVERSITY OF CALIFORNIA. IRVINE

BERKELEY   •   DAVIS   •   IRVINE   •   LOS ANGELES   •   MERCED   •   RIVERSIDE   •   SAN DIEGO   •   SAN FRANCISCO              SANTA BARBARA   • SANTACRUZ



Ellena M. Peterson, Ph.D.
Professor, Emeritus
Department of Pathology & Laboratory Medicine                                                                    Irvine, CA 92697-4800
School of Medicine                                                                                               (949) 824-4169
                                                                                                                                    January 2, 2020
Dear Colleagues,

I am writing in support of the request by Jackline Muthoka for USMLE Step 1
accommodations. While serving as the Associate Dean of Admissions and Director of the
Post Baccalaureate program at UCI I observed Jackie in several academic settings.
Hopefully my perspective will help in your deliberations concerning her accommodation
request.

Jackie was first admitted to our post baccalaureate program which was developed for
students from disadvantaged backgrounds who possessed attributes that showed the
promise to make positive contributions to the health care of others, especially those that
come from a similar background. I will not revisit the details of her background but in
summary she was an orphan from Kenya who came to the US for her college education.
Throughout the rigorous post baccalaureate academic program Jackie continued to show
progress in her coursework. During this time, we also required her to intensively study for
the MCAT exam. At the end of the program while her coursework was on par with her
classmates, her MCAT scores were well below our expected benchmark and this was
particularly true of the verbal section. I do know this was not due to lack of effort on her
part. I would see her morning and evening studying for this exam, even imploring the help
of others to assist her in preparing.

Due to her not meeting the MCAT benchmarks we had set for her we were then left with
the dilemma of whether to admit Jackie into medical school. However, we determined that
                                                                                Jackie, mainly due to her immense promise, would be advanced to our Conditional
                                                                                Acceptance Post Baccalaureate Program. Here students are given a year to achieve MCAT
                                                                                benchmarks and take select courses alongside our first-year medical students to adjust to
                                                                                the pace and rigor of the medical school classes. I am told Jackie was given extra time for
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                                                                                her exams in class and used every minute of this time. I was also told by her professors
                                                                                that she appeared very anxious come exam time, more so than her classmates. Both of
                                                                                these corroborate statements in her accommodation request letter which she has shared
                                                                                with me. In the medical school courses Jackie did well but again her downfall was the
                                                                                MCAT standardized exam of which her verbal score was of concern, so much so
                                                                                extensive discussions were had as to her admittance to medical school. Once again due to
                                                                                her exceptional attributes, one being resilience, the consensus was to grant her an
                                                                                acceptance to medical school.
                                                                                I do not have direct knowledge of her medical school performance to date but in her first
                                   #:151




                                                                                two years she progressed to her third year in normative time. Once again, we are at the
                                                                                point of a standardized exam holding her back from advancing through medical school.
                                                                                The exact cause of the anxiety and performance on these types of standardized exams is
                                                                                better left to the professionals that can assess this but her failure to pass this exam is
                                                                                consistent with a pattern that I witnessed firsthand with the MCAT.
                                                                                I do hope you see the tremendous distance Jackie has come to get to this point and are able
                                                                                to grant her the accommodations she has requested. If you have any questions, please feel
                                                                                free to reach out to me.
                                                                                Respectfully,

                                                                                                   )
                                                                                Ellena Peterson, PhD
Case 8:20-cv-01072-JLS-KES Document 11 Filed 07/16/20 Page 112 of 123 Page ID
                                   #:152
      	      CALIFORNIA STATE UNIVERSITY, FULLERTON
               Natural Sciences and Mathematics
               Department of Chemistry and Biochemistry
               800 N State College Blvd, Fullerton, CA 92834/92831 /            T 657-278-3621 / F 657-278-5316




      Nov 12th, 2019


      To whom It May Concern:


      Ms. Jackie Muthoka was one of my students in Chemistry 422 - general biochemistry
      laboratory - in the Fall of 2013. I am writing this letter to attest that Ms. Jackie Muthoka
      almost invariably needed extra time for taking her quizzes and exams, and I had happily
      provided that extra time so that she could finish taking them.


      If I could be of any further assistance, please feel free to contact me.


      Thank you!


      Sincerely,




      Theodros Kidane, Lecturer, M.S.
      Department of Chemistry and Biochemistry, CSUF
      tkidane@fullerton.edu                            T: 657-278-2475




                                                           	  
                                             THE CALIFORNIA STATE UNIVERSITY
      Bakersfield / Channel Islands / Chico / Dominguez Hills / East Bay / Fresno / Fullerton / Humboldt / Long Beach / Los Angeles / Maritime Academy
 Monterey Bay / Northridge / Pomona / Sacramento / San Bernardino / San Diego / San Francisco / San Jose / San Luis Obispo / San Marcos / Sonoma / Stanislaus
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                                   #:153

                   HOPE INTERNATIONAL UNIVERSITY



December 4, 2019


To Whom It May Concern,

My name is Dr. Kelly Dagley and I teach Biblical Studies at Hope International University in
Fullerton, CA. 1was fortunate enough to have Jacl<line Muthoka in two classes while she was
an undergraduate at our school. In the Fall of 2008 I had her in Theology of Ministry and in
Spring of 2009, she was a student of mine in Hebrew History and Literature.

In both classes, J acl<line was the very last to turn in her exam. She took the entire time given to
complete h er exam. She did well on those exams but did need the entire time to complete them
and would have taken more if allowed.

I hope you will work w ith J ackline to help accommodate her with more time for her licensing
exams. I am confident in her passing but additional time will help her.

Please feel free to contact me if you have any questions.


Grace and Peace,


            _£)&
  elly Dagley, Ph.D.
  ssociate Professor of Biblical Studies
Hope In ternational University
714/879/ 3901 X . 1229
kclcbglcy@hiu.cd u




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                                   #:154




Jackline Muthoka

14352 Beach Blvd SPC 93, Westminster, CA, 92683.

January 14, 2020,

USMLE Step 1 Test Accommodation Reconsideration

USMLE ID# 54027966

To whom it may concern:

        My name is Jackline Muthoka and I am a third-year medical student at the University of
California Irvine, School of Medicine. I am writing this letter to appeal your denial of my
accommodation request dated July 24, 2019, for 50% additional testing time for the USMLE
Step 1 exam. The denial letter says that I have not demonstrated or documented a disability that
impacts a major life activity. I have provided you with a current psychological evaluation
performed by a qualified diagnostician. That report, dated April 1, 2019, clearly indicates that I
have a disability. The diagnosis listed by my provider is Other Specified Neurodevelopmental
Disorder related to Visual Processing (F88) and Other Specified Anxiety Disorder (F41.8) (Test
Anxiety).

 The psychoeducational evaluation was completed on April 1, 2019, by Clinical supervisor Julie
Wilnier, Ph.D.; Lic# PSY 20932, and Kourtney Mitchell (PsyD Practicum trainee) and Ryan
Mosier (PsyD Practicum trainee) from the Chicago School of Professional Psychology, Irvine
campus. The results of the evaluation shows that I have a documented disability as defined by
the ADA and provides evidence of the following: slow information processing speed, low
reading comprehension, weaknesses with tasks involving visual perception, visual organization,
nonverbal formation, completing timed tasks, weak oral fluency, and blocking out distractions as
I attempt to focus. The definition of a disability includes someone who has a physical or mental
impairment that limits one or more major life activities. In my case, my disability impacts my
learning, which is a major life activity.

         Thank you for providing me with partial accommodations of extended break time and
separate testing room. However, these accommodations do not fully address my need for extra
testing time to process information on the USMLE Step 1 exam. In order to have equitable
access, I must have a 50% extended exam time. Not having enough time not only makes it harder
for me to access the entire exam but it creates barriers for me to complete an exam due to my
need for additional time to process information. It further exacerbates the anxiety that I already
live with and worsens the outcome of my exams. I have taken the USMLE Step 1 exam twice
now without reasonable accommodations and because of my diagnosis and lack of conducive
testing environment, I have not passed the exam. I am very concerned that failure to
accommodate me while I retake the USMLE Step 1 exam a third time will result in the same
poor outcome as the previous two results. Therefore, it is necessary that I be provided with
reasonable accommodation and equitable access so that I can continue with my education. Even
though my evaluators recommended that I be provided with 100% additional test time (double
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time), additional break time, and a separate, private testing room, I am only requesting for 50%
additional testing time.

        Include specific information about the disability-related symptoms and how they
affect your academic, occupational, social and other important areas of functioning.

        In the denial letter dated July 24 , 2019, Lucia McGeehan Ph.D., a Disability Assessment
                                         th


Analyst, Disability Services says that "The ADA defines disability as a physical or mental
impairment that substantially limits one or more major life activities as compared to most
people in the general population." In the paragraphs that follow, I have clearly illustrated and
provided examples of how my diagnosis of Other Specified Neurodevelopmental Disorder
related to Visual Processing F88 and Other Specified Anxiety Disorder F41.8 (Test Anxiety)
demonstrate substantial limitations to major life activities. My test anxiety is at a clinical level,
not just the normal anxiety that goes along with test taking.

       To begin, when my mother passed away in 1998, I realized that my life had changed
completely. I became more anxious when performing daily tasks. At first, I thought it was grief
for which I attended therapy, and everything seemed to go back as it once was. When my father
passed away in 2003, I experienced greater depths of anxiety, and I began to worry about how
my siblings and I were going to navigate through life without our parents. Again, I went to
therapy, but this time, my life took a complete turnaround. Instead of healing and going back to
my normal, calm state, I continued to experience intense levels of anxiety throughout my
personal and academic life. In addition, having weaknesses in reading comprehension,
completing timed tasks, and with tasks involving visual perception, visual organization, and
nonverbal formation. I also have difficulties blocking out distractions as my attempts to focus
only aggravate my anxiety.

        Anxiety of being late for meetings or work has negatively affected my life in more ways
than one. The anxiousness of being late has prompted me to surpass the speed limit while driving
which has resulted in several driving tickets. To ensure I wake up on time, I set multiple alarms
even though I am yet to miss one. Anxiety affects most aspects of my life, although, with
meditation and counseling, I am learning to live with it. I have learned to reduce triggers that
worsen the condition or completely remove them, which makes it easier for me to manage daily
routines. When I experience episodes of anxiety, most of the time I have physical reactions such
as my blood pressure rising or I become sweaty, nauseous, and at times vomiting. Most of these
symptoms, I experience the day prior to and the morning of major exams. In addition, if the
exam has multiple sections, I have, in some instances, vomited in between the sections. These
symptoms can last the entire day. Nights following high-pressure events, I find it impossible to
sleep, having never-ending thoughts and fears of underperforming as well as worries that I will
not have the chance to finish the tasks at hand, unlike my peers.

        Weaknesses in visual perception, visual organization, and nonverbal formation have also
impacted my life in different ways. For example, I find it challenging to read maps and
understand directions quickly, which frustrates my friends and family while traveling. I heavily
rely on my friends and family for directions and navigation in areas with no GPS. While
traveling alone, I set aside 3-4 hours in my daily schedule to account for the time spent trying to
find my way to my destination. I have been lost multiple times and needed the guidance of
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strangers to find my way to hotels or airports. In the USA, I rely heavily on GPS to get around. It
is sad that I need navigation even in places that I have visited multiple times. Academically,
visual perception and visual organization becomes an issue when I have to place different pieces
of information in various categories or when I have to solve puzzles and read charts. It takes me
such a long time that, if it is an in-class game of solving puzzles, and I can, I would opt out of the
game. In exam settings, I usually leave questions involving reading charts and graphs to the very
end for this reason.

        During my everyday life, slow information processing speed and weak reading
comprehension manifest in all that I am involved in. It explains my fear of attending events and
being the last person to understand jokes and this has negatively affected my social life. I find it
more appealing to stay at home and avoid large gatherings. These weaknesses also describe my
obsessive need to plan ahead for group work activities and projects at church and school.
Academically, I prepare materials in advance to make sure that I will be up to par with my peers,
while we work on reading articles or research papers. I have had experiences where if I had
waited to read in a group setting, I could not contribute to group projects due to not being able to
comprehend the information at the same speed as my peers. This makes my academic life both
frustrating and exhausting.

        When I received an academic scholarship to study in the US, I was required to attend a
visa interview with the US consulate in Kenya. Months before the interview, I spent hours
studying, reviewing, and preparing for the interview. The night before the interview, I could not
sleep because I was worried that I would not have the opportunity to access all of the information
within the allocated time, despite my rigorous preparation process. I was also concerned that my
weak reading comprehension would keep the interviewer waiting for me and he or she would
become impatient and deny me the visa. These are just some examples of situations where my
weaknesses in reading comprehension and completing timed tasks, together with slow processing
speeds, rose my anxiety to levels of almost experiencing a panic attack.

        I have always enjoyed learning and being a student, except while taking exams. It is not
the exam itself that has made my academic life difficult, but rather knowing that I will be seated
with peers who are processing the exam information at a faster pace than I am. This allows them
the opportunity to answer all of the questions and the thought that I am unable to do this is
extremely intimidating and causes high levels of stress. Even though I spend numerous hours on
productive learning, I enter the exam room with a feeling of defeat before I even
begin. Unfortunately, these exams are used as tools for evaluating the amount of knowledge one
has and how far one can advance with her education within a set time. Providing an equal
opportunity for students with disabilities, such as myself, by extending the time to read and
process all the exam questions, will allow me to demonstrate my knowledge and move forward
throughout my medical program. It will also level the playing field for me to be on the same
footing as my peers.

        While taking exams under standard time limits, I experience extreme anxiety that causes
difficulties with blocking out distractions that would otherwise allow me to clearly focus on
finishing the exam. Having significant delays with processing information and knowing that I
will not have a chance to complete all of the questions on the exam exacerbates my afflictions. I
find myself re-reading the same material multiple times and still not being able to comprehend
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the information properly. The worst part is that I become anxious days before timed situations
and therefore, become tired and worn-out by the time I am able to engage in the timed events.
After exams, I experience a heavy sense of guilt, shame, and frustration because I never received
a fair chance to answer all the questions and neither did I have a fair chance to practice
everything I have learned. It is exhausting and humiliating to leave an exam room crying and
feeling defeated, instead of celebrating an achieved milestone in my academic life.

Describe the extent to which your daily functioning is impaired and how that impairment
interferes with your ability to access the examination under standard conditions.

        In the denial letter dated July 24 , 2019, Lucia McGeehan Ph.D., a Disability Assessment
                                         th


Analyst, Disability Services says that “the diagnostic conclusions and recommendations of
your evaluators notwithstanding, your 2019 performances on a range of cognitive and
academic achievement tasks, including Working memory, Perceptual Reasoning, Total
Reading, Basic Reading, Word Reading, Pseudoword Decoding, Oral Reading fluency, and
Reading Comprehension, are all generally within the range of average functioning and not
indicative of substantially impaired functioning relative to most people. Moreover, despite your
recently diagnosed “significant processing disorder”, you successfully progressed throughout
your education with an academic record and scores on timed standardized tests sufficient to
gain admission to and graduate from college, and matriculate to medical school without
formal accommodations... In the paragraphs that follow, I have clearly explained and provided
examples of how my late diagnosis has affected the trajectory of my education and how I
continue to suffer from the effects of this diagnosis till now. I have also explained that I received
informal accommodation for my exams in middle school and high school, undergraduate, and
medical school classes. The reason for my late diagnosis is because I attended middle school and
high school in Kenya where there is no formal process to acquire accommodations and therefore
received informal accommodations. For my undergraduate education, my professors most often
times allocated extra time for those who had not finished exams, including me, and this is how I
managed to go through my education. In addition, I had to work a lot harder than my peers
because I tended to run out of time on exams. I would re-watch lecture videos, draw and redraw
science pathways multiple times, maximized tutoring, attended extra private tutoring to make
sure I knew all the material extremely well such that every question I worked on, I got it right.
The success that came with this process is that I knew the material very well and despite not
finishing exams, I was still able to perform well enough to continue with my education. The
challenge is that the extensive review of the material makes learning difficult and unnecessarily
time-consuming which is impossible to do when you are taking over 28 units per quarter in
medical school. This process of studying is not possible to do in medical school and while
studying for the USMLE Step 1 exam due to the extensive and large volumes of the material that
I need to go through within a short amount of time. In addition, each set of medical school exams
encompasses multiple subjects, so it is not feasible in terms of the available time in the day to go
through this review process for every exam and that includes USMLE Step 1.

        During my high school and undergraduate years, I struggled heavily with finishing
exams. I was always the last person to submit my exams and would try to use every minute
wisely, but still ended up running out of time and not having the chance to see the final 5-10
questions. Due to my showing my knowledge in the attempted questions, my performance was
strong overall. However, with most exams, the professor would regularly provide informal
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accommodation and allow me additional time to finish. I was grateful for this and would take
advantage of these opportunities to finish the remaining questions. These informal
accommodations minimized the barriers that I experienced throughout my high school and
undergraduate studies and I graduated without formally receiving accommodations.

        Another major milestone where I really struggled with testing time was during my
standardized Medical College Admission Test (MCAT) preparation. Although I went through
various preparation courses and spent hours of active studying and preparing for this exam, I still
underperformed after attempting the MCAT exam a total of four times because of my inability to
process the information faster and complete the test. This negatively affected the trajectory of my
medical school career. While my peers were applying directly to medical school, my low scores
would not allow me to start medical school without conditions. I was accepted to UCI School of
Medicine as a conditional medical student due to my otherwise strong application. I was required
to continue strengthening my MCAT score so that I could prove to the school that I could be
successful. During my conditional year, I was required to be at the top 75 percentile of the
medical school class (performing above a medical school class average), which I did while
utilizing accommodations based on my disability. I was successful because I received extended
time on exams. After a successful year as a conditional medical student, I was required to retake
the MCAT as part of the requirements for official admission as a first-year medical student. I
took various preparatory courses that were meant to help with knowledge and exam strategies
and retook MCAT twice with a minimal score improvement. Because these programs never
addressed my underlying disability, consisting of slow information processing and low reading
comprehension, I still suffered the same consequences. At this point in my education, I didn’t
know that I could formally request for test accommodations.

         During my first year of medical school, I struggled with test anxiety because of my slow
information processing and reading comprehension and was on the verge of failing my classes.
After working with advisers, counselors, and the school psychiatrist, I was diagnosed with
Specific Phobia-Test Anxiety. I went through the proper procedures that were required by my
institution and registered with the Disability Services Center and was formally approved for 50
% extended exam time in an isolated room in order to reduce distractions. This determination
minimized the barriers that my diagnosis presented in a timed setting. By utilizing testing
accommodations, I was better able to display my knowledge of taught material. My anxiety
levels decreased, and I was able to sleep better the night before exams because I knew I would
have the opportunity to access all of the exam questions and demonstrate my knowledge.

        My most recent struggles with test accommodations were when I was preparing to take
the USMLE Step 1 exam in May 2018. After successfully going through two years of medical
school, while receiving and utilizing test accommodations, I applied for accommodation and was
denied in Jan 2018. After the denial, I worked hard and applied every strategy I knew in order to
better prepare for the exam. I paid for and attended a preparatory course with the Institute of
Medical Boards to help me with both information and exam strategies to successfully complete
this exam. After the preparatory course, I took the exam again in October 2018 and,
unfortunately, my score only went up by 2 points, which was still a fail. This is because, once
again, I ran out of time in each section of the exam and didn’t have access to an average of 8
questions per section for a total of about 56 questions. This is to show that all these preparation
programs did not address the underlying issues that I am experiencing which are: low reading
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comprehension, weaknesses with tasks involving visual perception, visual organization,
nonverbal formation, completing timed tasks, and blocking out distractions as I attempt to focus,
that ultimately exacerbated my anxiety with which I already struggle. Lack of extended time to
fully access all the exam questions cost me an academic year again, exam expenses (preparation
and fees), and it caused me guilt and induced an extreme amount of stress, and self-doubt.

Provide a clear rationale for the requested accommodation(s) and describe how each
requested accommodation will alleviate the functional limitations caused by your disability.

         Going through school is emotionally, financially, and socially difficult for anyone. It is
even more difficult when someone goes through it knowing that he/she does not have the same
opportunities that his/her peers have due to lack of equitable access. I have struggled with timing
in exams and with receiving grades that do not accurately reflect my level of knowledge and
abilities. It is demoralizing, to say the least, that I work hard and sacrifice everything I need in
order to receive a strong education, all while knowing that my peers have a competitive
advantage. This has, unfortunately, been a reality that I have had to live with throughout my high
school and undergraduate studies and it is something I am still experiencing while attending
medical school. I have utilized accommodations throughout in-school exams, but unfortunately,
these accommodations have not been granted recently. This is a huge disadvantage to me as it
has hindered me from demonstrating my academic abilities and as a result, has halted my
progress towards graduation.

        I have a long track record of living with a disability for which I have utilized
accommodations including extended test time. I have received 50% additional testing time which
has provided me with equitable test time to process information in order to complete my work. It
has also allowed me to demonstrate my understanding of taught exam material and this has
allowed me to get this far academically. I will need the same 50% additional testing time while I
take USMLE Step 1 in order to have access to all exam questions and, therefore, have a fair
assessment of my knowledge and abilities. With equitable access and enough time to process
information, I will be able to overcome the weakness of completing timed tasks, barriers of slow
information processing speed, and low reading comprehension that hinder me from accessing the
exam in its entirety. In addition, I will have a chance to read and understand charts in the exam,
as well as organizing information in categories that will allow me to overcome the weakness in
tasks involving visual perception, visual organization, and nonverbal formation. Furthermore,
knowing that I will have equitable testing conditions and a separate room to take the exam will
allow me to block out distractions and focus on this exam. With these needs met, the symptoms
of my diagnosis will be at a minimum and the barriers to access the exam will be overcome,
allowing me an equal opportunity to perform to the best of my ability. With the barriers and
challenges of accessing exams presented above, it is, therefore, necessary that I am provided
with 50% additional testing time for the USMLE Step 1.

Thank you so much for your consideration in this matter and I look forward to hearing from you
with a favorable response to my request for additional time!
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Sincerely,




Jackline Muthoka
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                              EXHIBIT H
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@ NBME®
                                                                                         National Board o f Medical Examiners
                                                                                         3750 Market Street
                                                                                         Philadelphia, PA 19104-3102

                                                                                         215-590-9500 phone
                                                                                         www.nbme.org


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April 3, 2020



Via Electronic Mail to jackiemuthoka87@gmail.com
Jackline Muthoka
3131 Verano Place
Irvine, CA 92617

RE: USMLE Step 1                                       USMLE ID#: 5-402-796-6

Dear Ms. Muthoka:

We have thoroughly reviewed your request for reconsideration of our decision regarding test accommodations for the
United States Medical Licensing Examination (USMLE) Step 1. We conducted an individualized review of your
request and supporting documentation in accordance with the guidelines set forth in the Americans with Disabilities
Act (ADA).

The NBME carefully considers all evidence in determining whether an individual is substantially limited within the
meaning of the ADA and what, if any, accommodations are appropriate to the particular Step exam context.
Submitted documentation including the individual’s personal statements; letters from advocates; and objective
information such as school records and scores obtained on high stakes tests taken with and without accommodations
are thoroughly reviewed.

In your January 14, 2020 request for reconsideration you write, “I have provided you with a current psychological
evaluation performed by a qualified diagnostician. That report, dated April 1, 2019, clearly indicates that I have a
disability. The diagnosis listed by my provider is Other Specified Neurodevelopmental Disorder related to Visual
Processing (F88) and Other Specified Anxiety Disorder (F41.8) (Test Anxiety)…While taking exams under standard
time limits, I experience extreme anxiety that causes difficulties with blocking out distractions that would otherwise
allow me to clearly focus on finishing the exam. Having significant delays with processing information and knowing
that I will not have a chance to complete all of the questions on the exam exacerbates my afflictions…I will need the
same 50% additional testing time while I take USMLE Step 1 in order to have access to all exam questions and,
therefore, have a fair assessment of my knowledge and abilities. With equitable access and enough time to process
information, I will be able to overcome the weakness of completing timed tasks, barriers of slow information
processing speed, and low reading comprehension that hinder me from accessing the exam in its entirety. In
addition, I will have a chance to read and understand charts in the exam, as well as organizing information in
categories that will allow me to overcome the weakness in tasks involving visual perception, visual organization, and
nonverbal formation. Furthermore, knowing that I will have equitable testing conditions and a separate room to take
the exam will allow me to block out distractions and focus on this exam.”

In a March 2019 report of Psychological Evaluation conducted when you were a 31-year-old third year medical
student, practicum trainees Kourtney Mitchell and Ryan Mosier and their supervisor, Julie Wilnier, Ph.D. write, “Ms.
Muthoka reports experiencing anxiety, attention, reading, and comprehension issues…She feels that this challenge
with processing information causes her to become overly worried about completing tasks. As a result, Ms. Muthoka
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reports that she is usually the last student in class to finish exams, and that she feels very anxious with each exam,
worried about whether she will be able to complete it in the time allotted.”

Your evaluators conclude, “In summary, the WIAT-III results suggest a significant strength in the area of Written
Expression, especially when creativity is allowed; and relative weaknesses in the areas of Reading Comprehension
and Fluency and Oral Fluency…A diagnosis of Other Specified Anxiety Disorder requires that the individual
experience excessive worry that is difficult to control and occurs surrounding a specified anxiety provoking
circumstance, such as a testing environment…Ms. Muthoka reported that she repeatedly experiences symptoms of
anxiety whenever she is in a testing situation, which is frequent considering that she is a medical student challenged
by slower processing speed abilities. Therefore, Ms. Muthoka meets criteria for a diagnosis of Other Specified
Anxiety Disorder.”

Test anxiety is not considered to be a psychiatric disorder or a phobic target in the Diagnostic and Statistical Manual
of Mental Disorders, Fifth Edition (DSM-5). According to the DSM-5, Other Specified Anxiety Disorder (300.09)
applies to presentations in which symptoms characteristic of an anxiety disorder that cause clinically significant
distress or impairment in social, occupational, or other important areas of functioning predominate but do not meet
the full criteria for any of the disorders in the anxiety disorders diagnostic class. While your evaluators report that you
were first diagnosed with test anxiety by a psychiatrist in medical school, they did not administer a comprehensive
structured diagnostic interview, describe psychiatric symptoms and functional impairment, or discuss differential
diagnoses.

Your evaluators assign an ICD diagnosis of F88 Other Specified Neurodevelopmental Disorder related to Visual
Processing. However, you and your evaluators provided no information or documentation to support a developmental
history of visual processing problems or cognitive deficits of any kind that impacted your functioning. Your evaluators
report that you attended school in Kenya where you earned an A average throughout childhood and adolescence
prior to immigrating to California in 2008 on an academic scholarship.

Supporting documentation submitted from qualified professionals is a necessary part of any request for
accommodations and is carefully reviewed by the NBME. Though not required to defer to the conclusions or
recommendations of an applicant’s supporting professional, we carefully consider the recommendation of qualified
professionals made in accordance with generally accepted diagnostic criteria and supported by reasonable
documentation. Your documentation does not demonstrate a substantial limitation in a major life activity as compared
to most people or that additional testing time is an appropriate modification of your Step 1 test administration. Your
supplemental documentation provided no new substantive information or evidence that alters our decision
communicated in our July 25, 2019 letter. Therefore, after a thorough review of all of your documentation, I must
inform you that we are unable to provide you with additional testing time.

Sincerely,



Catherine Farmer, Psy.D.
Director, Disability Services
ADA Compliance Officer, Testing Programs

C: Jay T. Jambeck
